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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

M.J., et al.,                                         )
                                                      )
                               Plaintiffs,            )
                                                      )
        - against -                                   )
                                                          Civ. No. 1:18-cv-1901 (EGS)
                                                      )
The District of Columbia, et al.,                     )
                                                      )
                               Defendants.            )


                  DECLARATION OF NARELL JOYNER IN SUPPORT OF
                   PLAINTIFFS' MOTION FOR CLASS CERTIFICATION

        I, Narell Joyner, of full age, hereby certify as follows:

    1. I am over 18 years of age and I am competent to testify regarding the matters described

        herein.

    2. Plaintiffs in the above-captioned action have retained me to act as an expert witness.

    3. Attached hereto as Exhibit A is a true and accurate copy of my July 19, 2021 Report in

        support of Plaintiffs' Motion for Class Certification, and the appendices attached thereto

        (collectively, my "report").

    4. My report describes the primary data and other information I considered in forming my

        opm10ns.

    5. My CV is attached as Appendix A to my report, and sets forth my qualifications.

    6. I have not testified as an expert witness in any federal or state court litigation within the

        last four years.

    7. I am compensated for my work on this report at a rate of $125 per hour.

    8. I respectfully adopt and incorporate into this Declaration my report, which describes the

        testimony I am offering in support of Plaintiffs' Motion for Class Certification.
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9. I understand and intend that my report is to be presented to the Court with the same

   weight and consequences as if I had stated the report orally, under oath, in a court of law.



   I certify under penalty of perjury that the foregoing is true and correct.

   Executed this u/ctay of July, 2021, in tyl.;yf   l+i II J /A) G .
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                        EXHIBIT A - REPORT by Narell Joyner
                                             July 19, 2021
                             M.J., et al. v. District of Columbia, et al.

I.       Overview
         The Bazelon Center for Mental Health Law retained me as an expert witness in the M.J.,
et al. v. District of Columbia, et al. litigation. Specifically, I was asked to review a sample of
children and youth to provide opinions, based on the information I reviewed, about whether they
needed intensive community-based services (ICBS) and were currently institutionalized or at
serious risk of institutionalization. As part of my review, I read available treatment records,
school records, court records, and other agency records; interviewed each child and their parents
or caretakers, to the extent appropriate; and interviewed service providers, teachers, and other
people involved in the child or youth’s life.
        It is my understanding that Plaintiffs filed this class action on behalf of children and
youth who have mental health disabilities (defined in their Complaint with reference to the
District’s definition of “serious emotional disturbance”) and need intensive community-based
services (ICBS), and who are at risk of institutionalization (or are currently institutionalized). I
agree with the description of ICBS as defined in the Complaint, as it is consistent with my
experience and expertise. The ICBS that children and youth with significant mental health needs
include intensive care coordination, intensive behavior supports, and mobile crisis services,
described in the Complaint as:

     •   Intensive care coordination (“ICC”)—an intensive form of case management in which a
         provider convenes a “Child and Family Team,” including the child, the child’s family,
         service providers, and other individuals identified by the family, to design and supervise
         a plan that provides and coordinates services for children with mental health disabilities;

     •   Intensive behavior support services—individualized therapeutic interventions provided
         on a frequent and consistent basis that are designed to improve behavior and delivered to
         children and families in any setting where the child is naturally located; and

     •   Mobile crisis services—a mobile, onsite, in-person response, available at any time or
         place to a child experiencing a crisis, for the purpose of identifying, assessing, and
         stabilizing the situation and reducing any immediate risk of harm. These services may be
         delivered in the child’s home, school, or community.
        Complaint, ¶ 39. This description is consistent with the understanding of ICBS that I and
the other experts reviewing the children and youth in our study used in making findings about
what they have received or are currently receiving, and what they have needed or still need.
       My opinion is that all five of the youth I reviewed are Medicaid eligible; have a serious
emotional disturbance; and need ICBS and have not received them. I also believe four of the
five youth are currently institutionalized or at risk of institutionalization.




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II.    Background and Experience
        I have over forty years of professional experience in the planning and delivery of mental
health services for children and youth, including developing service, education, and behavior
plans; coordinating care across multiple state agencies; and planning transitions to employment.
I have acted as a consultant to human services agencies and service providers in at least seven
states and the District of Columbia. As a consultant, I have trained and coached caseworkers and
supervisors in developing and implementing individualized plans for children with mental health
needs, including crisis planning. I have consulted with states engaged in reforming their
practices to comply with consent decrees entered in class action litigation – including J.K. v
Eden (Arizona) and R.C. v. Hornsby (Alabama). I have also provided expert testimony for
plaintiffs in a class action: Rosie D. v. Romney (Massachusetts). In performing this work I have
interviewed over one thousand children and youth and their family members, as part of a process
of understanding the child’s strengths and needs, and then identifying formal services and natural
supports to help meet the child’s needs.
         For the past twenty years, I have served as a consultant for the Child Welfare Policy and
Practice Group, based in Montgomery, Alabama. I have also worked for MeckCares System of
Care as a State Liaison and System of Care Consultant. In this role, I helped officials in
Charlotte and Mecklenberg County, North Carolina, to implement systems of care and develop
individualized plans for youth involved in mental health, social services, and special education.
From 1998 to 2005, I worked for the North Carolina Department of Health and Human Services
Division of Mental Health as a Program Manager overseeing compliance efforts for the Willie M.
class action litigation, which involved reforming systems serving children with significant
behavior support needs in their own homes and communities in a 15-county region of the state.
In this role, I worked with local mental health programs to improve their administrative and
clinical practices, and to better understand the impact of those practices on individual children
and families.
        Prior to my tenure with the Division of Mental Health, I worked as a case management
supervisor for Specialized Youth Services, monitoring the development, coordination, and
evaluation of services for children aged eight to eighteen with mental health needs. From 1978 to
1982 and from 1984 until 1997, I worked for Project T.E.A.C.C.H., a state-funded service
provider, as a Psychoeducational Therapist and then as a Vocational Director for autistic children
and their families. Prior to this, I worked for the Murdoch Center, a residential care facility for
adults with intellectual and developmental disabilities, as a Health Care Technician, Education
Specialist, Unit Manager, and Division Director. As Division Director, I monitored the
development, implementation, and evaluation of comprehensive treatment plans for children and
adults with developmental disabilities, in addition to providing professional guidance and
supervision to staff that included a psychologist, occupational therapists, physical therapists,
speech therapists, teachers, a dietician, unit manager, and health care technicians.
       I attended Winston Salem State University and graduated in 1976 with a B.A. in
Psychology. My Master’s work is in Special Education. I attended the University of North
Carolina at Chapel Hill.
       A copy of my current curriculum vitae is attached as Appendix A to this report.


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III.    Structure of the Review
        Plaintiffs’ counsel retained me in 2019. That year, I met with other consultants retained
by Plaintiffs, Sara Boyd, Kimm Campbell, and Bruce Kamradt, and Plaintiffs’ counsel to discuss
the structure of our review of a sample of children and youth with experience receiving mental
health services provided by the District. We discussed our shared understanding of the ICBS
that some children need to remain in their own homes and be successful in the community. We
also identified factors that might indicate that a child is at serious risk of institutionalization, such
as whether the child had recently been institutionalized in a residential treatment facility, or
experienced repeated psychiatric hospitalization. I understand that Plaintiffs’ counsel asked the
District to identify children and youth with these experiences dating back two years before the
filing of the Complaint. I also understand that it was from this group that another expert, Sally
Rogers, selected a random sample of children whose cases we would review, assuming that we
could reach them and obtain consent to include them in our study.
        The consultants also agreed on a process for obtaining information about the children and
youth whom we would study. This process would include (1) a review of available records; (2)
interviews with the children; (3) interviews with parents or guardians; (4) interviews with
available key provider staff. This is a process I am familiar with; gathering information about
the child and family from multiple sources permits the reviewer to gain a thorough understanding
of the child, the child’s family, school, service, and placement history. This process is used
widely in evaluating the service needs of individual children, and in understanding how a mental
health service delivery system meets the needs of children and families in the system.
        We also agreed on the questions we would try to answer through our record reviews and
that we would ask during our interviews. We developed protocols for records reviews and
interviews that included these questions.
        Together, our consultant team developed a set of agencies, providers, and schools from
which we asked Plaintiffs’ counsel to request records. We asked that records dating to the
child’s birth be obtained whenever possible, so that we could learn as much as possible about the
child’s early developmental and family history. We also asked for psychological evaluations,
clinical assessments, special education records including individualized education program (IEP)
plans, juvenile justice case plans, and court reports.
        We focused our interviews on corroborating findings in the records, resolving conflicts in
the records, and gathering more information where records included vague or incomplete
information – oftentimes to learn where to request additional records and who else to interview.
We also wanted to see if the service notes in the records matched with the family’s experience of
receiving those services, and if interviewees expressed satisfaction about the services, including
about whether the child’s condition or behavior improved after receiving them. We asked
children and families about their strengths, needs, wants, concerns, and fears. We also asked
them what types of services and supports they believed would work for them.
        The COVID-19 pandemic prevented us from meeting with families, youth, and providers
in person and from conducting school-based observations or other placement observations. In
my experience, I gain more information from in-person interviews than from interviews
conducted by phone or through videoconference, but it was not safe for us, the families, or the

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providers to meet during the review timeframe. For this reason, we attempted to conduct most of
our interviews via Zoom or other video sharing platforms (where families and providers could
access this technology). Despite these limitations, I believe that I had sufficient information to
make findings about the children’s mental health needs, and their experiences with mental health
services, and to make recommendations for what they need now.

        To help ensure consistency, our expert team met about every three weeks during the
review process, along with Plaintiffs’ counsel, to discuss the children and youth whose cases we
were reviewing.

IV.    Summaries of Youth Reviewed
       I reviewed records and conducted interviews between January 2021 and July 2021. I
understand that another expert randomly assigned the cases to each of the experts. I was
assigned seven children and youth that the District identified to Plaintiffs as having a serious
emotional disturbance: A.J., M.B., M.T., W.H., D.G., D.C., and X.L.
       Shortly after I was assigned to review A.J., he was released from incarceration. Because
he wanted to focus all of his energies on re-integrating into the community, he withdrew his
consent to participate before I had a chance to speak with him and before I could review his
records.
        For the remaining six youth, I reviewed all records that the attorneys were able to obtain
regarding the children and youth, which are listed in the attached Appendix B. I did not receive
any records for X.L., which prevented me from drawing conclusions about his service needs. I
interviewed each family, to the extent they were available and agreed to an interview, and a
number of service provider staff who worked with them. I have referenced the individuals I
interviewed in each youth’s summary.
       I am being compensated for my work in this case at the rate of $125 per hour. If I am
asked to testify, my rate is $175 per hour.

M.B.
      M.B. is a 19-year-old Black male who has a serious emotional disturbance, who needs
ICBS and has not received it, and who is currently incarcerated.

       To write this summary, I interviewed M.B.’s mother, M.B., his probation officer, the
principal at the Foundation School of Prince George’s County (Foundation), an Academic
Coordinator at The Pathways Schools (Pathways) and his Community Connections’ Transition
Age Youth (TAY) case manager.
        M.B. has been described as someone who “stands up for the underdog.” He enjoys
helping others, has a contagious grin, and is honest with his feelings. He also enjoys boxing and
playing basketball - he participated on his school’s basketball team. M.B. wants to be a
professional boxer or perhaps a barber - he received barber training in the past and reports that he
enjoyed it. M.B. said that his mother is his hero and that he loves hanging out with her, going
out to eat, and watching TV together. M.B. says that he manages his frustrations by listening to
music, calling his friends, and going for walks. M.B.’s probation officer said that M.B. never

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made excuses for his behavior, was never agitated or frustrated, and that he always showed up on
time and answered questions.
        While M.B. told me he does not wish to have friends right now (he believes his friends
have let him down and negatively influenced him), he currently has a girlfriend, and has shown
that he has been able to build meaningful relationships. M.B. received an award in fifth grade
for caring, because he shared with his peers and checked in on them. M.B.’s mother said he has
been a responsible caretaker for his younger siblings and worked successfully in a daycare
program for pre-school children. In records and in our interview, M.B. also expressed an interest
in learning to build houses for people experiencing homelessness. M.B. says that he gained this
interest as a child after volunteering at homeless shelters to hand out food. Based on M.B.’s
report, he is not spiritually connected and does not have a spiritual preference.
        M.B.’s most recent diagnoses include Adjustment Disorder, Disruptive Mood
Dysregulation Disorder (DMDD), ADHD, and a learning disability (reading disorder). He has
had prior diagnoses of oppositional defiant disorder (ODD), receptive and expressive language
disorder, “Education Maladjustment”, “Adjustment Disorder”, and a “rule out” (recommendation
for additional evaluation to rule out) for Borderline Intellectual Functioning that was not,
according to the records I reviewed, ruled out. M.B. has taken medication in the past – including
Adderall and Concerta. He was also prescribed Metadate (although his mother and the provider
agency were unable to find a supply of Metadate so he never took the medication). M.B. said he
is not currently taking any medication, though he has reported that medication has helped him to
focus in the past and he would consider medication now or in the future. M.B. has an extensive
history of verbal and physical aggression. He is currently incarcerated on a charge of armed
robbery.
        Before his incarceration, M.B. lived with his mother and siblings. M.B.’s father has
never lived with the family but visits the home occasionally. M.B. reports that domestic violence
between his mother and father occurred during these visits, and he observed the violence as a
young child. M.B.’s day-to-day relationship with his father ended when he was eight years old.
Since that time, he has seen his father from time to time in the community, with the last reported
interaction when M.B. was 16.
        M.B. is the eldest of six siblings. M.B.’s other siblings are eighteen, sixteen, eleven,
eight and four years old. M.B.’s maternal grandfather lived in his mother’s home before his
death. When asked, M.B. said his grandfather was his role model. He would like to act like his
grandfather because he was “very laid back” (that is, his grandfather would not get angry).
M.B.’s uncle occasionally lives with the family.

       M.B.’s mother receives her primary income from Supplemental Security Income (SSI), a
monthly stipend offered to low-income adults and children who have a disability. According to
M.B., he was also receiving SSI prior to his incarceration, and he was enrolled in Medicaid. The
family also receives Temporary Assistance for Needy Families (TANF) benefits.
       M.B. told me that he has two children with his girlfriend, a one-year-old son and an
eight-month-old daughter, and that his children live with his mother. However, M.B.’s mother
denied that M.B. has children and said she has no children (other than her own) living with her.


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       History of Behavioral Health Services
        M.B. experienced two seizures as an infant and has not experienced any seizures since
that time, according to his mother. At age two, M.B. fell and cut his face. Apart from these
minor incidents, and some speech delays, M.B.’s mother reports that he stayed on target with
other developmental milestones. When M.B. was four years old, he began attending Birney
Elementary School in the District for pre-kindergarten. It was during this year, 2005, that M.B.’s
mother reported that she learned M.B. began to be bullied at school – kids called him “dumb” –
and M.B. acted out in response.
        M.B. enrolled at Savoy Elementary (Savoy) for kindergarten. Savoy found M.B. eligible
for special education services as a student with a Learning Disability (LD). His IEP indicated
difficulty with reading and articulation, with some negative behaviors.
        M.B. was admitted to The Psychiatric Institute of Washington (PIW), an acute
psychiatric hospital, when he was seven years old after he attempted to jump out of a third story
window and said he wanted to die. While hospitalized, PIW diagnosed him with ODD and
receptive and expressive language disorder. At that time, M.B. scored a full scale IQ of 91.
However, it did not appear from records that PIW referred him to any behavioral health agency
following his hospitalization.
        In January 2009, when M.B. was in the second grade, Savoy Elementary changed his
special education eligibility category from learning disability to “Emotional Disturbance” (ED)
because school staff believed that his behavior negatively affected his ability to learn. Savoy
also recommended that M.B. attend a separate school full-time. In the spring of 2009, M.B.
began attending the Children’s Guild School of Prince George’s County - Chillum campus
(Children’s Guild), a nonpublic school in Maryland for students with disabilities.
        Both immediately preceding, during, and following his transition from Savoy to
Children’s Guild, M.B.’s aggressive behaviors became more severe. M.B. had suicidal ideations
and began acting out in a sexual nature toward female students. M.B.’s third grade IEP at
Children’s Guild called for M.B. to receive support in the classroom from a full-time,
“dedicated” aide, counseling, speech therapy, behavior interventions to address bullying and
physical aggression, specialized instruction in all academics, and crisis planning. For the next
two school years, his IEP changed minimally, and his school records showed very little, if any,
progress in academics, particularly in reading. He was prescribed medication at some point in
the third grade, though the records I reviewed did not indicate the specific medication.
        In 2011, M.B. began engaging in self-injurious behaviors at school (he bit and hit
himself, and banged his head against the wall). His school therapist hypothesized that these
behaviors likely resulted from an inability to communicate his feelings of need, and/or
misinterpreting social cues. During his fourth and fifth grade years, M.B. walked out of
classrooms, left school grounds without permission, and had suicidal ideations. He was
suspended multiple times, and was reprimanded for other behavioral incidents on the school bus
and in school. Children’s Guild recommended that M.B. receive emergency psychiatric
hospitalization evaluation on several occasions, but M.B.’s mother did not agree.


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        At the end of his fifth grade school year, M.B. was still reading at a first grade level. An
administrator at Children’s Guild talked to M.B. about moving him to another classroom because
M.B. reported to the administrator that everyone in the class picked on him (I did not see that
Children’s Guild had the same discussion with his mother). M.B. also reported that loud noises
triggered his behaviors, and school records indicate that he began to show symptoms of paranoia.
He believed that others were talking about him negatively, even when people denied doing so.
        In the 2012-2013 school year, M.B. was in the sixth grade at Children’s Guild in a
classroom with eight other children. His records reported that his self-injurious behaviors
decreased, but he still misinterpreted attention and often reacted with a fight-or-flight response.
His fighting behavior escalated, and he continued to leave his assigned area without permission.
M.B. had great difficulty with expressive and receptive language; there was extensive
documentation of speech and language deficits throughout his school years. M.B. believed peers
made fun of him because he required so much individualized attention by teachers and aides to
do his work. Based on my review of the records, Children’s Guild taught M.B. to ignore his
peers when they picked on him for academic performance and did not effectively address his
underlying behavioral issues and academic deficits.
        In the 2013-2014 school year, M.B. was in the seventh grade at Children’s Guild. This
year appeared to be his most successful year both behaviorally and academically. His records
indicate that he made a turnaround in his behavior. He received one hour a week each of social
work counseling, speech therapy, group therapy, and therapy focused on identifying triggers and
coping skills. His therapist wrote that his low reading level likely caused his anxiety about
school and that new work often frustrated him. Even though the therapist identified what I
believe is the root of his behaviors at school, I did not see that anyone adjusted their instructional
or therapeutic methods or added additional services to address his academic deficits.
Additionally, despite his progress this year, there was no discussion about whether he might be
ready to transition back to a general education setting. At the end of his seventh grade year,
M.B. was sent home after the school discovered he had a water bottle that contained alcohol.
        In the 2014-2015 school year, M.B. was in the eighth grade at Children’s Guild. His IEP
was mostly the same; though notably many important team members did not attend the IEP
review meeting - including M.B. himself, his special education teacher, and a general education
teacher. Again, M.B.’s IEP noted that his high anxiety stemmed from reading difficulties, and
that his concerning behaviors occurred when someone asked him to read or if he was presented
with a lot of information to read. His IEP goals did not match these deficits: for example, one of
his IEP goals was to identify vocabulary words at the fourth-grade level, but he continued to
need assistance with anything above a second grade level. M.B. continued to receive behavior
support, including crisis intervention support, and he had a dedicated aide in the second part of
the year. His behaviors escalated: he punched a teacher in the stomach, he often shared that he
wished he was dead or that someone would kill him, he used profanity, and his fight-or-flight
responses to unwanted attention continued. Children’s Guild noted that exclusion from the
classroom and from other students, including in the seclusion room, and physical restraint were
needed to manage M.B.’s behavior. Children’s Guild staff used these methods regularly. M.B.
started missing school regularly.
        Despite M.B.’s history, I did not see that M.B. received any services from a behavioral
health agency until 2015. I noted a discharge record from Community Connections for
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successfully completing treatment from that year. However, there was no associated Community
Connections intake or prior treatment record. The Community Connections TAY worker I
interviewed (who served M.B. much later) could not access records preceding the discharge.
        In the 2015-2016 school year, M.B. attended ninth grade at a new school: The Pathways
Schools (Pathways), a special education school in Maryland for students with Emotional
Disturbance who have IEPs. According to the Pathways principal, the Pathways Schools does
not practice seclusion or restraint. The Pathways principal told me that in ninth grade M.B. was
on a second-grade reading level, he could not travel independently, and that he failed almost
every class. The behavior intervention plan (BIP) for M.B. that the principal shared with me did
not contain goals or plans specific to M.B.’s unique needs. Instead, it identified general supports
including access to a behavior specialist in their multi-sensory de-escalation room (“MSDR”)
room (in my experience, these are a low-stimulus environments where students can cool off),
positive praise, and the possibility of winning raffle tickets or time with staff. The principal said
that his school-based therapy focused on IEP goals and did not deep dive into “underlying
issues,” and that outside providers would provide that service. Though she said Pathways
typically refers students to outside agencies or providers, she could not find a record that anyone
did so for M.B. I also did not see any record of referrals.
        M.B. continued to be chronically absent from school, missing 45 days that year. He
reported to a therapist that he was bored and did not understand his classwork. He was
suspended six times that year, for eight days total, for fighting with peers, “pinn[ing] a girl
down” and “not let[ting] her up,” wandering the halls, and destroying school property. He also
threatened to bring a gun to school. The principal said that M.B. had difficulty with peers, was
“mouthy,” and wanted to be listened to, but struggled to calm down so that others could listen to
him. The decision was made for M.B. to enroll in another school, according to the principal,
“because [M.B.] was not successful.” M.B. told me that he was expelled. Pathways did not have
any communication logs indicating conversations with M.B.’s mother, except where they
notified her of M.B.’s behavioral incidents.
         In April 2016, Community Connections diagnosed M.B. with “Education
Maladjustment” and Other Personality history of Adjustment Disorder. From the records, it
appears M.B. had minimal engagement in services - he met with a Community Support (CS)
worker six times and with a psychiatrist once. CS typically involves a worker who is assigned to
visit a child and family in the home and coordinate services, therapy, and medication
management.
        In the 2016-2017 school year, documents indicate that M.B. enrolled in The Foundation
School of Prince George’s County (Foundation). He was enrolled in the ninth grade (for the
second time). He functioned at or below a third-grade level and was absent 42 days. The
Foundation School provided M.B. with a BIP. Progress report data collected by school staff
indicated that he was not in his assigned classroom setting 45 percent of the time and physically
aggressive toward peers and staff 27 percent of the time. There were more than a dozen
incidences of aggression that the school responded to by physically restraining M.B., secluding
him, or suspending him.




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        In 2017, Community Connections diagnosed M.B. with Mood Dysregulation Disorder,
ADHD, a learning disability (reading disorder), and noted a need to rule out possible borderline
intellectual functioning.
         M.B. was absent from school 66 days during the 2017-2018 school year, his eleventh-
grade year (records do not reflect information about M.B.’s tenth grade year). M.B. still
performed at or below a third-grade level in reading and received basically the same supports in
his IEP. Foundation staff reported that M.B.’s concerning behaviors decreased: he was now out
of his area 13 percent of the time and verbally/physically aggressive 17 percent of the time, but
in a different note, it says that other behaviors, such as destroying property and leaving school
grounds, escalated. M.B. continued to receive suspensions for his behavior.
        In January 2018, Community Connections discharged M.B. due to a “lack of
engagement.” At this time, M.B.’s mother reports receiving phone calls almost every day from
Foundation about M.B. fighting and being sent home early. In March 2018, Foundation
disciplined M.B. for bringing marijuana to school.
        In the 2018-2019 school year, his twelfth grade year, M.B. was absent 91 days – more
days than he was present. He was also suspended a total of 20 days. His records noted that he
read at a first grade level. M.B.’s mother expressed a desire to explore other school placements,
but he remained at Foundation.
       Records do not indicate how M.B. re-entered Community Connections after his January
2018 discharge, but in November 2018, Community Connections conducted an intake with M.B.
noting diagnoses of ADHD and potentially disruptive mood dysregulation disorder (DMDD),
and that “he needed help expressing himself regarding his feelings due to the death of a loved
one.” M.B. was on medication in 2018, but his records did not indicate which medication(s). At
one point, Community Connections prescribed Concerta, and M.B. reported the medication
helped him focus.
         In December 2018, Community Connections conducted a Child and Youth Assessment.
They noted a trauma history including witnessing domestic violence and identified treatment
goals that included additional supports in school. Community Connections prescribed the
community-based intervention (CBI) service for M.B. and admitted him in January 2019. CBI is
a time-limited in-home therapeutic model that includes psychiatry services for medication
evaluation, prescription, and monitoring; and psychiatric services. His CBI worker with
Community Connections focused on conflict resolution, role modeling (where the CBI worker
would provide M.B. with example responses), coordinating care around legal services (including
his probation officer), identifying triggers for concerning behavior, discussing anger
management, and meeting with his special education teacher to develop a safety plan at school.
While M.B. received CBI, Community Connections staff seemed to be frequently involved in his
day-to-day life at home and at school. Still, I did not see that they addressed any of the
underlying trauma M.B. experienced from his relationship with his father, the death of loved
ones, the use of seclusion and restraints at school, or his embarrassment about his poor reading
ability.
        In February 2019, to help him make up for time missed from absences, M.B. was given a
credit recovery project, which he completed. Foundation suspended M.B. several times that

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year, however. He spit on staff, hit peers, and “evoked a riot” with a team at the end of a
basketball game. In May 2019, M.B. was arrested on robbery charges.
       Community Connections prescribed Metadate for M.B.’s ADHD, but his mother and
Community Connections could not find a supply and he did not receive the medication. On May
16, 2019, Community Connections replaced his Metadate prescription with Adderall.
        In the fall of 2019, M.B. began attending the New Beginnings Vocational Program, a
nonpublic school in the District. At the time, M.B. had earned 7.5 credits toward graduation.
His IEP contained essentially the same services and supports as he had received at Foundation,
with the addition of postsecondary goals like independent living and career supports. In
September 2019, Community Connections discharged M.B. after he completed CBI, noting
M.B.’s diagnoses as including personality adjustment disorder, DMDD, ADHD, learning
disability (reading disorder), and again a “rule/out” for borderline intellectual functioning.
        After completing the CBI program, Community Connections transitioned M.B. to their
Transition Age Youth (TAY) program on December 12, 2018. (Note: this transition occurred
three months after M.B. completed CBI). TAY’s goals for M.B. included improving symptom
management, replacing concerning behaviors with constructive ones, helping M.B. secure a job,
and reducing illegal conduct. To reach those goals, M.B.’s service plan called for CS,
psychotherapy groups, and participation in a supported employment counseling one time each
week. Despite the wide array of services noted, from the records it appeared that TAY focused
almost exclusively on providing supported employment service to M.B. I found very few notes
from this time describing any other therapeutic approach or intervention to help him develop life
skills. In my interview with M.B.’s TAY support worker, he said M.B. had turnover in case
management workers and “M.B. did not know what he wanted to do.” He also said that it was a
challenge to reach M.B. on the phone. Still, he stated that M.B. is capable of employment and
making decisions for himself and could receive these services from Community Connections in
the future.
        M.B. was on probation from November 2019 through June 2020, after he received a
charge for second-degree assault (of a peer on a school bus in Maryland). M.B.’s probation
officer reports that M.B. was on medication during that time. During his probation, M.B. also
received counseling through the District of Columbia Superior Court’s Child Guidance Clinic.
His probation officer reported that they offered him therapy in addition to what M.B. was
supposed to receive from Community Connections, because Community Connections “took
forever to get a therapist assigned.” Even though M.B. showed up to all of his appointments
with his probation officer and answered all of her questions, he did not get involved in any of the
Court’s community programs. He was also arrested in 2019 for armed robbery of a cell phone
and placed on deferred probation disposition until February 26, 2020.
        In February 2020, M.B. threw a hot cup of water on another student at school. He was
suspended for ten days. On May 27, 2020, M.B. graduated from high school at New Beginnings
– meeting all the District of Columbia Public Schools (DCPS) requirements for the receipt of a
diploma. Yet, just four months prior, his IEP still included goals like adding and subtracting, and
his reading level was still at the first grade level. I do not understand how DCPS allowed him to
graduate when he had so few credits the year prior, and for all purposes could not read.


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        Since July 2, 2020, M.B. has been incarcerated in the District. He told me that his
charges included carjacking, armed robbery, and assault. He was hospitalized for several days in
April 2021 at St. Elizabeth’s Hospital, the District’s psychiatric hospital, in order to determine
his competency to stand trial. As part of this process, M.B. reports that he was handed a sheet of
paper explaining the competency determination process and asked if he understood what the
paper said. He said yes, even though he reported to me that he struggled to read the paper. The
court found him competent to stand trial (according to M.B.). His mother expressed an interest
in becoming M.B.’s guardian because she does not feel that M.B. understands all of the legal
proceedings against him. She told me she also struggles to understand but would be more
equipped to ask questions and gain information. She said she believes he needs an advocate to
help him make these important life decisions.
        M.B. reports that he is not taking any medication and not receiving any treatment while
detained. M.B. said he is currently exercising on his own initiative while at the jail and is
interested in gaining an education regarding parenting. He says he lives by the quote “every day
is another day closer to going home.”
       Findings
        I believe M.B. has a serious emotional disturbance because he has several mental health
conditions: ADHD, Disruptive Mood Disorder, and Major Depressive Disorder. These
conditions substantially limit his functioning in his family, at school, and in community
activities. M.B. has not been able to succeed in the community (or at school) and is likely
currently incarcerated because no provider successfully helped him to manage his conditions or
control his negative behaviors. He spent so much time out of the classroom (due to absences,
suspensions, and expulsions) that he is currently reading somewhere between a first and third
grade level, even following high school graduation. M.B. reported to me that he was never
taught how to read, and he would like to learn how to read. His inability to read limits him from
achieving or maintaining almost any developmentally appropriate skill like caring for himself,
being his own guardian, and making connections with the community.
        I believe that M.B. has needed ICBS for a long time, but has not received them. M.B. is
a victim of the District’s systems – the educational system, the mental health system, and now
the legal system. There were so many indicators that M.B. needed intensive support and there
were many opportunities early in his life to provide a higher level of community-based services.
He was first hospitalized at age seven for a suicide attempt and diagnosed with ODD. Yet, he
did not receive any behavioral health support for many years. If M.B. and his family had been
engaged in ICBS following the initial hospitalization, it might have changed his outcome and
prevented future hospitalizations. M.B.’s high risk of institutionalization was cemented – in my
opinion – in 2009 when he was placed in a separate school and remained in a separate school
until 2020.
       M.B. has not received Intensive Care Coordination or the support of a Child and Family
Team. A team could have addressed the numerous incidences of trauma in M.B.’s history at the
time they occurred by updating or modifying M.B.’s service plan (or creating one in the first
instance). A team would have ensured frequent communication to identify the underlying causes
of M.B.’s behaviors and to assist M.B. with positive coping mechanisms. A team should have
worked with his school to develop a BIP that built on his strengths and focused on decreasing the

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number of triggers in M.B.’s school environment (noise, his poor performance in academics, his
articulation difficulties, his expressive and receptive language disorder). It should have also
provided him with the maximum number of hours of behavior support that he needed in order to
thrive in the home, school, and community. In my interview with the principal at Foundation, she
said “he needed a whole-person kind of treatment, and we are Monday-Friday 8:30-4:30.” In my
interview with Pathways, the principal indicated that underlying issues are for “outside therapy.”
Had his schools indicated a need for more intensive supports to a Child and Family Team, the
Team could have pursued options to possibly prevent M.B. from needing seclusion, restraint, and
segregation.
        His school records referred to a crisis plan and a safety plan, but I could not find
complete documentation of any of these plans. Given his physical aggression with teachers and
peers, which in some cases may have resulted from his frustration with his inability to read and
perform simple math functions, I would have expected his educators to engage in in-depth
conversation with his mother and other service providers to change his IEP to provide different
supports.
        With intensive help to catch up to his peers, M.B. could have possibly transitioned to a
general education setting in a District public school. Each year, his teachers should have
evaluated his ability to return to a regular school setting and should have discussed with both
M.B. and his mother what supports could be provided to accomplish that transition. According
to the documents I reviewed, this never happened. The IEP process for M.B. did not help him
overall. IEP meetings did not include all the relevant team members to provide input about what
M.B. needed and how his needs could be met. M.B. rarely attended his own meetings to help the
team understand what he wanted and needed. His mother’s participation was typically by phone,
which did not help her participate fully in decision-making. M.B.’s mother listened to school
staff recommendations during the IEP process in his middle school and high school years, but
did not feel this was reciprocated. She told me “DCPS never met his needs.”
       Moreover, there seemed to be a lack of communication between the schools, providers,
and M.B.’s family, to keep everyone abreast of his behaviors and treatment needs. M.B.’s
probation officer said that everyone working with M.B. worked independently, with some
sharing of information, but nobody led the team. A Child and Family Team approach could have
resolved these communication difficulties. Instead, DCPS separated him from “neurotypical
peers” at school and in the community. As a result, I believe M.B. never had a chance to
succeed.
         M.B. has not received mobile crisis services. M.B.’s mother told me that she did not
know about any behavioral health service apart from those Community Connection offered.
Community Connections should have informed M.B. and his family about crisis services. These
would have been especially beneficial for M.B. when his schools frequently contacted his mother
to get her permission to hospitalize him for assessment. Had mobile crisis services been
identified as part of a safety plan, and agreed to by his mother, an assessment could have been
completed on site. M.B. also could have used mobile crisis services when he began engaging in
illegal conduct. It is possible these services, in conjunction with a Child and Family Team to
debrief and modify his behavior/safety plan, could have prevented his hospitalization and
eventual incarceration.


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        M.B. has not received intensive behavior support services in his natural location. Instead,
M.B. received the same services repeatedly, without any demonstrable progress. M.B. was a
Community Connections client for a number of years. Community Connections appears to have
visited M.B. at school and home with some frequency, most significantly during his nine months
receiving CBI. However, the records do not indicate that Community Connections ever made
any meaningful effort to address the root causes of M.B.’s behavior, even where identified.
They also did not engage M.B. in community activities that could have helped him develop
important life skills, kept him engaged outside of school, or remediate his significant reading
delay. The TAY program focused exclusively on employment skills and did not help him
develop the prerequisite functional skills to maintain stability in the community, let alone
achieve employment (for example, reading). Additionally, Community Connections provided
inconsistent support to M.B.; there were many years in which the records did not indicate what
supports the agency provided to him and whether they successfully engaged him in services.
Further, there was a lack of consistency in staffing; M.B. frequently experienced a change of
workers within Community Connections. It also does not appear that he received consistent
medication management.
        After M.B. completed treatment with Community Connections in 2015, he should have
continued to receive intensive behavior supports but it does not appear that they provided him
with any assistance. Yet, he was re-enrolled in Community Connections in 2016 and offered the
exact same services. I do not understand why Community Connections did not indicate a higher
level of services at that time. Unsurprisingly, Community Connections admitted him again in
2018 with the same service offering.
       Therapies should have more fully explored his trauma, and assisted him in working
through the root causes of his behaviors at school, so that he could apply what he learned in a
classroom setting with teachers and other students. While certain triggers were mentioned in his
records, I did not see any indication that his providers actually concentrated on dealing with his
experiences with domestic violence, his relationship with his father, the death of loved ones, and
his overall feeling of inadequacy in the academic environment.
       Needs & Recommended Services
         M.B. has and continues to experience significant harm because he has not received ICBS.
M.B. is currently incarcerated and, without ICBS, is at a high risk of psychiatric
institutionalization when he returns to the community. M.B. needs a behavioral health provider
who offers intensive care coordination that will provide or oversee the provision of services in
the areas of supported employment, assistance with coordinating recreational activities, trauma-
focused therapy, parenting classes (if indicated), educational and reading supports, and therapy
to address identified mental health needs.
        M.B. needs intensive therapy to resolve his inadequate feelings of performance in
academic settings and resulting aggressive behavior, his experiences of seclusion and restraint at
school, and the death and loss of family members and friends. M.B. needs to feel that he can
succeed in life, and to understand and address the trauma associated with his feelings of
inadequacy. M.B. told me repeatedly that he wishes he could go back in time, so that he could
be a better student and learn what he knows now. I firmly believe he needs ICBS to do this, and


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to revisit past behavioral incidents and address the root causes that led to his behaviors. While he
remains incarcerated, ICBS should be delivered to M.B. in that setting.

       For M.B., ICBS should include the following:

       1. M.B. needs ICC and for his coordinator to convene a Child and Family Team to
          coordinate his service plan. This team should likely include M.B. himself, his mother,
          his lawyer, his uncle, older siblings, a boxing coach or boxer, a job coach, his
          girlfriend (if appropriate), and a teacher. It would be helpful if this team could meet
          twice a month initially to confirm his identified needs, to identify services, and to
          ensure that the identified services are put in place. Once M.B. is consistently
          receiving services, the team could then meet once a month in order to monitor
          progress, or lack thereof.

       2. The Child and Family Team should coordinate these services for M.B.:

           a. M.B. needs to improve his reading level and his reading comprehension. He is
              currently reading at a first to third grade level, yet graduated high school. M.B.
              continues to identify this as an area with which he needs help. M.B. should be
              provided a tutor to work with him on developing reading and math skills.
           b. M.B. and his mother need to discuss whether guardianship is appropriate. M.B.
              should be given sufficient information in a form that he understands, so that he
              can make an informed decision about whether they should pursue guardianship.
           c. M.B. needs employment that focuses on his areas of strength and interests. He
              will likely need help to gain and maintain employment, and to help him avoid
              walking off a job site in response to triggers. A job coach or someone in a similar
              position could likely help M.B. achieve and sustain employment.
           d. M.B. needs an opportunity to participate in recreational activities that can occupy
              him and keep him out of legal trouble. He has indicated that he would like to
              become a boxer or barber, and he expressed interest in building homes with
              Habitat for Humanity or a similar project. A team member or care coordinator
              should help coordinate these activities for him or with him.
           e. M.B. needs to be involved in a peer group with other young adults with similar
              experiences to develop his abilities to build and maintain relationships.
           f. M.B. needs to find a stable place to live and re-enroll with SSI when he is no
              longer incarcerated. M.B. should have assistance locating affordable housing in
              which to live independently – either through a housing authority or an
              independent living program, if indicated.
           g. M.B. needs an attorney to help him with his legal charges who understands his
              history and needs. His current attorney should participate on the Child and
              Family Team to ensure continuity of supports.

       3. M.B. needs mobile crisis services to remain stable in the community.

           a. His team should develop a crisis plan that includes mobile crisis services.



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        4. M.B. needs intensive behavior support services where he is naturally located
           (currently: while incarcerated). After M.B. is released from detention, these supports
           could all be provided through an Assertive Community Treatment (ACT) team, a
           multi-disciplinary team of individuals who could work together to meet M.B.’s needs
           in the community. These services should include:

           a. A provider to review his medical history and determine whether medication
              would be useful at this time.
           b. Trauma-focused therapy to address his experiences with domestic violence in his
              family home. M.B. witnessed domestic violence between his mother and father,
              and it appears that this could have occurred for as many as eight years. He needs
              to reconcile with this domestic violence, which likely affects his relationship with
              his father and others.
           c. Individualized therapy to address his relationship with his biological father and
              decide what kind of relationship, if any, he would like to have with his father.
              Therapy can also help M.B. understand the responsibilities of being a parent, now
              and in the future - including how he can care for himself while caring for a child.
           d. Grief counseling, if indicated. M.B. has suffered several losses – including his
              maternal grandmother, a grandfather, and classmate, and should have an
              opportunity to discuss whether he needs to process that grief. He should have had
              this opportunity when these events occurred and needs this opportunity now.
           e. Therapy and instruction about sexual and emotional intimacy, to help him learn
              about how to have sexual or romantic relationships responsibly. M.B. needs to
              improve his relationships with women.
           f. Anger management training to address his coping skills and to target strategies
              other than walking away.

       Until M.B. receives these services in the form of ICBS, he is contained to a cell, he
cannot read, and I do not think he understands the consequences of his legal predicament. M.B.
would like an opportunity to reverse course and re-do the past but is not receiving any help to do
so. In my opinion, M.B. was and is a victim of the system.


M.T.

       M.T. is a 17-year-old Black female who has a serious emotional disturbance, needs ICBS
and has not received it, and is at risk for institutionalization - psychiatric hospitalization and/or
residential placement.
       To conduct this review, I interviewed M.T., M.T.’s mother, and M.T.’s psychologist from
Children’s National Medical Center (CNMC). I attempted to interview M.T.’s grandmother and
spoke with her briefly, but she was unavailable after our initial conversation.
       M.T. reports that she enjoys being outside with her cousins and going to the pool and
beach. M.T. says that her favorite people are her cousins and that her favorite memory is when
her grandfather took her, her siblings, and cousins to the movies every Sunday before the
COVID-19 pandemic. She reports that currently she mostly stays inside the house and spends a

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lot of time watching YouTube videos and TikTok, and listening to “old school music.” She says
she is a good reader but does not enjoy reading. M.T.’s records note that she can engage in
reciprocal conversation, access the general education curriculum “without additional devices,” is
likeable and friendly, enjoys doing hair and nails, and wants to help people and make them feel
better. In 2019, M.T. scored an IQ of 70. M.T. hopes to attend college and become a nurse or
work in dentistry. She has held a couple of jobs and continues to seek employment. M.T. shared
with me that she believes in God but does not attend church. M.T. also told me that she has a
boyfriend and an ongoing relationship with her cousins, which indicates that she can develop and
maintain social relationships.
        In the next two years, M.T. told me that she would like to get her driver’s license,
graduate from high school, move into her own place, and decide between a career in nursing or
dentistry. She reports, “Worrying about life in general,” and when asked about her past, she
admitted that she experienced a lot of trauma and that she is “getting over [her trauma], but [is]
not over it yet.”
        According to the most recent records I reviewed, M.T. has the following diagnoses:
Major Depressive Disorder (moderate recurring episode); Unspecified Anxiety Disorder;
Unspecified Trauma Stressor Related Disorder; Borderline Intellectual Functioning; Diabetes
Type 2; Sleep Apnea; Clinical Obesity; High Cholesterol; and Myopia. M.T. has been
prescribed Fluoxetine for depression and Hydroxyzine for anxiety but was not taking any
medication when I interviewed her. M.T. reports that she is supposed to wear glasses but does
not. She also received gastric sleeve surgery and participated in CNMC’s obesity program to
manage her weight.
         M.T. is temporarily living in a relative’s home, with her mother and two younger
siblings. The family needs to move when the relative returns to the country in July 2021. M.T.’s
mother told me that she is not sure where she and her family will go. Previously, M.T., her
siblings, and her mother lived at her grandmother’s house, with a host of other family members –
this is an option for their future move, but her mother says the house is already too crowded.
M.T. and her siblings have also lived with their mother at a domestic violence shelter. M.T.’s
mother reports that she was involved in an abusive relationship with her younger children’s
father (M.T. and her siblings do not share the same biological father), and that M.T. witnessed
incidences of domestic violence, including what M.T.’s mother referred to as “the final
incident,” where her siblings’ father tried to push M.T.’s mother into a well.
        M.T.’s mother told me, “My life’s just been a lot.” M.T.’s mother left home as a
teenager and has a personal history of trauma from seeing her parents’ domestic violence and the
murder of her best friend. She has been diagnosed with Manic Depression, Diabetes, Asthma,
and High Cholesterol. In 2014, M.T.’s mother was battling substance abuse issues, so she asked
her younger children’s father to take them in. At that point, their father was also dealing with
substance abuse issues, so he asked his sister to take care of them. His sister sent them to M.T.’s
grandmother, who obtained legal custody for M.T. Between 2016 and 2018, M.T.’s aunt was set
on fire and experienced severe burns. M.T.’s uncle was shot in 2017. These incidents were
traumatizing for M.T. and her family. M.T.’s mother believes that her children are re-
traumatized every time they see their aunt, who visits M.T.’s grandmother daily. In 2019, M.T.’s
mother was incarcerated for three weeks on drug-related charges. M.T.’s father is currently
incarcerated and, according to records, M.T. retains a phone relationship with him.

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        M.T.’s mother reports an overall frustration in raising her daughter and M.T.’s two
siblings, and with her experience seeking services from schools and providers. She told me, “I
gave D.C. schools hell because either you catch it or you don’t, and if you don’t, you fall through
the cracks.”
       History of Behavioral Health Services
         According to her mother, M.T. was born via caesarean delivery at 37 weeks and did not
breathe at birth. While her mother said that M.T.’s developmental milestones (walking, talking,
and toilet training) were otherwise within normal limits, she told me she always felt M.T. was “a
little different.” At two years of age, M.T. began playing with imaginary friends and seemed
withdrawn.
        According to her mother, M.T.’s medical issues first arose when she was in pre-
kindergarten. Her mother reports that M.T. slept hard, was difficult to awaken, snored loudly,
and slept all day in school. M.T.’s mother questioned the school about allowing M.T. to sleep in
her classes all day, but she felt the school dismissed her concerns. At age six, M.T. was
diagnosed with sleep apnea. She had surgery to remove her tonsils and adenoids and started
using a sleep apnea machine. M.T.’s mother said the surgery helped tremendously with her
sleeping. M.T. was easily distracted at school, however, and had difficulty following two-step
directions. Again, M.T.’s mother said the school told her that M.T. would grow out of it.
         M.T. began attending Houston Elementary School in Northeast D.C. I did not receive
these records. According to M.T.’s mother, the school retained M.T. in either kindergarten or
first grade. During M.T.’s third grade year, the family moved to North Carolina - her mother
reports they moved to escape domestic violence - and M.T. enrolled in Princeton Elementary
School in Johnston County, North Carolina. M.T.’s mother said Princeton administrators called
her at one point during the year to share that M.T. had difficulties and needed an IEP evaluation.
According to her mother, M.T. received an IEP and started to make better academic progress. I
did not have these records to review. M.T. began cutting herself around this time at age 10.
        According to M.T.’s mother, M.T.’s family returned to the District when she was in
either the fifth grade (2014-2015 school year) or sixth grade (2015-2016 school year). M.T.’s
mother assumed that her Princeton IEP would transfer to the District, but I have not seen it in
any of M.T.’s DCPS school records. According to her mother, DCPS never implemented the
Princeton IEP and M.T. received failing grades in both fifth and sixth grades.
        In 2015, while her mother was dealing with her substance use issues, legal custody of
M.T. was awarded to her grandmother, and M.T. moved into her home. In 2016, M.T.’s younger
brother received an IEP and, at this point, M.T.’s mother realized that M.T.’s IEP from North
Carolina was not being implemented by DCPS. She told me that she then began educating
herself about IEPs but was unsuccessful in getting M.T. another IEP for many years.
        In seventh grade (2016-2017 school year), M.T. attended two schools: Jefferson Middle
School and Kelly Miller Middle School. At Kelly Miller, a group of girls at school jumped M.T.
and posted the incident on social media. M.T. suffered bruises to her face and body, and the girls
pulled out her hair. M.T. and her mother both told me that this was an extremely traumatic



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incident for M.T. Records indicate that this experience had a significant impact on M.T. - she
failed most of her classes that school year.
        In fall 2017, M.T. began attending eighth grade at St. Thomas More Catholic Academy in
the District. She also enrolled with Paving the Way Multi Service Institute, a mental health
provider in the District. M.T.’s mother told me that Paving the Way diagnosed M.T. with
Depression, Severe Anxiety, and Post-Traumatic Stress Disorder (PTSD), but they did not
deliver services to M.T. consistently. M.T. did not attend school most of the year, and the school
sent a letter warning about her truancy.
        In the 2018-2019 school year, M.T. attended the ninth grade at Archbishop Carroll High
School (Archbishop Carroll), another Catholic school in the District. She failed all of her classes
and struggled with school attendance. Records and interviews indicated that, due to her anxiety
about past trauma, M.T. would attempt to enter the school building, but would not attend classes
within the school. M.T.’s grandmother told me she did not feel as though the school did
anything to control the bullying M.T. experienced, or her PTSD from the middle school incident.
       In October 2018, M.T. began taking Metformin for her diabetes. In November 2018,
M.T.’s primary care medical physician referred her to Children’s National Medical Center
(CNMC) for an evaluation for Depression, Trauma, Anxiety, “familial conflict”, and “academic
problems”. CNMC diagnosed her with Chronic PTSD, Anxiety Disorder, and Dysrhythmia.
The psychologist recommended M.T. attend a weight loss clinic at CNMC and engage in trauma-
focused therapy. The psychologist also recommended that she receive a “504 plan” of
accommodations for her conditions, or an IEP for special education, at school. I did not see that
she received trauma-focused therapy, or an IEP or 504 plan (until later).
       In January 2019, M.T. called in a threat to set her high school, Archbishop Carroll, on
fire. Archbishop Carroll requested that she be withdrawn. According to M.T.’s mother, the
school said if M.T., her mother, and grandmother agreed to the withdrawal, the school’s records
for M.T. would not include the incident. Archbishop Carroll also recommended that she receive
mental health services following the threat, but I did not see any evidence of a referral to an
agency providing these services.
       In February 2019, M.T. was referred for partial hospitalization. Partial hospitalization is
usually a day treatment program that offers short-term therapeutic support. M.T.’s psychologist
believed that M.T. was “clinically elevated.” Based on her complex medical and behavior
diagnoses and her “current fragile state and history of trauma,” she thought it would be
“dangerous for M.T. to attend a non-therapeutic placement” (I assume she meant a school
placement based on my interview with her and records). Had an agency implemented intensive
behavior services following the trauma she experienced at Kelly Miller, they likely could have
avoided a referral of this kind.
        Inova Kellar Center, a facility that offers partial hospitalization in Virginia, conducted an
intake with M.T., but did not accept her for services. In March 2019, CNMC recommended that
she attend a “therapeutic” high school, but she was not placed in such a setting.
       In March 2019, M.T. was enrolled at H.D. Woodson High School (H.D. Woodson), a
public DCPS school. Within the first few days of school, she thought she saw one of the

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students who jumped her at Kelly Miller Middle School. After that, she refused to return to the
school. In April 2019, H.D. Woodson held a meeting with M.T.’s grandmother to discuss M.T.’s
issues and history. M.T.’s grandmother and her attorney signed a consent form to have M.T.
evaluated at school. M.T. had an initial special education eligibility determination meeting at
H.D. Woodson and a psychiatric evaluation at CNMC. The evaluation recommended that M.T.
be found eligible for special education as a student with emotional disturbance, but H.D.
Woodson did not find M.T. eligible for special education; the school said it needed additional
data to support eligibility. The evaluation also recommended that she attend a therapeutic
summer school, which she did not according to the records I reviewed.
        M.T.’s grandmother’s attorney began an application with DCPS for home and hospital
instruction (HHIP) for M.T. M.T. was evaluated for HHIP in June 2019. This evaluation did not
recommend eligibility for special education; again, DCPS said that M.T.’s files contained
insufficient data for the evaluator to review, because of her absences. The evaluation
recommended that the school develop a team approach to encourage M.T. to attend school and
that M.T. could benefit from a functional behavior assessment (FBA) to try to identify the
triggers for her behavior. It also recommended that M.T. receive community-based individual
and family counseling. I agree with these recommendations, and believe that they support
M.T.’s need for ICBS.
       M.T. was hospitalized twice during the summer of 2019 at Adventist Hospital in Shady
Grove, Maryland, after she expressed suicidal thoughts and ideation, and showed aggressive
behavior toward her mother. Her hospitalization in July 2019 lasted two weeks.
       In fall 2019, M.T. began the ninth grade at H.D. Woodson. M.T. continued having
attendance issues - she frequently refused to enter the building, or cried after entering and
refused to enter her classroom. In October 2019, a school social worker visited M.T.’s home to
complete an attendance plan, but M.T. became so upset that she left the meeting. That same
month, M.T. completed an intake for behavioral health services with Umbrella Therapeutic
Services (Umbrella), another District provider.
         Umbrella’s treatment plan recommended: a psychiatrist follow-up to provide medications
(at the time, she was taking Zoloft); psychoeducation for M.T. and her family to educate them
about her medications and minimize impacts; counseling to learn new coping skills and how to
deal with mood and attention; community support to encourage her to interact with her peers;
and new problem-solving techniques to help M.T. learn and control her behavior at home, in
school, and in the community. However, the family reports that Umbrella did not have a doctor
on staff and could not provide this therapy. Instead, the family received visits at home from a
community support worker, who they enjoyed and found helpful.
        After gaining 165 pounds in six years, M.T. had gastric sleeve weight loss surgery in fall
2019. M.T.’s mother told me she again sought services for M.T. after this surgery because she
felt M.T. needed to “re-build” herself. However, M.T.’s mother reports she struggled to get help
because providers were always changing therapists and the family could not get consistent help
with medication management. M.T.’s mother decided to work with M.T. herself to rebuild her
confidence. She told me that they walked and talked as their own form of therapy, and that as a
result M.T. successfully managed her diet and weight.


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         In December 2019, M.T. had another evaluation, which noted diagnoses of Anxiety
Disorder, Borderline Intellectual Functioning, and a full scale IQ of 70. In January 2020, after
filing a due process complaint seeking that M.T. be made eligible for special education, M.T.’s
grandmother agreed to enter a settlement agreement with DCPS. The agreement required DCPS
to develop an IEP for M.T., and then make a referral to the District of Columbia Office of the
State Superintendent of Education (OSSE) to place M.T. in an approved nonpublic school.
M.T.’s family continued to keep her at home, however, and she had 89 unexcused absences
during the 2019-2020 school year. M.T.’s mother believes it took more than five years to get
M.T. an IEP after they returned from North Carolina because “the school system knew [she] did
not know any better, and because [she] was not asking the right questions even though she kept
asking for help from the school system and from mental health.”
        M.T.’s IEP included a reading goal and a behavior goal, that “with prompts and supports,
[M.T. would] utilize positive coping strategies to gain control of herself when she becomes
anxious and stressed in the academic setting.” The IEP, while specific, did not address how the
school would successfully help M.T. enter the school and enter the classroom. Because of her
struggles with attendance, I would expect the IEP to include an aide for M.T. to help her enter
the school. I would have recommended that the aide work with M.T. at home for a brief period
to develop a trusting relationship. Then, the aide could help M.T. transition back to the school
and stay with her as she began to attend classes in-person again.
        In the fall 2020, M.T. transitioned to New Beginnings Vocational Program. She received
an updated IEP in February 2021; the IEP provided M.T. 27 hours of specialized instruction, 120
minutes a week of behavior supports, and included essentially the same behavior goals as did her
2019-2020 IEP. Her most recent records indicate that M.T. still struggles to attend virtual
classes and is often unavailable for virtual therapy.
       M.T. is currently receiving mental health services from Better Morning, another District
behavioral health service provider. The family reports that they receive regular check-ins from a
community support worker, but that M.T. is not currently taking medication or receiving therapy.
M.T. told me that she has had more than ten therapists work with her, but that none of them has
helped her. M.T. says she does not want more therapy, and she does not want to take more
medication.
       Findings
         Based on my review, it is my opinion that M.T. has a serious emotional disturbance
because she has mental health conditions, including Major Depressive Disorder, Unspecified
Anxiety Disorder, Unspecified Trauma Stressor Related Disorder, and Borderline Intellectual
Functioning, which substantially limit her functioning in her family, at school, and in the
community. Because of her mental health conditions, she displays anxiety about entering school
and attending classes, suicidal ideations, withdrawal and isolation, and she is unable to remain
employed. These behaviors limit her ability to achieve or maintain developmentally appropriate
skills, like successfully attending and participating in classroom settings, engaging in part-time
employment, and participating in family and community activities.
      M.T. needs ICBS because she has experienced a great deal of trauma (domestic violence
between her mother and her siblings’ father; the shooting of her uncle; her aunt being burned; the

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jumping by the group of girls in middle school and repeated bullying; and her fear of being re-
traumatized). M.T. needed therapy to navigate all these incidents, yet her mother struggled to
find any agency to help. When help was offered to M.T. sporadically, M.T. was unable to
develop a continuous relationship with any provider.
        I believe ICBS would have been especially beneficial for M.T. after the jumping incident
at Kelly Miller Middle School. ICBS could have helped her learn strategies to cope with her
trauma so she could re-enter school. Had ICBS been offered to her, M.T. likely would have
received an IEP much sooner and would have likely prevented M.T.’s frequent change in school
placement and her failing grades in high school due to lack of attendance. Because she did not
receive ICBS, she instead received many recommendations and referrals for hospitalization or
intensive services in group settings outside of her community.
       M.T. has not received any component of ICBS.
        M.T. did not receive intensive care coordination, and a Child and Family Team was not
convened and facilitated, to address her anxiety about returning to school. H.D. Woodson’s staff
made numerous attempts to seek additional assessments and collect information from previous
assessments. This information was compiled and shared among several providers. However, a
team with all relevant parties was never convened to review this information to develop a
specific plan to assist her in returning to school, to implement the plan, or to help M.T. gain
control over suicidal thoughts, self-esteem, anxiety, and trauma. Assembling all of the
evaluators in one meeting - at least initially to interpret results and match services to
recommendations - would have been most helpful as a foundation and as a jumpstart to the
provision of intense, individualized strength-based services to meet M.T.’s needs. If a team was
in place, M.T. would have likely been given an opportunity to describe a school setting she was
comfortable attending (not H.D. Woodson - where she believed she saw a girl that jumped her).
       I did not see any documentation of M.T.’s use or referral for M.T.’s use of mobile crisis
services. Such services would have been valuable to her after the jumping incident at Kelly
Middle School, and, later, at school when she displayed severe anxiety and refused to enter the
building. M.T. and/or the school should have been able to call mobile crisis services to help her
calm down and address her anxiety. She could have also used mobile crisis services following
the jumping incident at Kelly Middle School. Without an immediate response, M.T. failed to
receive intensive interventions to decrease her anxiety and address her trauma.
        M.T. has never received intensive behavior supports. It is significant to me that,
according to my review of available records, no agency offered M.T. community-based
intervention (CBI) or Assertive Community Treatment (ACT) as an initial effort to engage her.
Providers recommended the same services in increasingly segregated settings, mostly without
follow through to help the family achieve these placements. Sporadic mental health services and
hospitalizations were simply not enough for M.T. and as a result, she has remained at risk of
psychiatric institutionalization for many years. M.T. needed more.

       Needs & Recommended Services
        It is my opinion that M.T. currently needs ICBS. M.T. needs a Child and Family Team
so she can develop a trusting, consistent relationship with her service providers. The Child and

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Family Team should identify the most appropriate educational setting in which M.T. is
comfortable attending and work with an aide to help her attend school. She also needs
therapeutic treatment to remediate familial relationships, her history with domestic violence, the
neglect she experienced during her early years, her concerns about being re-traumatized when
she goes into a school setting, and her lack of comfort with her appearance. Intensive behavior
supports should help her develop functional coping skills and strategies to respond to situational
triggers and this history of trauma.
       For M.T., ICBS should include the following:
       1. M.T. needs ICC to convene a Child and Family Team that will coordinate an
          individualized, consistent care plan. This team should include M.T., an identified
          friend, her grandmother and grandfather, her mother, her medical doctor, her CNMC
          psychologist, a school nurse (because of her medical diagnoses and her interest in
          becoming a nurse), a special education teacher, her CS worker from Better Morning,
          and her father could be included via phone. Team members serving the adults in
          M.T.’s life (i.e., providers working with her mother and father) should also be
          included. The team needs to meet initially at least every two weeks until M.T. settles
          in a school environment, the family settles in a home environment, and M.T. is
          attending and participating in therapy services consistently.

       2. The Child and Family Team should coordinate these services into her service plan:
               a. M.T. needs to engage in therapeutic supports. Because she is currently
                  refusing therapy, M.T. is likely to have certain preferences about the therapist
                  who will provide her therapy. Allowing her to have a say in the selection of
                  her therapist will likely increase her engagement.
               b. M.T. needs a crisis plan that is developed with M.T., her mother, and other
                  critical team members that includes mobile crisis services and is updated
                  regularly.
               c. M.T. needs to attend school and go to her classes consistently (even virtual
                  classes). If M.T. is unable to attend school in the fall, the school system
                  should consider having an aide work with M.T. in the home briefly - for at
                  least 20 hours a week for a maximum of two weeks - to build a trusting
                  relationship with M.T. The identified aide should transition with M.T. back to
                  her identified school setting and work with her independently in the school at
                  first. Then, M.T. should transition with the aide back into her classes, and
                  later be available within the school as a go-to person for M.T. should she
                  begin to feel anxious. This aide should also be a part of her Child and Family
                  Team.
               d. M.T. needs a stable home environment that is not overcrowded, allows her
                  privacy, and allows her family to regain stability. A housing authority or
                  similar service should help M.T.’s mother locate a home. M.T.’s mother also
                  needs assistance re-applying for supplemental security income to ensure the
                  family’s financial stability.
               e. M.T.’s mother needs to deal with her trauma and clinical conditions so that
                  she can help M.T. make decisions as M.T. transitions into adulthood.

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        f. M.T. needs to find employment in a calm environment that is not
           overstimulating to her. A job coach should assist M.T. with finding
           employment and coach her through job-related anxiety triggers.
        g. M.T. needs to engage in community activities that develop her functional
           coping skills. This might include technical training, hospital volunteering
           (like Junior Volunteers), or cooking classes.
        h. M.T. needs to develop healthy friendships with peers her age. She should
           attend a clinically based peer group with like peers to help M.T. with her
           depression, weight, and self-esteem.
        i. M.T. needs medical assistance to help her maintain or progress with her
           weight loss, and to manage her other medical conditions like sleep apnea. Her
           team should seek medical advice from her primary care physician.
 3. M.T. needs mobile crisis services when she experiences anxiety and is unable to
    participate in normal activities – including in classroom settings, employment, and
    community activities.

 4. M.T. needs intensive behavior support services where she is naturally located. M.T.
    needs to develop a trusting and long-term relationship with a therapist in order to
    address her trauma history. The therapist (described and/or identified by M.T. and
    the the Team) should engage M.T. by using her areas of interest. This might include
    using YouTube videos and social media to engage her with resources regarding
    therapy techniques. It could also entail providing her with psychoeducation through
    music or literature showing other teenagers who have experienced and benefitted
    from therapy. M.T.’s therapy should provide:

        a. Intensive trauma-focused therapy (individually for M.T. and family therapy),
           to deal with their history of trauma and to help M.T. find closure for the
           bullying incident.
        b. Individual therapy so M.T. can reconcile the emotional abuse and neglect that
           she experienced in the past from her mother’s drug use, and the frequency
           with which the family moved in her early years to escape the threat of
           domestic violence. M.T. also needs to regain self-confidence and learn to feel
           good about herself. She needs to associate positive emotions with her
           appearance, as well as her relationships with her mom, her siblings, and her
           father.
        c. Interventions to help her develop appropriate coping skills other than
           withdrawing and suicidal thoughts (a reaction that M.T. has in response to
           feeling overwhelmed and anxious). New coping skills should help her react
           more positively to situations and things that trigger her stress, frustration, and
           anxiety.




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W.H.
       W.H. is an 18-year-old Black male who has a serious emotional disturbance, who needs
ICBS and has not received them, and who is at risk of institutionalization - incarceration,
psychiatric institutionalization, or other residential placement.
       To conduct this review, I interviewed W.H.’s mother and W. H’s grandmother. W.H.
could not be located for an interview.
        W.H. currently lives with his grandmother. She and W.H.’s mother told me that W.H.
likes to play sports and excels at basketball, football, and soccer. They also told me he is very
good at working with his hands and taking things apart (especially guns), he works well with
computers and phones, he likes to go to amusement parks, and he is very efficient and honest.
W.H.’s mother said W.H.’s favorite saying is “stay dangerous.”
        The most current diagnoses I reviewed for W.H. included unspecified Bipolar Disorder,
Cannabis Use Disorder; and a need to rule out ADHD, PTSD, OCD, anxiety disorder, and an
eating disorder; “academic or educational problems”; “legal problems”; and “parent/child
relationship problems.” W.H. is not currently taking any medication and, according to W.H.’s
mother, he self-medicates with marijuana. W.H.’s mother says he believes marijuana calms him.
W.H. has a history of strange eating habits that have not been diagnosed as a disorder. However,
W.H. will go two to three days without eating, according to his mother.
        W.H.’s grandmother first sought custody of W.H. on October 24, 2003, when he was
about five months old. She said her daughter (W.H.’s mother) was hanging in the streets at that
time and left W.H. in a home with her boyfriend. W.H.’s mother and grandmother were awarded
joint custody on October 19, 2004, when W.H. was about 1.5 years old.
        W.H.’s mother spent time moving from shelter to shelter during her youth and was
eventually placed in a facility. W.H.’s mother described herself to me as “really fast” and as
loving the streets. At some point, she was incarcerated for selling drugs. W.H.’s mother told me
that she has worked hard to get her life on track. She attended a school for four years with a
focus on criminal justice and has worked as a beautician for 16 years. In addition to W.H., she
also has a 7-year-old daughter that lives with her. W.H. has expressed feeling that W.H.’s
mother has been more of a mother to her daughter than to him. W.H.’s mother also has an uncle
who, according to W.H.’s mother, was diagnosed with schizophrenia.
        According to W.H.’s mother, W.H.’s father is a well-known boxer in the District and has
been incarcerated for most of W.H.’s life. At the time of W.H.’s birth, W.H.’s mother was 14
years old, and W.H.’s father was 39 years old. W.H.’s grandmother pressed charges against
W.H.’s father for having a sexual relationship with W.H.’s mother, but according to W.H.’s
mother, the charges were dropped because W.H.’s mother lied to him about her age. W.H.’s
mother described W.H.’s father to me as a “sociopath.” W.H.’s father has, over the years,
attempted to have a relationship with W.H. - sending money and making time to visit when he is
not incarcerated.
        W.H. has had multiple charges that have led to frequent arrests, detentions, probation,
and transitions between institutional settings, group homes, and detention at the Youth Service
Center (YSC), and his grandmother’s and mother’s home. W.H.’s mother describes W.H. as a

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“master of manipulation” who is out of control when he gets mad. She said that W.H. has stolen
items from family members such as money, electronic tablets, the keys to W.H.’s mother home,
and per grandmother, he stole clothing from his uncle - who cut off a relationship with W.H.
after the stealing incident.
        W.H.’s mother said W.H. smokes marijuana regularly and sleeps all day, is sexually
active, and stays out of the home all night. W.H.’s grandmother says W.H. struggles with the
death of his friends, and that he feels like he has to cover himself up while using public
transportation because of inter-gang violence. According to W.H.’s mother, W.H. is a rising
senior but is not enrolled in school.
       While the District made numerous efforts over the years to connect the family and W.H.
to mental health agencies for support, the family had a difficult time enrolling in and receiving
such services. It also appears that W.H. regularly refused treatment and services.
       History of Behavioral Health Services
       W.H.’s mother reports that during her pregnancy, her boyfriend at the time (who was not
W.H.’s father) physically abused her. W.H. was born full-term and weighed 6.5 pounds. W.H.’s
mother told me (and records supported) that W.H.’s developmental milestones were within
normal limits. He sat at five months, walked at eleven months, and slept well as an infant.
        W.H.’s mother reports (and his records also indicate) that W.H. started eating paper
products as a toddler and refused to eat food. W.H.’s grandmother said that milk was his main
diet for a long period of time, that he was a picky eater, and he used to regurgitate at the sight of
certain foods. W.H.’s mother and grandmother sought medical attention for his eating behaviors,
but the doctor said W.H. would grow out of it.
        Both W.H.’s mother and W.H.’s grandmother said they first sought behavioral health
services for W.H. from Kaiser Permanente when he was four or five years old because he
angered easily. Kaiser Permanente diagnosed W.H. with ADHD and prescribed him medication.
W.H.’s grandmother reports that she refused the medication because she was concerned that a
doctor would diagnose a 5-year-old child and offer him medication after a one-hour visit.
W.H.’s grandmother switched his doctor within Kaiser Permanente and she began attending
family therapy with W.H.’s mother and W.H.’s maternal uncle who was living in the home at the
time. W.H.’s mother said family therapy helped them make some progress because it enabled
them to agree on responses to W.H.’s behaviors. However, W.H.’s mother says W.H.’s
behaviors did not change as a result. W.H.’s mother indicated that family therapy helped but “it
didn’t end the chaos” and conflict in the family continued regarding how to discipline W.H.
        W.H. attended day care in the District and enrolled at a DCPS elementary school in
southeast D.C. for pre-kindergarten and elementary school. These records were not available to
me. According to W.H.’s grandmother, W.H.’s school made him eligible for special education
in either the first or the second grade. W.H.’s mother and grandmother both said that W.H. did
not exhibit any academic difficulties in elementary school and received above-average grades. I
did not review his IEP because it was not provided to me.
      W.H.’s grandmother told me that a few incidents that occurred in elementary school
changed W.H.’s attitude toward school. First, his favorite teacher told W.H. that he was so much

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of a bother that the teacher needed a vacation from dealing with him. W.H.’s grandmother
reported that she asked the school to remove W.H. from that class, but the school blamed W.H.
for the incident and did not take it seriously. W.H.’s grandmother said that another time W.H.
came home from school wearing a “girl’s necklace” that he claimed a teacher gave to him. The
teacher denied giving him the necklace, but W.H.’s grandmother heard that the teacher took
W.H. off campus to lunch at one point. W.H.’s grandmother was upset by the situation and
expressed concerns that the teacher had an inappropriate relationship with W.H. (This was never
confirmed.) In another incident, W.H.’s elementary school claimed he stole an item from CVS.
When W.H.’s grandmother watched the surveillance footage, she realized the school confused
W.H. with another student. However, W.H.’s grandmother said the school denied making this
mistake and based on this incident and others, the school suspended him. W.H.’s grandmother
said she insisted that they homeschool him instead, and the school agreed.
       After that, W.H.’s mother said he attended several different elementary and middle
schools in the District and Virginia because the family relocated. Although W.H.’s mother and
grandmother reported different timelines, they agreed that at one point, the family moved from
the District to Virginia. According to behavioral health records, W.H. made the honor roll once
and was selected as a “Young Achiever” in the seventh grade.
        According to W.H.’s mother and grandmother, W.H. was admitted to a residential
psychiatric treatment center in Richmond, Virginia and stayed there for 45 days (this placement
is also documented in records, but no year is indicated). The family’s move out of Virginia back
to the District ended this placement.
      While in Virginia, W.H. received services from Kids in Focus (VA). According to
W.H.’s mother, Kids in Focus diagnosed W.H. with ADHD and ADD, and placed him on
Concerta to alleviate sleeping problems. His mother said Concerta helped him sleep.
        In 2016, W.H. was hospitalized at the Psychiatric Institute of Washington (PIW) due to
“temper tantrums.” (according to his mother at the time of admission). At the time, W.H. began
smoking marijuana and his inappropriate behaviors - like destroying property and stealing -
escalated. After this hospitalization, he was referred for outpatient services (the records did not
specify a provider).
       W.H. then attended Drew-Freeman Middle School in Prince George’s County, Maryland.
According to W.H.’s mother, the school called her almost every day because of W.H.’s behavior.
W.H. had numerous suspensions and failed most classes. Eventually, W.H.’s mother said Drew-
Freeman Middle School told her that they were not equipped to handle W.H. and that he needed
a higher level of help. She said they tried to send him to a school two hours away, but she did
not agree to that placement. Instead, she agreed to enroll him at The Foundation School of
Prince George’s County (Foundation) in Maryland. Again, W.H. did not progress academically
or behaviorally.
       In the fall of 2017, W.H. was detained at Youth Service Center (YSC) three times on
charges of property destruction and possession of prohibited weapons. After the third detention,
YSC released him to Buddy’s Place, a group home. There, W.H. attended one therapy session
and stayed for a week before absconding. As a result, he was placed on probation in Prince
George’s County, Maryland and the District.

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        In January 2018, W.H. was detained twice at YSC and evaluated by the District of
Columbia Courts’ Child Guidance Clinic. The Clinic diagnosed him with Unspecific Bipolar
and Related Disorder, Cannabis Use Disorder (mild), “academic problems”, “problems related to
legal circumstances”, rule/out generalized anxiety disorder, rule/out PTSD, rule/out OCD, and
rule/out feeding or eating disorder. The Clinic’s evaluation stated that W.H. would benefit from
intense, evidence-based therapy such as multi systemic therapy (MST) or community-based
intervention (CBI). W.H. did not receive either. The evaluation noted that if W.H. could not be
stabilized in the community, he might benefit from a six- to nine-month period of stabilization in
a secure residential facility that provides 24-hour residential treatment.
        After his second detention at YSC in January 2018, YSC released him to the Kennedy
Shelter. According to records, Kennedy Shelter convened a team meeting to address W.H.’s
needs. W.H.’s mother and grandmother attended. W.H.’s mother agreed to re-certify his
Medicaid so he could receive a referral to a core service agency. During this meeting, W.H.
agreed to work with a mentor and a core service agency.
        In February 2018, W.H. ran away. Shortly thereafter, he entered into a plea agreement
for property destruction. W.H.’s probation officer filed a treatment plan for W.H. requiring him
to stay at the Kennedy Shelter, follow his curfew, apply for services at a core service agency,
avoid re-arrest, and attend school daily and follow rules. The probation officer recommended
that DYRS retain custody for W.H. for a year, and that an educational attorney assist W.H.’s
mother in advocating for supports and services at school.
        A March 2018 report indicated that W.H. was failing all his classes at Foundation,
leaving school without permission, and acting disrespectfully toward staff and peers. W.H.’s
mother said Foundation called her frequently and either suspended him or sent him home.
However, W.H.’s mother reported that when W.H. would smoke marijuana before attending
school (as he did frequently) they rarely sent him home. Instead, they would call W.H.’s mother
to say he smelled like marijuana, but that he was “chilled.” W.H. reported he had access to a
social worker and therapist at Foundation, but he did not take advantage of meeting with them
frequently.
        In April 2018, W.H. had a court-ordered psychological assessment. The assessment
documented that W.H. had witnessed shootings of people and had flashbacks of seeing dead
bodies. It also noted that W.H. was easily angered, punched holes in walls, did not like to be
redirected, felt nervous that something bad would happen, was cautious around others, had a
long history of restlessness, was hyperactive and easily distracted, and had significant mood
swings at a rapid pace. These behaviors support the need for ICBS, but the assessment did not
recommend ICBS services. Instead, it called for individual therapy, psychoeducational training
for W.H.’s grandmother and mother, an educational advocate, and a substance abuse assessment.
        A few days after this assessment, on April 19, 2018, W.H. ran away again from the
Kennedy Shelter. When he was apprehended (according to records), YSC sent him to a different
shelter in the District, operated by Life Deeds, Inc. W.H. remained at the Life Deeds shelter
from April 24, 2018, through July 10, 2018.
      At the end of April, Foundation “discharged” W.H., stating that he needed a residential
placement. However, W.H.’s mother said Foundation did not inform her or Life Deeds of the

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discharge. As a result, Life Deeds transferred W.H. to a bus stop for two weeks so that he could
take the bus to school (without knowing he was no longer enrolled or allowed at Foundation).
W.H. was free to roam the community without supervision during school hours for two weeks.
If W.H. had a Child and Family Team, this information would have been communicated to all
team members.
        On May 7, 2018, W.H. participated in a GAIN assessment (a substance abuse
assessment) at Hillcrest Children and Family Center, a District provider agency. The evaluator
noted that he was not involved in any structured activities and violated curfew. The evaluation
recommended Level 2 outpatient substance abuse treatment after several positive tests for
marijuana, and indicated that many of his behavioral issues stemmed from drug usage. The
evaluator expressed a lack of confidence that W.H. could successfully complete a period of
supervision in the community, and recommended a referral for the Northwest Balanced and
Restorative Justice (BARJ) Drop-In Center, run by the District of Columbia Superior Court’
Family Court Social Services Division. W.H.’s probation officer did not accept the
recommendation, stating that the BARJ placement was not acceptable to meet the needs of
W.H.’s IEP. I did not see that he received any new or different treatment after this evaluation.
       On June 6, 2018, W.H. plead guilty to another property destruction charge. On July 4,
2018, W.H. left the Life Deeds shelter and returned to his grandmother’s home. Two days later,
he was detained for a probation violation and sent to YSC.
        In the fall of 2018, W.H. was enrolled in the tenth grade at Foundation (records did not
indicate when Foundation re-enrolled W.H. after his discharge that spring). W.H.’s mother said
Foundation considered expelling him for truancy and lack of attendance. That November,
W.H.’s friend was killed and he reported difficulty sleeping, sitting still, and focusing. W.H.
expressed a need for help and a wish that he had died instead of his friend. His probation officer
encouraged him to start medication for his ADHD, rather than self-medicate with marijuana.
However, W.H. reported an allergic reaction to medication in December 2018 and refused to
take medication for a month.
        In January 2019, W.H. attended a mental health intake appointment with “Supportive
Counseling” (per W.H.’s mother and grandmother), another District service provider, following
a referral. W.H.’s mother and grandmother said he did not really engage in their services. These
records were not available to me.
        In the spring of 2019, W.H. failed all of his classes at Foundation because he did not
attend; he regularly arrived late to school and left early. He had more than 80 absences. There
were two DYRS Team Decision Making (TDM) meetings, in January and June 2019, with
attendees that included a TDM coordinator, W.H.’s mother, her boyfriend, W.H., a peer
advocate, and a representative from Inner City Family Services (records and interviews did not
explain Inner City Family Services’ involvement). The notes reported that during each TDM
meeting, W.H.’s mother and W.H. were disruptive and threatened each other (the family had a
referral for family therapy but had not received any). My understanding is that TDM meetings
are held for all decisions involving a child’s removal, change of placement, and/or reunification,
or other permanency plan. To my understanding, TDM Meetings are not set up for a coordinator
to monitor progress with any frequency and to share information with team members on an


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ongoing basis. While I believe these TDM meetings were certainly beneficial to W.H., it was
not enough to stabilize him.
        In March 2019, W.H. was charged as a fugitive for justice after he ran away from home
for several weeks, stopped attending school, and violated the terms of his probation.
       W.H. was detained at the Prince George County’s detention center for 9 days in April
2019 and then transferred to a DYRS secure program for 8 days. DYRS transferred him to
Universal Healthcare Daybreak Youth Home (Daybreak), a group home, after he signed a waiver
for a medium-level placement. W.H.’s attorney argued for his placement to resume at home, but
W.H.’s mother said she could not accommodate him in her home. It does not appear that W.H.
received any schooling during this time, and there is a note that he was not eligible for any
school program in the District because of the short duration of his commitment.
       W.H.’s mother said that at this time she made several calls to Community Connections.
However, the person she was asked to contact was not available and she did not receive any calls
back. W.H. finally had an intake date set with Community Connections on June 10, 2019.
However, he did not show up. W.H. resided at Daybreak until June 21, 2019, when he was
released and returned to his grandmother’s home.
       His commitment to DYRS supervision ended on July 10, 2019, and he worked for DC
Greenworks, a District nonprofit that trains “at risk” youth, that summer. In January 2020, W.H.
was detained at YSC after receiving a charge for possession of a BB gun. In May 2020, W.H.
was arrested, charged for absconding, and detained again at DYRS.
        Currently, W.H.’s mother reports that W.H. has an outstanding warrant for a probation
violation, in addition to a current felony charge for an incident where (according to W.H.’s
mother) he pointed a gun at a police officer. She indicated that W.H. is currently on the run.
W.H.’s mother says he is supposed to be living with her right now, but he is not. Instead, he is
living at W.H.’s grandmother’s home. W.H.’s grandmother says he typically only shows up to
her home to shower and change clothes.
        W.H.’s mother said she believes that his grandmother shelters W.H., possibly out of fear.
W.H.’s grandmother said, “I’m not scared of my grandson, he’s not going to hurt me. I try to
help him when he needs it because he’s a good kid, he’s real smart, and he just needs help.”
W.H.’s grandmother said that he has recently calmed down and is not as “bad” as he used to be,
but he still responds like “Dr. Jekyll and Mr. Hyde” when his behavior escalates. She reported
that W.H. has a bad appetite, food causes him to throw up, and she has difficulty persuading
W.H. to care for his hygiene and keep his room clean. W.H.’s grandmother expressed that W.H.
needs an advocate in the family other than W.H.’s mother, should anything happen to W.H.’s
grandmother; and said she would like to see W.H. and her son (W.H.’s uncle) mend their
relationship.
       Findings
       I believe W.H. has a serious emotional disturbance because he has mental health
conditions (Unspecified Bipolar Disorder and Cannabis Use Disorder) that substantially limit his
functioning in his family, at school, and in the community. He has a long history of legal issues,
absconding, and anger outbursts that the family has described as “totally out of control.” These

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behaviors limit his ability to achieve or maintain developmentally appropriate skills like
academic progress in school, involvement in appropriate community activities, or living in a
home environment without supports.
        I believe that W.H. has needed ICBS due to serious emotional disturbance that
manifested at an early age. W.H. would have greatly benefited from intensive behavior supports
beginning in late elementary school (when he was first accused of stealing and acting out in the
classroom). Because he did not receive supports, his suspensions and expulsions quickly
accumulated. Had he received each component of ICBS, W.H. likely could have learned how to
control his mood swings, understand the causes and triggers for his anger, and maintain a
prescribed medication routine if indicated. These services could have helped him identify
something other than marijuana (unless prescribed) to help him calm down. Instead, he
continued to respond to triggers by running to the streets. ICBS could have possibly prevented
admission to a psychiatric center in Richmond, Virginia, and his later hospitalization at PIW. As
he aged, his frequent arrests, placement in shelters and group homes, and absconding
demonstrated a clear need that he lacked a trusted network of support. No provider has
attempted to interrupt this cycle with intensive behavioral therapy that involves wraparound
supports, and therefore, W.H. has remained at high risk for institutionalization for many years.
       W.H. has not received any component of ICBS.
        W.H. has not received Intensive Care Coordination (ICC) or the support of a Child and
Family Team. Because W.H. moved frequently, the team meetings he attended included new
and different team members each time. W.H. needed a team that did not change and maintained
a holistic view of W.H.’s behavioral health needs, rather than reacting solely to the most recent
legal issue (or one aspect of his behavior – like truancy from school). Instead, he received
services that were matched to a location and did not follow W.H. when he returned to the
community, or when he transitioned to a new placement. Additionally, when services did not
work for W.H. (for example, attending therapy at Community Connections while he resided in a
group home), he needed a team to modify his service plan to match his individual needs. W.H.
needed more intense coordination between service providers to promote his growth and provide
him with a window of opportunity to stay in the community. W.H. once told a judge that he
would not go to therapy because he did not believe he should talk to people he did not know.
This is a strong indicator that W.H. needed ICC to engage in any form of therapeutic care.
       W.H. has not received any mobile crisis services. W.H. could have benefitted from
mobile crisis services when he experienced outbursts and when he felt the need to run away from
a placement. Mobile crisis services may have decreased the number of times he absconded and
became involved in illegal activity. His grandmother and mother could have benefitted from
mobile crisis services when W.H.’s outbursts felt “out of control” to them, and when they
disagreed about the best way to respond to these outbursts.
        W.H. has not received intensive behavioral therapy. Though W.H. has received intensive
care because of his psychiatric hospitalizations, these hospitalizations are needed for those who
are a danger to themselves or others for stabilization. They do not provide treatment that
encourages a functional change in the community and home environment. Additionally, W.H.’s
involvement with other agencies were the result of court-ordered mandates by the legal system.
However, the system continued to put in place the same array of mental health services with

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higher levels of residential placement. W.H. participated in some individual therapy and family
therapy when he was in residential settings. Documents reflect that W.H. was resistant to
community-based therapies, and no agency made a meaningful effort to engage him.
        W.H.’s mother and grandmother do not believe any services have helped W.H., apart
from the family therapy they received early on. W.H.’s mother believes that “being locked up”
helped W.H. for about a two-week period post-detention, but his behaviors always returned.
W.H.’s mother said, “I have tried so many different avenues to get help, but the system has not
helped me. Nothing has worked.” Had his family received more intensive services, the family
could have reconciled their differences on how to discipline and respond to W.H. in a more
consistent way. Instead, his three natural caregivers stayed in conflict continually about how to
raise and discipline W.H.
       Needs & Recommended Services
         I believe that W.H. needs ICBS now more than ever to engage in services, to find
stability in the community, to address his history therapeutically, and to break his cycle of arrest,
placement in a residential facility, and absconding. These services should meet W.H. where he
is naturally located in the community (if he is incarcerated, the services should be delivered in
that setting). Prior to receiving ICBS, he needs a trusted team member to engage with him to
help him participate in these services consistently.
        W.H. is at risk for incarceration. He has pending legal charges and a history of arrests,
pleas, and charges. If W.H. is not incarcerated, I believe he is at risk for institutionalization in a
locked psychiatric setting, unless he is able to engage with a trusted group of service providers
who can guide him toward mental health services and positive activities of interest.
       For W.H., ICBS should include the following:
       1. W.H. needs ICC and a Child and Family Team approach. His Child and Family
          Team should include W.H. and people W.H. trusts: W.H.’s grandmother, perhaps a
          boxing or basketball coach, his probation officer, a representative from a mental
          health agency that has a male therapist, and his attorney. Because of their history
          arguing in past team meetings, W.H.’s mother, should join with his father (via phone
          if he is incarcerated) during the second half of the team meeting.

       2. The Child and Family Team should help W.H., and his family coordinate these
          services to meet his needs:

               a. W.H. needs to complete his education and earn a high school diploma. W.H.
                  should have an education advocate who can help him work toward enrollment
                  in school with supports.
               b. W.H. needs continued assistance with his legal issues. His defense attorney
                  should participate in his Child and Family Team to understand his history and
                  to represent him adequately in court.
               c. W.H. needs to abide by his probation rules and his grandmother’s rules while
                  he resides with her. A male mentor should engage with him to influence
                  positively his participation in services, and to help W.H. follow his

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           grandmother’s house rules. A peer group could also address his concerns
           about safety in the community.
        d. W.H. needs to pursue an activity that will keep him off the streets and
           involved in something positive; for example: boxing, basketball, football,
           soccer, or working on computers. A pass or admission to a recreational center
           that offers boxing, basketball, and other sports might help him re-engage in
           these activities.
        a. W.H. needs to obtain employment in a setting that does not have many people
           (he is sensitive to overstimulation) in an area of interest - for example: An
           internship with a technical facility to enhance his skills with computers, at a
           gardening facility, or at a recreational center. Additionally, W.H. could use
           his love for guns in a positive way such as a gun instructor at a gun range, as
           stated by W.H.’s mother. A job coach should assist him in gaining
           employment and maintaining employment.
        b. W.H. needs a medical provider to rule out an eating disorder. The medical
           provider should also address food sensitivities and encourage a more
           nutritious diet.
 3. W.H. needs mobile crisis services to help him stay in the community. Before
    engaging in illegal activity, W.H. needs to understand how he can engage mobile
    crisis services to help him stabilize.

        a. W.H.’s Child and Family Team should help him create a safety plan that
           incorporates mobile crisis services and a trusted member of the team.

 4. W.H. needs intensive behavior support services, delivered to him wherever he is
    naturally located. These services should include:

        a. A therapeutic relationship with someone he trusts - likely a male. W.H. needs
           to engage in mental health services and stop absconding.
        b. Individualized therapy to address his trauma and replace negative behaviors
           (anger outbursts, illegal activity, absconding). W.H. needs to understand and
           address the root cause of his anger episodes, which could be a result of
           trauma.
        c. Individualized therapy to mend his strained relationship with his mother, his
           father, and his uncle. He needs to deal with the feelings of abandonment that
           he associates with each relationship.
        d. Family therapy once the therapist providing individual therapy indicates it.
           W.H.’s family members need to mend their relationships and unify their
           responses to W.H.’s needs.
        e. Medication management or other coping mechanisms (like mindfulness) to
           help him calm down. W.H. needs to develop a coping mechanism other than
           using marijuana (unless prescribed) to help him relieve stress.




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D.G.
        D.G. is a 19-year-old Black female who, in my opinion, has a serious emotional
disturbance. D.G. has needed ICBS in the past and has not received them, and she currently
needs ICBS to avoid psychiatric institutionalization.
        To prepare this report, I interviewed D.G.’s mother. D.G. did not agree to an interview.
        D.G.’s mother describes D.G. as creative and artistic. According to D.G.’s mother, she
enjoys listening to music, is attached to her iPhone, and has explored postgraduate options -
including the cinematic arts program at the University of Southern California. D.G. would like
to become an actor, writer, or director. Records indicated that D.G. is well spoken and articulate,
and that she is talented at drawing and singing. In one report, D.G. shared that she has three
wishes: 1) to look better, 2) to have money, and 3) to live alone with her mother.
       D.G.’s mother described D.G. as a happy, smart child who attended daycare and received
good grades (all As and Bs) throughout elementary school. According to her mother, D.G. never
had an IEP or “504 Plan.” She graduated from high school, and is now attending online classes
at Northern Virginia Community College (NOVA). Prior to COVID-19, D.G. worked at a
Denny’s Restaurant. She is not currently working and receives unemployment benefits.
According to her mother, D.G. is enrolled in Medicaid.
         D.G.’s diagnoses include Major Depressive Disorder (recurrent – severe without
psychosis); a history of trauma; suicidal ideations; “uncomplicated bereavement” (I am
unfamiliar with this as a diagnosis); “Educational Maladjustment” (again, I am unfamiliar with
this as a diagnosis); and a possible eating disorder (as listed in a note, but not confirmed as a
diagnosis). D.G. has reported depression, concerns about her relationship with her younger
sister, anxiety about attending school in the past because of bullying, poor sleep, and a
fluctuating appetite. These anxieties have manifested for D.G. as withdrawal, suicidal ideations,
and self-injurious behaviors like cutting.
        D.G. is not currently receiving mental health services. D.G. was hospitalized once at
Children’s National Medical Center for suicidal ideations. She shared with her providers at the
time that she did not feel comfortable communicating with her mother about her ideations,
because she believed it would make her mother too sad. D.G. also participated in CBI services at
Community Connections, but when staff attempted to transition her to a new CBI worker, D.G.
stopped responding. Shortly thereafter, Community Connections discharged her for her lack of
response. D.G. has been prescribed Zoloft and told Community Connections that she took the
medication inconsistently (her mother said she never really took the medication). D.G.’s mother
is currently concerned about D.G.’s eating patterns and extreme weight loss, which she believes
is a replacement for her past cutting behavior; continued self-harming behavior; her obsession
with her phone; and her marijuana use.
       In the first 18 months of D.G.’s life, her mother reports that the family experienced
homelessness, but has had stable housing since that time. D.G. currently lives at home with her
mother and younger sister.
       D.G. has an older brother, a younger sister, and a half-sister. Records reflect that D.G.’s
brother and his girlfriend lived with the family at one point, and D.G. had to shoulder a lot of the

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housework and caretaking for her younger sister while her older family members (including her
mother) worked. She has a history of what her mother referred to as “sibling jealousy,”
especially with her younger sister. D.G. speaks with her half-sister almost daily and they are
very close, according to her mother.
        D.G’s mother is currently separated from her father. According to D.G.’s mother, they
have had an on-and-off relationship for many years. She said D.G.’s father struggles with his
mental health (other records corroborated this, but did not specify his mental health diagnoses)
and that he has been incarcerated in the past. He first appeared in D.G.’s life when she was five
or six years old and would watch D.G. while D.G.’s mother worked. D.G. reported in records
that her father would smoke marijuana and that her parents fought – especially when they had
been drinking. D.G. claimed she did not care about having a relationship with her father because
she is not fond of him.
       D.G. reported in records that her brother has PTSD, Bipolar Disorder, and anger
problems, and that her mother drinks to be happy and is more irritable when she does not drink.
D.G.’s mother said that D.G.’s maternal grandmother used crack cocaine before her death, and
told me that D.G. has experienced a lot of familial loss; her maternal grandmother, her maternal
grandfather, and an uncle are all deceased.
       History of Behavioral Health Services
        According to D.G.’s mother, her pregnancy with D.G. was high-risk due to her own
health complications, but she experienced an uncomplicated delivery. She reports that D.G. met
all development milestones.
        Though D.G. and her family lived (and continue to live) in southeast D.C., her mother
arranged for D.G. to attend elementary school in northeast D.C. D.G.’s mother told me that she
pursued this school because she needed to provide a better academic and social setting for D.G.
to thrive.b D.G.’s mother typically drove D.G. to school across town, though they sometimes
used public transportation. D.G.’s mother also participated in after-school community activities
in northeast D.C. with her children in order to avoid the negative activities within the community
where they lived.
        According to records from Community Connections, when D.G. was eight or nine years
old, she was molested by an uncle who used to reside in the family home on weekends and
shared a room with her brother. D.G. disclosed this information in 2018. At the time, D.G. was
afraid of the dark and typically jumped into bed with her brother when she became frightened.
She reported to her mother that, when she slept in her brother’s room, the uncle touched her
breasts under her shirt on many occasions. According to records, D.G. said her mom pursued
legal charges later, but police told her that the claims were not timely. I saw no evidence of any
legal charges or proceedings in the records I reviewed. When I spoke with D.G.’s mother, she
said that she believes these incidents occurred, but she also indicated that the uncle - who is the
same age as D.G.’s brother, seven years older than D.G. - was also very young at the time.
D.G.’s mother told me she was very confused about how to handle the situation even though she
believed D.G. D.G. reported in the past that she had not seen this uncle since her grandfather’s
funeral in 2017. These incidents are likely an area of unresolved trauma for her.


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        Initially, D.G. attended middle school at Stuart-Hobson Middle School in northeast D.C.
so she could continue with peers from elementary school. However, D.G.’s mother said that
D.G. was often tardy due to the time and distance required to travel to this part of the city.
Because of this tardiness, Stuart-Hobson had D.G. transferred to her neighborhood school, Kelly
Miller Middle School. D.G.’s mother believes this transfer had a negative impact on D.G.
When they transitioned her into a different, unfamiliar environment, her mother said everything
started to go wrong - D.G. was bullied at school, became more reserved, and her grades
worsened. Once staff knew that D.G. was experiencing extreme difficulty adjusting to this new
school environment, Kelly Miller should have made a referral for D.G. to receive therapeutic
services. It does not appear that they made any such referral.
        In 2016, D.G.’s maternal grandfather, a person with whom D.G. was particularly close,
passed away. D.G.’s mother said that around the same time, she noticed D.G. began to cut
herself and left superficial marks on her body.
       In 2017, D.G. began attending Eastern High School in the District. D.G.’s mother said
D.G. lost the drive or motivation to do well early on in high school. D.G.’s mother reported in
records that D.G. was stressed and expressed that school was not important to her. Her grades
continued to drop, she lost friends, and she sat in the library to avoid going to class. D.G.’s
mother thought her avoidance might have been linked to a particular teacher or subject. Of note,
D.G.’s mother and her father separated around this time.
        In 2018, D.G.’s mom said D.G. continued skipping school, hiding from others in her
room, and sleeping a lot. Around this time, D.G. disclosed suicidal threats to her mother. Her
mother said she struggled at times to take the threats seriously. She believed the threats
sometimes came in reaction to instances where she would tell D.G. she could not do something,
or asked her to do something D.G. did not want to do, like chores. A record from this time
indicated that D.G. said her father had returned home and was “trying to be a father,” but she
feared he would leave again.
        On February 2, 2018, Community Connections admitted D.G. Her symptoms at that time
included expressions of sadness, irritability, low motivation, low mood, hopelessness, suicidal
ideations, marking her arms with sharp objects, behavior in and out of school, poor attention, and
fluctuating grades. On February 15, 2018, D.G. informed a counselor at school that she planned
to hurt herself. D.G.’s mother transported her to the hospital at Children’s National Medical
Center (CNMC). CNMC admitted her overnight.
        On February 21, 2018, Community Connections diagnosed D.G. with Major Depressive
Disorder, “educational maladjustment”, and “uncomplicated bereavement.” On February 22,
2018, she participated in an intake at Community Connections. Community Connections
developed a treatment plan, which included CBI, psychiatric services, and CS. The treatment
plan included goals for D.G.’s mother to implement positive parenting strategies, to support
family cohesion, communicate positively and demonstrate a willingness to hear D.G.’s concerns,
identify barriers for school attendance, and implement effective strategies. Community
Connections also developed a safety plan that focused on her triggers, her warning signs, and
ways for D.G. to cope when feeling suicidal. In creating her safety plan, Community
Connections asked D.G. if they should avoid any particular methods when she experienced a
crisis. She responded, “Do not ask me the same questions over and over, and do not have my

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little sister try to help.” The case plan identified her half-sister as someone that should be
included. I thought Community Connections individualized this safety plan to D.G.’s needs and
included her preferences. Her treatment plan was not individualized in the same way.
        From February 2018 through November 2018, D.G.’s mother reported (and records
reflect) that D.G. had a significant, trusting relationship with her Community Connection CBI
worker. Her CBI treatment plan had several objectives: 1) to identify triggers to emotions, 2) to
identify coping skills, 3) to create a safety plan to address suicide and self-harming, 4) to
increase her understanding of depression, 5) to increase positive communication between D.G.
and her mother, 6) to learn effective communication skills, 7) to improve self-awareness, self-
acceptance, and self-esteem, and 8) to reduce isolation behaviors.
       The CBI worker visited D.G. two to three times a week in school, and at least once in her
home environment (according to records). When school was not in session, the CBI worker
engaged with D.G. via telephone, in the community or in the Community Connections office.
She also met frequently with D.G.’s school counselors to discuss D.G.’s attendance and her
grades. The CBI worker made weekly phone calls to D.G.’s mother to share D.G.’s progress and
to encourage engagement and convened at least two family meetings. When I asked D.G.’s
mother about these meetings, she said they were not really “family team meetings,” – instead, the
CBI worker and the CS worker would meet with D.G. and her mother together, and then they
would ask D.G.’s mother to leave to speak with D.G. alone. Based on this report, the meetings
Community Connections convened do not provide the same level of care coordination as a Child
and Family Team meeting.
        In the spring of 2018, D.G.’s self-injurious behaviors increased. She reported that she cut
herself with knives and safety pins almost daily to feel and relieve pain, and at times, to try to
commit suicide. During this time, D.G. began talking more about her appetite - she reported not
feeling hungry and not wanting to eat foods at home because she did not consider them healthy.
She began reporting stomach troubles to her CBI worker, and the CBI worker made a note that
she would continue to assess for an eating disorder.
        According to records, she tried marijuana for the first time in April 2018, but told her
CBI worker that it made her paranoid. She felt like marijuana let her down and did not make her
feel happy like it did for everyone else. Her CBI worker documented D.G.’s report that she had
sexual intercourse with a friend’s boyfriend, and that D.G. believed the relationship was OK
because she and the friend looked alike. To me, this indicates some difficulty with peer
relationships and her perception of herself. That month, Community Connections increased her
Zoloft prescription to 50 mg per day, but notes indicated that she often forgot to take her
medication, especially on weekends. D.G.’s mother told me that D.G. almost never took her
medication.
        While participating in CBI, D.G. had 68 absences at school, failed most classes due to her
poor attendance, and was noted as “at risk” of police involvement for truancy. She was
suspended at one point in the spring of 2018 for not wanting to give up her phone. Her rationale
for keeping the phone was because her safety plan was saved in a note on the phone. Whether or
not this is the actual reason she kept the phone close to her, it is clear that D.G. had a safety plan
she relied upon and that was accessible to her.


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        Based on records and my interview with D.G.’s mother, D.G.’s CBI worker provided
CBI consistently to D.G. for six months. I believe her CBI worker approached underlying issues
with D.G. but did not fully address them. However, she did activate D.G.’s safety plan with
fidelity to the plan. Per records, D.G. often texted the CBI worker about her suicidal ideations.
The CBI worker would promptly contact D.G.’s mother and perform an assessment. When she
was unavailable, she would tell D.G. to contact the “on call” person. Immediately thereafter, the
CBI worker followed up with a letter to the “on call” person that shared D.G.’s safety plan and
indicated how they should handle the crisis should D.G. call.
        Despite some progress, near the end of her CBI treatment, D.G. began refusing pullouts
from her classroom to meet with her CBI worker because she did not want to stop what she was
doing. In my view, D.G. should have received the service outside of school because she needed
to attend her classes.
       When D.G. completed CBI, she disengaged from Community Connections. In
November 2018, D.G.’s treatment plan called for D.G. to meet with a CS worker in the
Community Connections office once or twice per month, but according to records, she never
attended these sessions. Her mother said she felt like she shared her whole life story with her
CBI worker and did not want to start a relationship with someone new. D.G.’s mother said
Community Connections went from “hands on frequently to hands off office visits which just did
not work” for D.G. Community Connections discharged her on March 1, 2019, for lack of
engagement. This failed transition is indicative of a treatment plan that was not individualized to
D.G. and did not take her need for continuity into consideration.
        According to her mother, D.G. graduated from high school in 2020 and is currently
taking community college classes online.
       Findings
        I believe that D.G. has a serious emotional disturbance because she has several mental
health conditions: Major Depressive Disorder, suicidal ideations, and perhaps an eating disorder.
These conditions limit her functioning with her family, at school, and in the community because
of the way her conditions manifest, through low self-esteem, suicidal threats, eating and
fluctuating weight issues, and withdrawal. These behaviors inhibit her ability to achieve or
maintain developmentally appropriate skills like creating and maintaining friendships, eating
nutritionally, engaging in community activities, and caring for her own mental and physical
health. D.G.’s mother said D.G. is very reserved for her age and she struggles with peer
relationships (her mother reports D.G. currently has no friends). She told me that D.G. “acts
naively.” She is not sure that D.G. even wants help.
       I believe that D.G. needed ICBS and has never received any component of ICBS.
        D.G. has not received Intensive Care Coordination (ICC). A Child and Family Team has
not been convened to assist her. I believe she needed ICC and a Child and Family Team to be
fully successful with CBI. D.G. needed a host of people in her life to encourage her at school,
with her self-esteem, and her artistic abilities. A team that met frequently would have provided
regular opportunities for D.G. and her mother to share information that could support them with
modifications to her safety plan and her treatment plan.

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       Instead of a team approach, all the responsibilities for meeting D.G.’s support needs
appeared to rest solely with her CBI worker. When D.G. disengaged from her CBI worker and,
eventually, outpatient therapy with the CS worker, a team meeting should have been held to hear
D.G.’s concerns and identify next steps, and perhaps offer different services in a different setting.
Had the CBI worker received support through a team “wraparound” approach, D.G. might have
been able to continue services with her CBI worker, someone she grew to trust, or she may have
been able to transition successfully to another, less intensive behavior support service. Instead,
when D.G. did not follow through with Community Connection’s offerings in the way they
offered it, the agency discharged her.
        D.G. has not received mobile crisis services. These services would have been very
helpful for her mother when D.G. disclosed threats of suicide. Although Community
Connections referred D.G.’s mother to the District’s Access Hotline for support and provided her
information about Child and Adolescent Mobile Psychiatric Service (ChAMPS), I did not see
that D.G. ever engaged with ChAMPS. D.G. needed an individualized response in her safety
plan, and a trusted resource other than her CBI worker (especially after she completed CBI) to
contact when experiencing suicidal ideations.

        D.G. has not received intensive behavior support services. D.G.’s mother said that
Community Connections’ CBI service helped them, and she wished they could have continued
working with her CBI worker. However, CBI was time-limited and Community Connections did
not use what it learned from providing D.G. CBI to ensure her successful transition to other
therapeutic services. I also believe CBI needed to address her underlying trauma in more depth.
The progress notes written by the Community Connection worker provided more information
about the worker’s approach than D.G.’s response or results of the sessions. I would have
expected more information about D.G.’s response to therapy. Moreover, Community
Connections made no referrals to D.G. upon her discharge, though they offered her an
opportunity to return. In my opinion, Community Connections pushed D.G. out without help
when they should have focused on addressing her past trauma, decreasing her number of suicidal
attempts, clarifying her possible eating disorder, and helping her build social relationships.
       Needs & Recommended Services
       I believe D.G. still has a serious emotional disturbance, for the same reasons as noted
above, and needs ICBS. She is experiencing depression, has threatened suicide frequently, and it
appears that she could possibly have an eating disorder. She needs intensive supports in the
community to avoid psychiatric or crisis institutionalization.
        I believe D.G. needs ICC to assist with her history of suicidal ideation, depression, self-
esteem, marijuana use and weight loss, and to help ensure her success in community college.
D.G.’s mother says that D.G. does not like to talk about her past, so it will be important for her
Child and Family Team to help D.G. create and maintain a therapeutic relationship with a person
D.G. can trust (like her past CBI worker). Several protective factors aid D.G. - most notably, a
strong advocate in her mother, and a half-sister that is like a best friend to her. These positive
supports appear to keep her at least somewhat productive and reasonably safe. I believe that a
Child and Family Team is necessary to ensure that these reinforcements remain in place for
D.G.’s progression towards stability. A Child and Family Team approach will hold D.G.


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accountable and assist with her transition into adulthood, including with support for her artistic
pursuits.
        D.G. continues to need access to mobile crisis services because of her periodic suicidal
ideations and her ongoing depression. D.G. also needs more intensive behavioral therapy to help
her replace inappropriate behaviors with alternative behaviors making use of her strengths, such
as her artistic talents (drawing, acting). It appeared to me that CBI worked well for D.G., and
that D.G. can be successful over time at home, at school, and in the community with a more
intensive level of therapeutic support during her transition into adulthood.
       Once D.G. has received ICBS for a period and D.G. is stable, a step-down plan should
connect her to a community-based mental health agency, for periodic check-ins at a minimum.
D.G. may need to continue to receive therapy for her depression and other conditions. Without
ICBS, D.G. will continue to be at risk, at least intermittently, for hospitalization because of her
continued, frequent suicidal ideations and ongoing depression.
       For D.G., ICBS should include the following:
       1. D.G. needs ICC to convene a Child and Family Team. This team should consist of a
          case manager (likely a mental health case manager), her mother, her father if D.G.
          approves, her half-sister, her CBI worker from Community Connections, her brother
          and her brother’s girlfriend (whom she trusts), an artist, a job coach if identified, a
          medical doctor, therapist or mental health counselor, and perhaps a substance abuse
          counselor. The team should meet at least once a month for updates and check-ins,
          and as needed by D.G.

       2. D.G. needs the Child and Family Team to help D.G. and her family effectively match
          services to her needs within her service plan:

               a. D.G. needs to address her weight loss, while maintaining a healthy, nutritional
                  diet. A medical doctor should assess any sort of eating disorder and address
                  her weight loss.
               b. D.G. needs to mature and become more responsible, according to D.G.’s
                  mother. A life coach should assist her with developmental maturity, and the
                  transition from teenage years to young adulthood.
               c. D.G. needs to utilize her artistic skills to pursue a career in the art field, or to
                  find a way to use her art as a coping mechanism. Her safety plan should
                  incorporate art.
               d. D.G. needs to continue with school to help her achieve her stated goal of
                  becoming an actor, writer, and director. A case manager or coordinator
                  should help her pursue her artistic interests, and schooling needs.
               e. D.G. needs to increase her independence by pursuing employment or an
                  internship. D.G. could benefit from a job coach to help her locate and attain
                  employment or an internship in an artistic field, but likely does not need a job
                  coach to help her maintain employment once secured.
               f. D.G. needs to learn how to budget and/or contribute to a household. A peer
                  group of like peers working together to boost their self-esteem, life skills, and


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                   maturity might be effective for her. A life coach could also teach her these
                   skills.
                g. D.G. should discuss forms of birth control with her medical doctor, should she
                   continue to be sexually active and if she is interested in birth control.
                h. In my view, D.G. needs to continue living at home with her mother until she
                   has reached a higher level of maturity and is no longer making frequent
                   suicidal threats, or has demonstrated that she will consistently follow her
                   safety plan for a period of time. Her mother may need supports to help her
                   understand how to support D.G. as she transitions to adult life, but the Child
                   and Family Team can help assess the family’s needs and develop a service
                   plan to meet those needs.
        3. D.G. needs mobile crisis services to avoid psychiatric hospitalization.

                a. D.G. needs to keep her safety plan with her at all times on an index card, on
                   her phone, or another method that is convenient for her.
                b. D.G. needs to develop the capacity to decide when she should contact a
                   hospital or seek other professional help (including mobile crisis services)
                   when experiencing depression, suicidal ideations, and cutting behaviors.

        4. D.G. needs intensive behavioral services wherever she is naturally located in the
           community. D.G. needs to meet regularly with a psychiatrist and therapist. She
           needs a consistent routine for visiting a psychiatrist and updating her safety plan with
           a therapist. Therapeutic interventions with her therapist and psychiatrist should
           address:

                a. Helping D.G. understand the triggers for her depression and things that make
                   her feel sad, including zero to few friends, her relationship with her father, her
                   inconsistent relationships with her mother and younger sister, and her self-
                   acceptance. These treatments should encourage her to decrease the amount of
                   time she spends on social media and to gain an understanding of the way
                   social media influences her life negatively. According to D.G.’s mother, D.G.
                   believes everything she sees on social media and that the whole world is
                   happy, except for her.
                b. Deciding whether taking medication consistently could help alleviate or
                   manage her depression. D.G. needs to understand the pros and cons of
                   marijuana and its impact on her day-to-day activities.
                c. Helping D.G. to grieve the loss of family members if D.G. has not done so.



D.C.
         D.C. is an 11-year-old Black male who has a serious emotional disturbance, who needs
ICBS and has not received them in the past, and who currently needs ICBS. D.C. has been at
risk of institutionalization in the past and is at risk of institutionalization in the future if current


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protective factors are removed - including his mother’s support and advocacy, a psychiatrist he
meets with consistently, and a supportive school placement with a supportive teacher.

       For my review, I interviewed D.C., D.C.’s mother, D.C.’s favorite teacher, and D.C.’s
former CS worker from Community Connections.

        D.C. has many interests. He enjoys playing video games, listening to music, watching
movies and basketball games, participating in the Black Boys Youth Group at his school, playing
with his baby sister, going on walks with his mother, and learning about animals, especially cats
and parrots. D.C. told me that he likes to play Roblox on his computer. His mother reports that
he enjoys cooking and baking. He also likes to help with household chores and hopes to be a
firefighter someday. His favorite memory is listening to “old school” music with his
grandmother.
       D.C.’s third grade teacher told me that he always attempts to do his work in school,
completes homework on time, is polite, and that his grades are better for subjects he studies in
the morning. He recently finished the fourth grade, is reading at the third-grade level, and is
approaching grade level in math.

        D.C.’s current diagnoses, according to his mother, are Bipolar Disorder, Attention Deficit
Hyperactivity Disorder (ADHD), Disruptive Mood Disorder, and Major Depressive Disorder.
He has had a prior diagnosis of Intermittent Explosive Disorder and has experienced suicidal
ideations. He is currently treated with Oxcarbazepine (Trileptal), Bupropion Hcl XL
(Wellbutrin), and Guanfacine. In the past, D.C. has taken a wide array of medications, including
Vyvanse, Hydroxyzine, Concerta, Risperdal, and Abilify. He has had side effects with some
medications – including, he reported, “funny feelings” in his arms and legs. D.C. was born with
one kidney and currently has cysts growing on his remaining kidney. To treat his kidney
disorder, D.C. follows a modified diet and activity limitations. D.C. often has trouble sleeping
and has difficulty with his diet – according to his mother, he likes to sneak snacks at nighttime.
D.C. is not aware of his diagnoses, but he understands that he is missing a kidney and his kidney
condition requires him to avoid certain activities.
        At a very young age, D.C. was exposed to domestic violence between his biological
parents (who were married and living together at the time), and his father’s alcoholism-related
behavior. In his records, there is a report that D.C.’s father physically abused him. D.C.’s
mother also reports that his father regularly bullied him, and that D.C. expressed feeling afraid of
his father. His mother and father divorced in 2017 when D.C. was seven years old. According
to his mother, they divorced because of the domestic violence. D.C.’s mother first noticed
D.C.’s disruptive, angry, self-injurious, and aggressive tendencies escalate - especially at school
- the same year as the divorce.
        When D.C. was eight years old, he experienced another traumatic event when his
maternal grandmother passed away. D.C. was close with his grandmother, as she lived only a
few houses away and they spent a great deal of time together. That same year, D.C.’s mother
remarried. His mother reports that D.C. did not cope well with his stepfather at first, but their
relationship has since improved. Now, D.C. emulates his stepfather and copies his movements.
D.C. currently lives with his mother, stepfather, younger sister, and older sister. The family has
lived in the same home since D.C.’s birth. The family identifies as Muslim.

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        D.C.’s mother experiences migraines and receives full disability benefits for this
condition. D.C.’s father, as noted above, has a history of alcoholism. One of D.C.’s teachers
told me that D.C.’s father came to school while under the influence of alcohol. The school asked
his father to leave after that incident and not return. His mother reports that his grandmother and
aunt also experienced mental health issues.
       History of Behavioral Health Services

       D.C. was first diagnosed with ADHD as a two-year old in 2012 by the District’s
Department of Behavioral Health. None of the documents that I reviewed nor the interviews
revealed that D.C. received any treatment or services following this diagnosis until 2017. D.C.
attended daycare and pre-kindergarten and, per his mother, had no reported problematic
behaviors or concerning incidents.
        D.C.’s behaviors escalated in 2017 during his first-grade year at Democracy Prep
Congress Heights, a District public charter school, around the time that his parents divorced. His
behaviors at the time were described as choking himself, biting himself, explosive anger, beating
himself, physical aggression toward peers – including punching other students, leaving the
classroom, climbing on roofs, and suicidal ideations. At this time, D.C.’s mother felt that his
aggression was related to the domestic violence he had witnessed in the home. She also noticed
his struggles with math and reading. She sought out behavioral health treatment for D.C.
        In October 2017, First Home Care, another District service provider, evaluated D.C. and
diagnosed him with ADHD and ODD. D.C.’s mother wanted to transfer D.C. to another agency,
so First Home Care discharged D.C. the next month. In March 2018, D.C.’s mother requested an
intake with Community Connections, after learning about the agency from friend.
        Community Connections admitted D.C. in April 2018 and offered him Community
Support (CS) and Community-Based Intervention (CBI). CBI focused on identifying emotions,
coping strategies, and assisting D.C.’s mother with her needs. According to records, Community
Connections met with D.C. consistently at his school, at his home, and in their office, initially
two to three times a week, for visits ranging from fifteen minutes to an hour. These visits
gradually tapered off, partially due to family cancellations. When Community Connections
ended the CBI service after six months, D.C. received only one visit a week from the CS worker.
According to the CS worker, her role was to teach skill development, and that “the next worker
[was] the deeper worker.”
         Community Connections also set the following school-related goals for D.C.: teach him
how to manage his emotions in the classroom, identify barriers to learning, and coordinate
behavior supports with Democracy Prep. Community Connections helped D.C.’s mother
advocate for an IEP at Democracy Prep. I did not review D.C.’s IEP because it was not made
available to me. However, according to Community Connections records, it does not appear that
the IEP led to any improvement in D.C.’s behavior or academics. Community Connections does
not appear to have made progress on the other two goals. Democracy Prep continued to be a
triggering environment for D.C. According to his CS worker at the time, D.C. did not feel like
he had a healthy relationship with anyone at the school. D.C.’s grades were low, and he made
very little academic progress during his second first grade year. He had to repeat the first grade
in the 2017-2018 school year.

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         In February 2018, D.C. was hospitalized at Children’s National Medical Center (CNMC)
after he made a threat of suicide and attempted to harm himself. D.C. stayed overnight at the
hospital for an evaluation. There are no other suicide-related hospitalizations documented in
D.C.’s records. It does not appear that Community Connections focused on D.C.’s suicide threat
as part of their services, although his Community Connections workers assisted D.C. and his
family in his return home following his hospitalization. I did not see any mention of mobile
crisis services referred to or utilized after this hospitalization.
        According to his mother, Community Connections provided ineffective services to D.C.
and she was very dissatisfied. She said his workers mostly played games (card games, board
games, etc.) with him. It appears to me that they used the games to help him identify his
emotions and identify various coping strategies. However, the notes indicated that they did not
spend time working on the root causes of D.C.’s behaviors. The root causes of his behaviors
appear to include the physical abuse he witnessed between his parents, his parents’ divorce, his
grandmother’s death, his relationship with his father, his father’s alcoholism and appearances in
D.C.’s life under the influence, and the trauma he experienced at Democracy Prep. While D.C.
started to use some coping mechanisms to deal with his behaviors and emotions, such as deep
breathing and squeezing his hands, his aggression continued at school and home.
       According to his mother, D.C. met with a psychiatrist only once at Community
Connections, while he was receiving CBI. After that, she said Community Connections did not
have a psychiatrist on staff.
        His mother worked at Democracy Prep as a registrar, and despite her presence at school
and the fact that she was immediately available to respond to D.C., his behaviors persisted. The
school asked her to take him home on several occasions, without a formal suspension. D.C. ran
away from Democracy Prep on several occasions. One time he ran out of the school and climbed
on the roof. He was suspended at least three times for aggressive behavior toward peers. His
mother told me “Democracy Prep dropped the ball and really didn’t do anything.” I agree: based
on the information I reviewed, D.C. continued to act increasingly aggressively at Democracy
Prep, and I did not see that the school changed interventions or facilitated any form of a team
meeting to make informed decisions about D.C.’s needs. D.C.’s mother eventually lost her job at
Democracy Prep, and she believes her dismissal resulted from her continued advocacy for D.C.
       At the end of D.C.’s second year of first grade, his mother pulled him out of Democracy
Prep and enrolled him in Ingenuity Prep, another public charter school. Other parents of children
with behavioral needs and friends of D.C.’s mother had recommended the school to her.

        In June 2018, D.C.’s grandmother passed away. His mother felt that her passing was
really hard on D.C. His grandmother lived approximately five minutes away from the family
and they spent a lot of time together. D.C.’s mother said D.C. did not cry after she passed, and
she believes he has never processed his emotions about her death.
        In fall 2018, D.C. began second grade at Ingenuity Prep, and his behaviors dramatically
improved - he became less aggressive and more engaged in the classroom. His mother told me
that the school offered him an array of services, including time with a social worker and a
therapist. He also received an updated IEP after a comprehensive psychological educational


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evaluation. The evaluation diagnosed D.C. with ADHD and Intermittent Explosive Disorder,
and determined that he had a full scale IQ of 81.

         In October 2018, D.C. reported to staff at Community Connections that his little sister
fell off the bed at home and hit her head. Community Connections filed a report with the District
of Columbia Child and Family Services Agency (CFSA) about the incident. I did not receive
any information from CFSA about this incident and therefore I cannot confirm its occurrence. If
it occurred, it might indicate a lack of supervision at home. Evidently it concerned D.C. enough
to report it. However, other circumstances may have contributed to the incident.
        Despite feeling more supported by staff at Ingenuity Prep, his mother reported
Community Connections was not meeting D.C.’s needs. D.C. still exhibited depressive
symptoms, decreased concentration and memory, continued suicidal gestures and ideation,
decreased sleep, and irritable mood. When D.C. ended his second-grade year in May 2019, his
mother disenrolled him from Community Connections because of her frustration, and requested
an intake from MBI, another service agency in the District. D.C.’s mother learned about MBI
through her network of friends and other parents in the community.
         In D.C.’s third grade year (the 2019-2020 school year), Ingenuity Prep changed his IEP
eligibility category from “Learning Disability” to “Other Health Impairment” and provided him
three hours a week of specialized instruction and thirty minutes a week of behavior supports.
During this year, D.C. shared a special relationship with his third grade teacher. D.C.’s third
grade teacher is a general education teacher with a background in special education, and she used
many different techniques to engage D.C. These included sitting with him at his desk,
developing phrases for D.C. to use when he became frustrated and struggled to find words to
express his feelings, and a technique called “push-pull-lift,” where D.C. could push, pull, or lift a
rubber ball when angered rather than aggressing or destroying property. She also offered him a
packet at the beginning of each day filled with tasks he needed to accomplish that day. D.C.
could pick three tasks from the folder and receive positive reinforcements for completing those
tasks. She recognized his difficulty with communicating when frustrated or angered; if he was
having a particularly hard day, she made a diagram for him to help him explain his feelings.
        According to D.C.’s mother, his teacher “never gave up and that was a positive turning
point for D.C.” Despite making good progress, D.C.’s teacher said that D.C. still exhibited some
behaviors in school, such as showing physical aggression toward others, fidgeting a lot, and
being easily distracted. She also said that before COVID-19, D.C. was on grade level for math,
and made reading progress, but was still a grade level behind.
        Had Community Connections and Democracy Prep identified the triggers and techniques
that D.C.’s teacher identified, they could have helped D.C. communicate when frustrated and
most likely make academic and behavioral progress in the classroom at Democracy Prep.
Moreover, Community Connections or, later, MBI could have learned from D.C.’s teacher to
apply these classroom strategies outside of Ingenuity Prep.
       D.C. completed the fourth grade at Ingenuity Prep virtually due to COVID-19 (his
mother opted not to send him in-person because of his kidney issues and weakened immune
system) and he continued to receive special education services in a general education setting.
D.C.’s third grade teacher regularly checks in with D.C. and his teachers, even though she is no

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longer his teacher. She described him as “relationship-oriented” and indicated that because he
has continued their relationship and has made a relationship with his fourth grade teacher, he
continues to progress at Ingenuity Prep. She and D.C.’s mother both report that his current
teachers have implemented many of the same effective behavior supports and practices. His
mother and D.C. both told me that he is less triggered by attending virtual school and that he
enjoys math.

        According to records from July 2020, MBI diagnosed D.C. with ADHD, “educational
circumstances” (I am not familiar with this diagnosis), and bipolar disorder. MBI’s treatment
plan for D.C. calls for medication management, community support, and individualized
counseling. He is not receiving therapy, nor does he have a community support worker per his
treatment plan recommendations (D.C. was initially assigned to a clinical social worker, but that
individual resigned in 2020 and has not been replaced). However, D.C. currently only meets
weekly with his psychiatrist. His mother thinks that his sessions with his MBI psychiatrist are
effective, as D.C. no longer expresses any suicidal ideation, but believes D.C. needs more. His
mother would like D.C. to receive all of the recommended services in MBI’s treatment plan, as
D.C. still exhibits anger and aggression at home. He continues to curse, have meltdowns,
struggles to listen, and shows aggression toward his siblings.
        D.C.’s mother believes that Ingenuity Prep is the reason D.C. has achieved some stability
in the community, not the outside services he is receiving through MBI. Teachers and staff at
Ingenuity Prep have engaged D.C.’s mother in delivering behavior supports to D.C. His mother
explains that Ingenuity Prep has helped him make academic progress and develop strategies to
deal with his emotions, including by asking for water or to take a walk. In my opinion, Ingenuity
Prep has a good understanding of D.C.’s needs and they are able to meet his educational and
behavioral needs within the school setting. His mother is comfortable with the services they are
offering, and it appears that they have positively influenced at least some of his behaviors at
home. D.C.’s mother’s advocacy for her son in seeking an appropriate educational placement
was a “turning point” (in her words) for her son and for her family. So too, I believe, was his
good fortune in having his third grade teacher, who was able to integrate her knowledge of
special education into her general education classroom. This afforded D.C. the opportunity to
succeed academically and behaviorally.
       I do not believe that any of the behavioral health services D.C. has received have met
D.C.’s needs, despite his mother’s continued advocacy and his progress at Ingenuity Prep.
       Findings
        It is my opinion that D.C. has a serious emotional disturbance because he has several
mental health conditions: Bipolar Disorder, ADHD, Disruptive Mood Disorder, and Major
Depressive Disorder). These conditions substantially limit his functioning at school and in the
community on a continuous basis - as reports from his years at Democracy Prep indicated.
There, D.C. did not make any academic progress, he had to repeat the first grade, he experienced
restraint and seclusion, and he was hospitalized. However, I believe D.C. has thrived and can
thrive with the right resources. For example, his third grade teacher helped him make significant
growth in school after establishing a relationship with him. Without such supports, D.C. is
limited in his ability to achieve or maintain developmentally appropriate skills.


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        I believe that D.C. has needed ICBS because he has experienced trauma in many forms.
His disruptive, aggressive, and self-injurious behaviors appear to have coincided with new
trauma and it appears that he has not reconciled with the domestic violence he experienced, or
his grief. However, D.C. has not received any component of ICBS.
        D.C. has not received Intensive Care Coordination or the support of a Child and Family
Team. Ingenuity Prep used a team approach to routinely share information with D.C.’s mother
and discuss the provision of services within the school. Additionally, his third grade teacher
indicated that she and D.C.’s mother worked closely to discuss D.C.’s needs - including meeting
in the park to share ideas. However, this information does not appear to have been discussed
with his behavioral health providers. Community Connections should have coordinated a Child
and Family Team to benefit D.C. while he was enrolled at Democracy Prep, but it did not.
Community Connections hosted two “family team meetings” in 2018 with only D.C. and his
mother while he received the CBI service. Community Connections communicated with his
mother, but according to D.C.’s mother did not ask her about ideas and techniques that might
work with him. Had a Child and Family Team been convened to develop a plan to implement,
and met regularly to monitor the plan, he likely would have made progress academically and
behaviorally, possibly avoided retention in the first grade, and increased his self-confidence at
home, school, and the community.
        D.C. has not received mobile crisis services. D.C.’s past self-injurious behaviors, and
suicidal ideations that have led to hospitalization identify a need for mobile crisis. I believe that
if mobile crisis services had been available to D.C. while he was with Community Connections,
perhaps they could have offered interventions to prevent his eventual hospitalization at CNMC.
        D.C. has not received intensive behavior support services, in the home or in the
community, to address his trauma or diagnoses, or to provide therapeutic interventions to assist
him with controlling his emotions. There is evidence in the record that Community Connections
and MBI have been effective in teaching D.C. some coping skills to deal with his anger, but there
is no evidence that they have reached below the surface to address meaningfully the underlying
traumas that D.C. has experienced over time. I cannot specifically find in the records where
behavioral health services have addressed the domestic violence D.C. has experienced, his
relationship with his father, his father’s alcoholism, an in-depth grieving process related to his
grandmother’s death (I saw one note indicating that the grieving process was explained to him
when he reported to his CBI worker that his grandmother passed), or his experience with
physical abuse.
         As a result, the frequency of his behaviors increased while he attended Democracy Prep
and he started exhibiting new behaviors. There, D.C. spent significant time outside of the
classroom, which severely impacted his academic performance and led to his retention in the
first grade. While Community Connections provided interventions at school and at home, they
did not reach the level of intensity needed to decrease the behaviors that prevented D.C. from
remaining in class, like his aggression toward peers and anger. Community Connections focused
on identifying surface behaviors and coping strategies to deal with behaviors. His behavior at
school did not improve, nor his academic development until he reached Ingenuity Prep.
        D.C.’s mother also shared that that family was overwhelmed with MBI’s delivery of
virtual services when they provided a therapist and a CS worker to D.C. She said they frequently

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attempted to schedule sessions on the same day, which was too much for the family. The
likelihood of D.C.’s participation in both sessions if his mother felt overwhelmed is minimal - so
too is the likelihood that D.C. would gain helpful insight from multiple sessions in one day.
         Currently, D.C. is only receiving psychiatric services from MBI and, while I have not had
the opportunity to talk to his psychiatrist about her work with D.C., his mother reports that they
have one contact per week. I do not know exactly what his psychiatrist addresses in her sessions
– it is unclear if it involves any type of therapy (he is not otherwise seeing a therapist) or simply
medication management. D.C.’s mother seems satisfied with her interactions and
communications with MBI’s psychiatrist. She is not satisfied, however, with the fact that MBI
has not provided him with a therapist or a CS worker, and that he is not involved in any
community-based services. I believe he needs all of these services in place consistently, and he
would benefit from having a long-term relationship with an identified therapist and CS worker
that does not have to change every six months.
          For these reasons, I do not believe that D.C. has received or is receiving ICBS. He has
received a standard set of services the District appears to provide to meet the needs of children
experiencing behavioral issues, but not individualized therapeutic services, coordinated by a
team, to meet his specific needs or capitalize on his unique strengths. I also believe D.C. has
experienced harm from not receiving ICBS, including his lack of progress at Democracy Prep,
the trauma he likely experienced there, and his hospitalization at CNMC.
        D.C. has been at risk of institutionalization, when he attended Democracy Prep, when his
self-injurious and suicidal behaviors resulted in hospitalization, and when his disruptive and
aggressive behaviors resulted in school disciplinary incidents.
       Needs & Recommended Services
        D.C. needs ICBS to ensure his stability in the community. Though he is currently stable,
his past behaviors could easily return if he does not receive supports to help him understand the
root causes of his aggressive behaviors or his behavioral responses to triggers.
        D.C. needs coordinated care with a Child and Family Team approach to ensure that his
protective factors – his mother, his teachers at Ingenuity Prep, and his psychiatrist at MBI –
remain in place while other services are added, and while he continues to grow academically
with a likelihood of grade-level performance. A Child and Family Team is needed to help him
participate in community activities and to provide support to his mother and family, so they are
better equipped to consistently respond to D.C.’s needs in any setting. Should D.C.’s aggressive,
self-injurious, or suicidal behaviors begin to escalate, or his grades begin to drop, this team
would be available to immediately make modifications in his service plan and utilize D.C.’s
strengths to ensure growth. Because of D.C.’s continued suicidal ideations, D.C.’s mother and
team members should receive training on how to engage with mobile crisis services.
       D.C. also needs to receive intensive behavior support services at home and at school to
develop a variety of coping strategies that are functional and that he can use effectively
throughout his life. D.C. also needs to understand how his responses can impact his
development.



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       I do not believe D.C. is currently at risk of institutionalization because of his current
progress with virtual school, his mother’s continued support, and his psychiatrist at MBI.
However, D.C. could easily be at risk of institutionalization in the future should certain variables
change - like removal from his school setting or a change in his psychiatrist. To prevent him
from being at risk of institutionalization in the future, D.C. needs ICBS.
       For D.C., ICBS should include the following:
   1. D.C. needs ICC to convene a Child and Family Team approach. He needs a point person
      to coordinate his services and facilitate team meetings to develop and coordinate his
      service plan, and to continually educate his mother about available services within the
      community. His team should include D.C.; D.C.’s psychiatrist; a therapist; a community
      support worker; his mother; D.C.’s stepfather; his third grade teacher; his uncle who is
      involved with his family; his current special education teacher or a special education
      coordinator at Ingenuity Prep; Ingenuity Prep’s social worker; the leader of the Black
      Boys Group; a firefighter (if possible, because of his interest in being a firefighter, but
      any other mentor would suffice); and a medical provider for his kidney disorder.
      Initially, D.C.’s support team would be most effective if they met at least once every two
      weeks to set and analyze progress toward specific behavioral goals. The team should
      evaluate his strengths and needs and design interventions that use his strengths to meet
      his needs. Later the team can meet once a month, as D.C. accomplishes his goals.

   2. The ICC team should help D.C. and his family coordinate these services into his service
      plan:

           a. D.C. needs to be engaged socially with peers, and his family could benefit from
              interactions with a community of individuals who have experience with D.C.’s
              medical diagnoses (e.g., other parents, families). D.C. should participate in a peer
              group of children D.C.’s age who have the same medical diagnoses, with whom
              he could be involved in activities or attend group meetings. D.C. could possibly
              benefit from participating in a program like Al-Anon - for the children and
              families of persons dealing with alcoholism.
           b. If it exists, D.C. would benefit from a father and son group that meets periodically
              in the community, as an adjunct to individual therapy. This would be secondary
              to the specific therapeutic services for D.C. and his father.
           c. D.C.’s mother could use assistance navigating services and supports for D.C., in
              addition to learning about how to best support D.C. at home. She (and D.C.’s
              stepfather), should engage with a group that supports parents of children who
              share similar experiences.
           d. D.C.’s Multi-cystic kidney disease requires him to be on a specific diet and limits
              his physical interactions and activities, especially during COVID-19. He needs to
              maintain this diet and limited interaction during the pandemic per medical advice.
              The Child and Family Team should coordinate these services with his medical
              doctor.
           e. His behavioral health service provider should coordinate with Ingenuity Prep to
              address his behavioral needs within the school setting, including by updating his
              IEP and developing a BIP if one does not already exist.

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       f. D.C. told me that he needs more help with math. Ingenuity Prep should include
          additional supports in his IEP that address deficits in math.
       g. D.C. likes to learn (and share) facts and would benefit from community-based
          services that encourage his interest in remembering facts, such as visits to
          museums. D.C. also wants to become a firefighter and needs community services
          to encourage his interest in this area, for example by engaging him in volunteer
          opportunities and visits with the fire department.
       h. D.C.’s biological father should receive treatment for his alcoholism, as indicated.
          I believe that if D.C.’s father is healthy, he will be in a better position to establish
          a relationship with D.C., and avoid placing D.C. in situations that could further
          impair any progress toward building a positive relationship.
       i. D.C.’s mother should receive an assessment to determine if she wants and/or
          needs specific therapies to help her address the domestic violence she has
          experienced in the past. I believe this will help D.C.’s mother avoid future
          relationships that involve domestic violence and prevent D.C. from witnessing
          these interactions in the future and/or placing him at risk of domestic violence.
       j. With D.C.’s mother’s approval, a behavioral health agency should assess D.C.’s
          siblings to determine if they have any indicated needs for services. I believe a
          mentally happy, healthy family increases D.C.’s likelihood of progressing, and
          adds to the protective factors that ensure his continued success in the community.

3. D.C. needs mobile crisis services because of his past hospitalization for suicidal ideation
   and self-injurious behaviors.

       a. D.C. and his mother need to be able to identify the triggers that occur prior to his
          suicidal thoughts and self-injurious behaviors and know that therapy focused on
          dealing with his trauma can re-surface these behaviors. Both D.C. and his mother
          need to know who they can call on for help 24 hours a day, seven days a week.

4. D.C. needs intensive behavior support services ideally in the home (perhaps virtually due
   to COVID-19), which should include:

       a. Specific therapeutic services for D.C. and his biological father to address their
          relationship. D.C. needs to resolve his issues related to the physical abuse he
          experienced from his father, his fear of his father, and perhaps work toward
          mending his relationship with his father. D.C. also needs to deal with his father’s
          alcoholism and the impact it has had on his life.
       b. Individual therapy (that could lead to family therapy) that addresses the domestic
          violence between his mother and father, and his feelings associated with their
          divorce. D.C. needs to understand his feelings associated with witnessing
          domestic violence between his mother and father, and his feelings associated with
          their divorce.
       c. A grief assessment for D.C., and grief counseling as indicated in the assessment.
          D.C. needs to grieve his grandmother’s death and his fond memories of his
          grandmother – including his favorite memory.



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           d. A specific medication regime that helps to control his behaviors, helps him focus
              in the classroom, and does not cause him to experience “funny feelings.”
           e. Interventions to help D.C. use coping strategies that are functional and that can be
              used effectively as he ages (i.e., strategies that do not include walking away;
              coping strategies that allow him to remain in the environment and be successful).
              D.C. needs to identify numerous strategies to use when he becomes angry and/or
              experiencing suicidal thoughts, and to understand the root causes of his behaviors
              – including death, grief, and trauma.


X.L.
        X.L. is a 20-year-old Black male. Despite multiple outreaches and attempts to various
providers and agencies, Plaintiffs’ counsel did not obtain any records for X.L. All of the
information in this section is per X.L.’s report in an interview I conducted with him. For this
reason, I cannot provide an opinion on whether X.L. needs ICBS, but I believe it is likely X.L.
has a serious emotional disturbance. X.L. is currently incarcerated, but if he were not, I believe
X.L. would be a danger to himself or others.
       To prepare this report, I interviewed X.L. in a District detention facility using video
conferencing software.
        X.L. enjoys singing, rapping, and dancing. He played sports including football,
basketball, and skateboarding, and likes to play video games. His favorite things are “getting
money” and “getting fly.” He said he can make a variety of shapes using metal paper clips and
knives, and because of this, he expressed some interest in welding. However, his primary career
ambition is to become a rapper. In our interview, X.L. described rap songs he has written. He
performed one rap for me, “Pick Up a Book.” Of note, the rap contained the following lyrics: “I
can use my gun or a pistol.” “I can read or die.” “I can learn or get killed.” When I asked him if
he would practice what he rapped about in the song, he told me that he would do both – read and
kill with a pistol, when necessary.
        I do not know X.L.’s diagnoses.
        X.L. is the oldest of five brothers. X.L. worries about his younger siblings and wants to
protect them. He said he wants a lot of money so he can take care of them. He also has half-
brothers and half-sisters. X.L. reported his father worked as a D.C. Metro driver and had many
children that X.L. does not know. One of X.L.’s biggest fears is that he could date or become
involved with a sibling without realizing it. X.L. denies that his father’s absence hurt him and
says he is not sad that he does not have a relationship with him.
       According to X.L., he lived with his mother and father in Maryland for some time and
attended school in Silver Spring, Maryland. He finished eleventh grade at H.D. Woodson High
School in the District, passing with a “C” average. X.L. told me that he has one year left in his
schooling before he can graduate from high school, but that the jail will not provide him with any
schooling because he does not have an IEP. He told me that he enjoyed science in school.



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       History of Behavioral Health Services
       X.L. told me that he started “getting into trouble” when he was around 13 or 14 years old.
He said that he had to be aggressive to survive in the streets. He described himself as a skinny
kid with red hair and said he used to “get whippings” for not doing what he was supposed to do
at home. X.L. shared that he was incarcerated for a while, eventually moved to foster care, and
was placed in a group home. By August 2019, X.L. lived at home with his mother. At that time,
he was arrested for possession of a gun. X.L. said he was really bothered when “they took away
my rights to carry a gun.”
        X.L. said he was recently sentenced for 59 months on burglary charges. He explained
that he tried to sell guns to keep his brothers safe. He talked at length about white supremacy
and being brainwashed by white people in jail, and that he will pretend to be brainwashed so that
he can escape the system. When I asked him why he fell for the “trap” he described, he said he
only “got smart” while incarcerated, and that he did not read books before jail. He said that he
has read many books while incarcerated, including books about the law of attraction, the law of
seduction, psychological power, U.S. secrets, and chemical warfare. X.L. reported that he is also
exercising a lot in jail.
        X.L. told me that prior to his incarceration, he smoked a lot of marijuana, did pure forms
of the drug “ecstasy,” or MDMA, sometimes mixed with methamphetamine. X.L. said that his
mother tried to get him mental health services, but he did not want to engage. He said he used to
take Adderall and Ritalin and the medication helped him to focus, but also made him feel sad.
He says the jail currently tries to give him medication, but he refuses. He said he is not currently
receiving other mental health services.
       Findings; Needs & Recommended Services
        During our interview, X.L. mostly provided information and answers to the questions I
asked, but he seemed to enjoy ranting and raving. I had to continuously redirect him to calm
down and to respond to the specific questions. When asked about his needs, he said that he
“needs some pussy, needs studio time, needs money.” He also said he might need mental health
services, including a therapist, but only if the therapist is a female who “he can love on” and who
is “nice to look at, like her” (and pointed to another participant on our video call).
        My overall impression is that X.L. likely has a serious emotional disturbance. I also
believe that if X.L. were in the community and in the same emotional state, I would perceive him
as a danger to himself and others. I believe a psychologist should review his history and provide
a diagnostic impression. Without clinical records to review, I am unable to opine on whether
X.L. needs ICBS or is at risk of future institutionalization.




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V.     Findings and Conclusions
         Most of the families I interviewed seemed completely alone in their efforts to access and
navigate the District’s mental health services. I did not see the District take any approach,
consistent or otherwise, to link families to community health providers, or to provide information
about the expertise of different providers to help families make decisions that matched their
needs. This was the case even where the child or youth’s record clearly indicated that they had a
serious emotional disturbance and needed more intensive support. I did not see the District offer
the intensive community-based services that I believe are necessary for each of the youth whose
cases I reviewed. As a result, the youth tended to cycle among providers, and often among
institutional settings (including carceral settings).
       To better support youth and their families (and their service providers), the District
should offer Intensive Care Coordination (ICC). None of the youth I reviewed received ICC.
ICC includes a Child and Family Team approach that includes natural supports - family members
and others in the community who know and can support the child and family - as well as other
team members who are knowledgeable about each child’s history and family environment. Even
where youth connected successfully with a community agency and saw some benefit from
services, I saw minimal notes reflecting family member engagement (apart from D.G.’s mother
during D.G.’s CBI treatment). Agencies must engage with family members on a regular basis to
deal with the child’s and family’s individualized needs, and help families adjust approaches over
time. These teams should meet as often as needed to engage with youth meaningfully and ensure
continuity of services.
         Regarding crisis services and crisis management, I saw only one instance of an effective
crisis plan in the five sets of records I reviewed, D.G.’s CBI crisis plan. This was also the only
case in which I saw a crisis plan actually used. Still, there was no mention of mobile crisis
supports in D.G.’s plan or in any of the records of the other youth. I understand that the District
offers a mobile crisis service for youth, the ChAMPS program, but none of the youth whose
cases I reviewed engaged with this service. The District must make parents and school staff
more aware of this service, so that it is more accessible to those youth who need it most.
        In most of the cases I reviewed, the youth received CBI, CS, or some other periodic
therapeutic group support. Likewise, most of the youth I reviewed were involved in special
education and had an IEP (some after years of struggle with the school). However, in every case
I reviewed, service providers did not provide the level of individualized support that these youth
needed with any sort of continuity. The District’s services should focus more attention on the
home and community and be geared toward capitalizing on the specific strengths of youth to
address traumas that affect their behavior; identify triggers for concerning behavior; and to
replace disruptive, aggressive, self-injurious, and other negative behaviors with more
constructive behaviors.
       Moreover, most of the youth I reviewed experienced service interruptions due to support
worker transition and turnover. Every family member I spoke with mentioned staff turnover as a
major area of concern. I understand that the District offers CBI in a time-limited duration. Yet,
the youth that I reviewed who completed CBI did not “graduate” to less intensive services. They
were discharged by their providers shortly after the CBI concluded, usually for “lack of
engagement.” The District’s core agencies must provide youth with a more seamless transition

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                                    APPENDIX A

                                 Narell C. Joyner
                   6509 Robin Hollow Drive, Charlotte, NC 28227
           (704) 545-5006 (home); (704)-953-0271 (cell); stephnar@aol.com

                                    HIGHLIGHTS

40 years of professional experience in youth mental health services planning and
delivery, including crafting education and behavior plans, coordinating care across
multiple state agencies, and planning for transition to employment.

Acted as consultant to human services agencies and service providers in at least seven
states and the District of Columbia.

                          PROFESSIONAL EXPERIENCE

Consultant, Child Welfare Policy and Practice Group. Present.

State Liaison/ System of Care Consultant, MeckCares System of Care. 2005–2012.
Collaborate with other state officials regarding system of care implementation efforts
within North Carolina. Develop and provide training to assist staff in the development of
individualized plans for youth aged 8-18 who were involved with mental health, social
services and special education.

Director, Scholars, Inc. 1998–2005.
Directed residential services for children with severe mental health needs. Monitored the
development and implementation of individualized service plans.

Regional Willie M. Program Manager, N.C. Division of Mental Health, Developmental
Disability, and Substance Abuse Services. 1992–1998.
Managed the compliance efforts to meet the dictates of the Willie M. class action lawsuit
on behalf of children with assaultive behaviors in a fifteen-county region. Identification
of systemic and clinical issues within local mental health programs, including impact
upon individual consumers. Program analysis and monitoring of total services and budget
utilization. Training and technical assistance to enhance service design.

Case Management Coordinator, Specialized Youth Services. 1988–1992.
Monitored the development, coordination and evaluation of a comprehensive continuum
of care for children aged 5-18 who had mental health needs, including assessment, case
management and outpatient and inpatient services.

Vocational Director, Project T.E.A.C.C.H. 1988–1997.
Completed grant proposal and received funding to establish a vocational component for
autistic adolescents.

Psychoeducational Therapist, Project T.E.A.C.C.H. 1984–1987.
Administered and interpreted psychological testing to children with autism and/or
communication impairments. Conducted treatment sessions with autistic children,
adolescents, adults and their families. Acted as consultant to Mental Health agencies and
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Special Education classes within fourteen counties. Provided training in the areas of
autism, behavior management and assessment.

Division Director, Murdoch Center. 1982–1984.
Monitored the development, implementation and evaluation of comprehensive treatment
plans for children and adults with developmental disabilities. Provided professional
guidance and supervision for eighty staff, including psychologist, Occupational
Therapists, Physical Therapists, Speech Therapists, Special Education Teachers,
Dietician, Unit Manager and Health Care Technicians.

Psychoeducational Therapist, Project T.E.A.C.C.H. 1978–1982.
Administered and interpreted psychological testing to children with autism and/or
communication impairments. Conducted treatment sessions with autistic children,
adolescents, adults and their families. Acted as consultant to Mental Health agencies and
Special Education classes within fourteen counties. Provided training in the areas of
autism, behavior management and assessment.

Unit Manager, Murdoch Center. 1977–1978.
Coordinated services with supportive staff to develop and implement individualized
service plans for adults with developmental disabilities. Supervised thirty-one employees.

Educational Specialist, Murdoch Center. June–October 1977.
Developed individualized lesson plans for students (children and adults) with
developmental disabilities within the residential facility and provided educational classes
daily. Acted as resource for direct line staff to assist them in goal planning, data
collection and development of behavior plans.

Health Care Technician, Murdoch Center. 1976–1977.
Therapist for an intense research program regarding the utilization of time-out procedures
for children who exhibited self-injurious and aggressive behaviors.

                                      EDUCATION

B.A., Psychology: May, 1976, Winston Salem State University, Winston Salem, NC.

Master’s work, Special Education: 1982-1984, University of North Carolina, Chapel
Hill, NC.

                                  CONSULTATIONS


Department of Social Services, Pensacola, FL. 2011.
Trained and coached caseworkers and supervisors re: the development and
implementation of individualized plans for children with mental health needs, including
crisis planning.
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Foundations, Washington, D.C. 2009–2011.
Trained and coached caseworkers and supervisors on the development and
implementation of individualized plans for children with mental health needs, including
crisis planning.

Department of Youth and Family Services, New Jersey. 2009–2011.
Trained and coached caseworkers and supervisors on the development and
implementation of individualized plans for children with mental health needs, including
crisis planning.

Durham Mental Health, Durham, N.C. 2008.
Provided training to public agency on implementation of system of care for children with
mental health needs, including wraparound and crisis planning.

Arizona Behavioral Health, Phoenix, AZ. 2003–2007.
Trained and coached clinicians and health care professionals in the development of
individualized services plans and provision of home-based services to children and youth
in need of mental health or substance abuse services, pursuant to the consent decree in
J.K. v Eden.

New Directions Hull House, Chicago, IL. 1997–1998.
Trained and coached case workers, social workers, and other staff on best practices for
serving children and families with mental health needs.

F.R.I.E.N.D.S., Brooklyn, NY. 1996–1997.
Trained and coached case workers on planning and providing wraparound services to
children with mental health needs and/or developmental disabilities.

Department of Human Resources, Alabama. 1991–1996.
Guided Department of Children’s Services, a subagency of DHR, in its overhaul of its
system of care for DHR-involved children as required by R.C. v. Hornsby consent decree,
including reform of statewide policies and county practices. This landmark consent
decree established many of the basic principles of child and family mental health services
delivery that are currently accepted as standard practice.

Autistic Group Homes, Greensboro, NC. c. 1989–1991.
Provided training and guidance on the development of behavior management and
vocational plans.

Johnston YMCA, Charlotte, NC. 1988–1990.
Developed behavior management plans with families and recreational staff to allow
participation by adults with developmental disabilities in YMCA’s recreational programs.

Slice of Life Bakery. Charlotte, NC 1989–1991.
Provided consultation services to a nonprofit bakery on how to encourage employment
opportunities for autistic and developmentally disabled adults.
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                               EXPERT TESTIMONY

K.B. Litigation, Boston, MA.
Conducted record reviews, interviews, observations and provided expert testimony for
plaintiffs in class action litigation.
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                                        APPENDIX B
                                List of Documents Reviewed
Name   Beg. Bates   End Bates    Agency, Provider, School      Doc. Type                  Date
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   DCPS Assessment Scores     3/11/2021
       00039912     00039912     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Enrollment History         3/11/2021
       00039913     00039913     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2015
       00039914     00039914     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2015
       00039915     00039915     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2016
       00039916     00039916     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2019
       00039917     00039917     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2020
       00039918     00039918     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Attendance Record          2021
       00039919     00039919     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   School Assessment          3/11/2021
       00039920     00039920     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Enrollment History         3/11/2021
       00039921     00039921     Special Education
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   04/07/2017
       00039922     00039942     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   09/26/2014
       00039943     00039957     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   05/24/2011
       00039958     00039969     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   10/11/2019
       00039970     00039991     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   12/21/2009
       00039992     00039992     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Individualized Education   12/21/2009
       00039993     00040013     Special Education             Program
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Cover Sheet for            10/28/2009
       00040014     00040014     Special Education             Dedicated Aid Request
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Supporting                 04/29/2016
       00040015     00040015     Special Education             Documentation Cover
                                                               Sheet
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     10/05/2010
       00040016     00040016     Special Education             Form
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     07/02/2012
       00040017     00040018     Special Education             Form
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     11/04/2009
       00040019     00040019     Special Education             Form
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     07/05/2011
       00040020     00040021     Special Education             Form
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     08/24/2011
       00040022     00040023     Special Education             Form
M.B.   MJ-PL-       MJ-PL-       DC Public Schools Office of   Student Transportation     04/04/2011
       00040024     00040025     Special Education             Form

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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Transportation     04/04/2011
       00040026   00040027   Special Education             Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Transportation     05/24/2011
       00040028   00040028   Special Education             Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Transportation     07/01/2013
       00040029   00040029   Special Education             Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Transportation     08/27/2012
       00040030   00040031   Special Education             Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Transportation     04/04/2011
       00040032   00040032   Special Education             Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Speech and Language Re-    01/12/2009
       00040033   00040037   Special Education             Evaluation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Evaluation Cover Sheet     01/13/2009
       00040038   00040038   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Confidential Report of     01/10/2008
       00040039   00040052   Special Education             Psychological Evaluation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Placement Review           Undated
       00040053   00040053   Special Education             Summary Document
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Placement Review           Undated
       00040054   00040054   Special Education             Summary Document
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes             05/17/2016
       00040055   00040055   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            05/04/2016
       00040056   00040056   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            04/09/2013
       00040057   00040057   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            05/04/2016
       00040058   00040058   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes             05/17/2016
       00040059   00040059   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            06/11/2013
       00040060   00040060   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            10/12/2012
       00040061   00040061   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes             10/12/2012
       00040062   00040062   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            01/14/2009
       00040063   00040063   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet            01/28/2009
       00040064   00040064   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            06/19/2014
       00040065   00040065   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            07/30/2015
       00040066   00040066   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            03/10/2015
       00040067   00040067   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            05/17/2016
       00040068   00040068   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            12/19/2014
       00040069   00040069   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            05/22/2015
       00040070   00040071   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            10/15/2013
       00040072   00040072   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/16/2008
       00040073   00040073   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/14/2009
       00040074   00040074   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet   01/14/2009
       00040075   00040075   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/07/2019
       00040076   00040076   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/14/2009
       00040077   00040077   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/05/2012
       00040078   00040078   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    10/05/2012
       00040079   00040079   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/23/2015
       00040080   00040081   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    03/26/2013
       00040082   00040082   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/26/2013
       00040083   00040083   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/14/2016
       00040084   00040084   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/02/2016
       00040085   00040085   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/28/2016
       00040086   00040086   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/29/2015
       00040087   00040087   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/09/2016
       00040088   00040088   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/29/2015
       00040089   00040089   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/11/2018
       00040090   00040090   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/26/2015
       00040091   00040092   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/11/2018
       00040093   00040093   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/30/2015
       00040094   00040095   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/04/2016
       00040096   00040096   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet   05/17/2016
       00040097   00040097   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/11/2018
       00040098   00040098   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/07/2016
       00040099   00040099   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/14/2015
       00040100   00040100   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/24/2019
       00040101   00040101   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/02/2020
       00040102   00040102   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    11/27/2019
       00040103   00040103   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    06/16/2016
       00040104   00040104   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    10/23/2019
       00040105   00040105   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    02/18/2016
       00040106   00040107   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/09/2019
       00040108   00040108   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    06/04/2014
       00040109   00040109   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    07/31/2014
       00040110   00040110   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    07/31/2014
       00040111   00040111   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    11/06/2018
       00040112   00040112   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    06/17/2015
       00040113   00040114   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    07/31/2014
       00040115   00040115   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/03/2013
       00040116   00040116   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    04/30/2013
       00040117   00040117   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/31/2019
       00040118   00040118   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    01/05/2015
       00040119   00040119   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/31/2019
       00040120   00040120   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    09/16/2015
       00040121   00040121   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    03/23/2016
       00040122   00040122   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    07/24/2013
       00040123   00040123   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    02/04/2010
       00040124   00040124   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker,   02/04/2010
       00040125   00040125   Special Education             continued
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    07/24/2013
       00040126   00040126   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/28/2015
       00040127   00040128   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    01/21/2020
       00040129   00040129   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    11/02/2012
       00040130   00040131   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    04/08/2019
       00040132   00040132   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker    05/26/2016
       00040133   00040133   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/30/2020
       00040134   00040134   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/01/2015
       00040135   00040136   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/30/2020
       00040137   00040137   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/30/2020
       00040138   00040138   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/19/2012
       00040139   00040160   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/09/2019
       00040161   00040161   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/26/2013
       00040162   00040162   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/04/2013
       00040163   00040163   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/02/2014
       00040164   00040164   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/22/2014
       00040165   00040165   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/03/2014
       00040166   00040166   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/22/2011
       00040167   00040167   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/15/2011
       00040168   00040168   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/22/2013
       00040169   00040169   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/22/2013
       00040170   00040170   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    10/18/2012
       00040171   00040171   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/17/2012
       00040172   00040172   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/12/2019
       00040173   00040173   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    02/10/2014
       00040174   00040174   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/10/2014
       00040175   00040175   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/06/2016
       00040176   00040176   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet   02/28/2013
       00040177   00040177   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/21/2019
       00040178   00040178   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/15/2014
       00040179   00040179   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet   12/18/2013
       00040180   00040180   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/18/2013
       00040181   00040181   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   08/28/2009
       00040182   00040182   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   08/28/2009
       00040183   00040183   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/15/2013
       00040184   00040186   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/15/2014
       00040187   00040187   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/30/2020
       00040188   00040188   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    05/20/2014
       00040189   00040189   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/20/2014
       00040190   00040190   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/22/2013
       00040191   00040192   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/28/2020
       00040193   00040193   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/19/2018
       00040194   00040194   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   07/18/2019
       00040195   00040197   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/19/2018
       00040198   00040198   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/29/2019
       00040199   00040199   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/22/2013
       00040200   00040200   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    11/22/2013
       00040201   00040201   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/11/2019
       00040202   00040202   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/30/2020
       00040203   00040203   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/30/2020
       00040204   00040204   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/03/2019
       00040205   00040205   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/20/2019
       00040206   00040206   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/03/2019
       00040207   00040207   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/17/2014
       00040208   00040208   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/17/2014
       00040209   00040209   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/03/2019
       00040210   00040210   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/30/2019
       00040211   00040211   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/11/2019
       00040212   00040212   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/11/2019
       00040213   00040213   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/11/2019
       00040214   00040214   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/06/2013
       00040215   00040215   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/06/2013
       00040216   00040216   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/07/2016
       00040217   00040217   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/06/2019
       00040218   00040218   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/26/2016
       00040219   00040219   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/11/2016
       00040220   00040220   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/21/2015
       00040221   00040221   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/17/2016
       00040222   00040222   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/23/2013
       00040223   00040223   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/23/2013
       00040224   00040224   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/21/2013
       00040225   00040225   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/21/2013
       00040226   00040226   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/16/2014
       00040227   00040227   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/01/2019
       00040228   00040228   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/22/2014
       00040229   00040229   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/02/2018
       00040230   00040230   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/21/2014
       00040231   00040231   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/22/16
       00040232   00040232   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet   06/22/2016
       00040233   00040233   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/21/2014
       00040234   00040234   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/21/2014
       00040235   00040235   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/21/2014
       00040236   00040236   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/21/2014
       00040237   00040237   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   10/24/2019
       00040238   00040238   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    06/21/2016
       00040239   00040239   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/21/2016
       00040240   00040240   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/28/2013
       00040241   00040241   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Progress Notes              05/28/2013
       00040242   00040242   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             06/20/2013
       00040243   00040244   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             06/20/2013
       00040245   00040247   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             02/02/2015
       00040248   00040249   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             03/17/2019
       00040250   00040250   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             03/17/2019
       00040251   00040252   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             05/15/2014
       00040253   00040254   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             01/29/2015
       00040255   00040256   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             05/26/2015
       00040257   00040259   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             05/26/2015
       00040260   00040261   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             11/06/2019
       00040262   00040262   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Proposed Areas of           Undated
       00040263   00040264   Special Education                    Concern
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   04/13/11
       00040265   00040265   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   10/19/2011
       00040266   00040267   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   08/26/2011
       00040268   00040268   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   10/24/2012
       00040269   00040269   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   10/23/2012
       00040270   00040270   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   03/24/2017
       00040271   00040271   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a   03/24/2017
       00040272   00040272   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Prior Written Notice -      05/27/2011
       00040273   00040274   Special Education                    Identification
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Welcome to the 2012-        10/10/2012
       00040275   00040275   Special Education                    2013 School Year
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            Student Intervention        11/11/2014
       00040276   00040280                                        Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            Student Intervention        03/13/2015
       00040281   00040283                                        Report
M.B.   MJ-PL-     MJ-PL-     The Pathways Schools                 Interim Progress Report     12/14/2015
       00040284   00040285
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   Latch Key Student           03/10/2016
       00040286   00040286   of Education                         Release Statement
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Miscelaneous Cover          02/14/2018
       00040287   00040287   Special Education                    Sheet
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            Student Intervention        09/23/2014
       00040288   00040290                                        Report


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M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      10/02/2014
       00040291   00040295                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      10/16/2014
       00040296   00040310                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      10/24/2014
       00040311   00040315                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      12/01/2014
       00040316   00040325                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      12/04/2014
       00040326   00040330                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      12/23/2014
       00040331   00040335                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      01/30/2015
       00040336   00040339                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Student Intervention      02/23/2015
       00040340   00040342                                 Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       03/12/2020
       00040343   00040343   Special Education             Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Speech Therapy            09/24/2015
       00040344   00040344   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Miscellaneous Cover       08/04/2009
       00040345   00040345                                 Sheet
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Accumulative Attendance   06/24/2011
       00040346   00040347                                 2010-2011
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       10/08/2019
       00040348   00040348   Special Education             Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       11/11/2015
       00040349   00040349   Special Education             Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       02/10/2016
       00040350   00040350   Special Education             Sheet
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Teacher's Evaluation of   03/19/2012
       00040351   00040351                                 Performance
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Teacher's Evaluation of   04/26/2011
       00040352   00040353                                 Performance
M.B.   MJ-PL-     MJ-PL-     The Foundation School         IEP Team Meeting Sign     03/27/2017
       00040354   00040354                                 in Sheet
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     Teacher's Evaluation of   08/04/2009
       00040355   00040367                                 Performance
M.B.   MJ-PL-     MJ-PL-     The Pathways Schools          Progress Report - 1st     10/01/2015
       00040368   00040369                                 Quarter Mid term
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc     IEP Eligibility Meeting   05/24/2011
       00040370   00040373                                 Notes
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       03/10/2018
       00040374   00040374   Special Education             Sheet
M.B.   MJ-PL-     MJ-PL-     The Foundation School         IEP Team Meeting Sign     04/27/2017
       00040375   00040375                                 in Sheet
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Reminder IEP Scheduled    03/20/2017
       00040376   00040376
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of Updated IEP &   04/03/2017
       00040377   00040377                                 PWN
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Notice of Unexcused       04/29/2013
       00040378   00040378   Special Education             Absences
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Miscellaneous Cover       06/18/2013
       00040379   00040379   Special Education             Sheet


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M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            IEP Meeting Notes            10/03/2013
       00040380   00040385
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Miscellaneous Cover          10/03/2013
       00040386   00040386   Special Education                    Sheet
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            IEP Meeting Notes            11/08/2012
       00040387   00040393
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   Notice of Procedural         11/09/2012
       00040394   00040394   of Education                         Safeguards
M.B.   MJ-PL-     MJ-PL-     The Children's Guild, Inc            IEP Report Card              08/28/2014
       00040395   00040396
M.B.   MJ-PL-     MJ-PL-     New Beginnings Vocational            2nd Quarter Report Card      01/13/2020
       00040397   00040397   Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          IEP Progress Report -        06/23/2016
       00040398   00040405   Special Education                    Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Compensatory Education       09/22/2014
       00040406   00040406   Special Education                    Plan Notes
M.B.   MJ-PL-     MJ-PL-     DC Public Schools                    IEP                          12/01/2008
       00040407   00040408
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   05/04/2016
       00040409   00040410   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   10/08/2019
       00040411   00040412   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   04/07/2017
       00040413   00040414   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   03/12/2018
       00040415   00040416   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   10/28/2009
       00040417   00040418   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Justification and Plan for   02/25/2019
       00040419   00040420   Special Education                    Dedicated Aide
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a    02/28/2020
       00040421   00040422   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a    04/12/2017
       00040423   00040424   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a    05/24/2011
       00040425   00040427   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a    02/19/2020
       00040428   00040429   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Letter of Invitation to a    03/26/2014
       00040430   00040431   Special Education                    Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Disability Worksheet         05/24/2011
       00040432   00040433   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Prior Written Notice -       05/24/2011
       00040434   00040435   Special Education                    Identification
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Final Eligibility            06/02/2017
       00040436   00040443   Special Education                    Determination Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Final Eligibility            03/12/2020
       00040444   00040452   Special Education                    Determination Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Analysis of Existing Data    06/01/2017
       00040453   00040457   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Analysis of Existing Data    03/12/2020
       00040458   00040463   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Analysis of Existing Data    05/24/2011
       00040464   00040469   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -     05/24/2011
       00040470   00040471   Special Education             Evaluation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Consent for Initial        11/08/2012
       00040472   00040473   Special Education             Evaluation/Reevaluation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Consent for Initial        02/04/2020
       00040474   00040474   Special Education             Evaluation/Reevaluation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice       11/15/2011
       00040475   00040476   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice       11/08/2012
       00040477   00040478   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Statewide Alternate        02/23/2018
       00040479   00040479   Special Education             Assessment Plan Cover
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   OSSE Medicaid Parental     10/08/2019
       00040480   00040480   Special Education             Consent Form Cover
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   OSSE Medicaid Parental     04/07/2017
       00040481   00040482   Special Education             Consent Form Cover
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   OSSE Medicaid Parental     03/15/2019
       00040483   00040483   Special Education             Consent Form Cover
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Participant        03/13/2017
       00040484   00040488   Special Education             Writing Input Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Participant        02/12/2018
       00040489   00040493   Special Education             Writing Input Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Independent Living         02/15/2019
       00040494   00040494   Special Education             Assessment Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Independent Living         02/15/2018
       00040495   00040495   Special Education             Assessment Cover Sheet
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Casey Life Skills          04/04/2017
       00040496   00040502                                 Assessment
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Employment Assessment      02/15/2019
       00040503   00040503   Special Education             Cover Sheet
M.B.   MJ-PL-     MJ-PL-     My Next Move                  O*Net Interest Profiler    02/15/2018
       00040504   00040505                                 Score Report
M.B.   MJ-PL-     MJ-PL-     My Next Move                  O*Net Interest Profiler    04/04/2017
       00040506   00040507                                 Score Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Education Assessment       02/15/2019
       00040508   00040508   Special Education             Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year       10/11/2019
       00040509   00040509   Special Education             Services Eligibility
                                                           Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year       04/04/2017
       00040510   00040510   Special Education             Services Eligibility
                                                           Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY Criteria Cover Sheet   09/26/2014
       00040511   00040511   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year       11/15/2011
       00040512   00040512   Special Education             Services Eligibility
                                                           Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY Criteria Cover Sheet   10/03/2013
       00040513   00040513   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year       11/08/2012
       00040514   00040514   Special Education             Services Eligibility
                                                           Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY Criteria Cover Sheet   09/14/2015
       00040515   00040515   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY Criteria Cover Sheet    08/11/2016
       00040516   00040516   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Standard IEP Amendment      05/04/2016
       00040517   00040518   Special Education             Form (LEA Initiated)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Standard IEP Amendment      10/31/2019
       00040519   00040520   Special Education             Form (LEA Initiated)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Standard IEP Amendment      10/02/2017
       00040521   00040522   Special Education             Form (LEA Initiated)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Eligibility Category        10/11/2019
       00040523   00040524   Special Education             Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transportation Criteria     04/07/2017
       00040525   00040525   Special Education             Easy FAX Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transportation Criteria     09/26/2014
       00040526   00040526   Special Education             Easy FAX Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transportation Criteria     08/11/2016
       00040527   00040527   Special Education             Easy FAX Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized      05/04/2016
       00040528   00040545   Special Education             Education Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized      04/03/2016
       00040546   00040563   Special Education             Education Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized      10/02/2017
       00040564   00040584   Special Education             Education Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Team Mandatory          09/19/2014
       00040585   00040585   Special Education             Participant Excusal Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Team Mandatory          09/02/2016
       00040586   00040586   Special Education             Participant Excusal Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Additional Participant      08/19/2015
       00040587   00040587   Special Education             Consent Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   09/12/2019
       00040588   00040589   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   05/04/2016
       00040590   00040591   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   09/19/2014
       00040592   00040592   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   08/19/2015
       00040593   00040594   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   10/02/2017
       00040595   00040596   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   04/05/2017
       00040597   00040597   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   02/03/2019
       00040598   00040598   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   11/14/2011
       00040599   00040599   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   11/14/2011
       00040600   00040600   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   09/05/2016
       00040601   00040602   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   09/25/2013
       00040603   00040603   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   11/08/2012
       00040604   00040604   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   11/08/2012
       00040605   00040605   Special Education             Invitation


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Adult Student Letter of     02/28/2020
       00040606   00040606   Special Education             Invitation -IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Adult Student Letter of     02/19/2020
       00040607   00040607   Special Education             Invitation -IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Adult Student Letter of     02/13/2020
       00040608   00040608   Special Education             Invitation -IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           09/12/2019
       00040609   00040610   Special Education             Invitation - IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           04/05/2017
       00040611   00040612   Special Education             Invitation - IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:       04/08/2014
       00040613   00040614   Special Education             Emotional Disturbance
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   Indetermin
       00040615   00040616   Special Education                                         ate
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   Indetermin
       00040617   00040618   Special Education                                         ate
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   Indetermin
       00040619   00040620   Special Education                                         ate
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   Indetermin
       00040621   00040622   Special Education                                         ate
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY - Related               09/26/2014
       00040623   00040623   Special Education             Transportation Cover
                                                           Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY - Related               03/25/2016
       00040624   00040624   Special Education             Transportation Cover
                                                           Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY - Related               05/09/2014
       00040625   00040625   Special Education             Transportation Work
                                                           Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY - Related               11/08/2012
       00040626   00040626   Special Education             Transportation Cover
                                                           Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      03/12/2020
       00040627   00040628   Special Education             Proceed with Evaluation
                                                           Process
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      06/01/2017
       00040629   00040629   Special Education             Determination of Special
                                                           Education Eligibility
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      10/03/2013
       00040630   00040631   Special Education             Development of IEP
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      09/17/2015
       00040632   00040632   Special Education             Development of IEP
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      09/06/2016
       00040633   00040633   Special Education             Development of IEP
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      09/03/2019
       00040634   00040635   Special Education             Other Notice Related to
                                                           FAPE
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      03/12/2020
       00040636   00040637   Special Education             Proceed with Evaluation
                                                           Process
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Proceedural Safeguards      09/21/2015
       00040638   00040638   Special Education             Documentation Cover
                                                           Sheet




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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Proceedural Safeguards      10/08/2019
       00040639   00040645   Special Education             Documentation Cover
                                                           Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Letter Of Invitation to a   09/13/2010
       00040646   00040646   Special Education             Meeting of the IEP Team
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       12/13/2019
       00040647   00040656   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/23/2016
       00040657   00040664   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       11/13/2014
       00040665   00040670   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/30/2015
       00040671   00040677   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/19/2019
       00040678   00040685   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       02/21/2019
       00040686   00040693   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       04/03/2019
       00040694   00040701   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       02/23/2012
       00040702   00040706   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/24/2020
       00040707   00040714   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/17/2011
       00040715   00040718   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       02/08/2015
       00040719   00040724   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       02/05/2020
       00040725   00040734   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       11/12/2018
       00040735   00040742   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       03/21/2013
       00040743   00040746   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year -      07/31/2013
       00040747   00040749   Special Education             IEP Progress Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Evaluation Cover Sheet      01/13/2009
       00040750   00040750   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Evaluation Cover Sheet      01/13/2009
       00040751   00040751   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Evaluation Cover Sheet      01/13/2009
       00040752   00040752   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet             10/03/2013
       00040753   00040755   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   BIP                         04/04/2017
       00040756   00040759   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   BIP                         09/26/2014
       00040760   00040762   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   BIP                         03/07/2018
       00040763   00040766   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   BIP                         11/21/2016
       00040767   00040770   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet & FBA       10/03/2013
       00040771   00040776   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   FBA                         09/26/2014
       00040777   00040782   Special Education

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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Manifestation              02/25/2019
       00040783   00040784   Special Education             Determination
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Summary of Performance     04/28/2020
       00040785   00040796   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Device Justification       09/02/2016
       00040797   00040797   Special Education             Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Device Justification       09/06/2016
       00040798   00040798   Special Education             Cover Sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes             06/21/2013
       00040799   00040799   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Student Information IEP    01/13/2009
       00040800   00040800                                 Meeting Participants
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Student Information IEP    01/14/2009
       00040801   00040807                                 Meeting Participants
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   08/11/2016
       00040808   00040808   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   10/03/2013
       00040809   00040824   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   03/12/2018
       00040825   00040825   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   10/05/2010
       00040826   00040842   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   10/05/2010
       00040843   00040863   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   11/08/2012
       00040864   00040877   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   11/15/2011
       00040878   00040893   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   11/15/2011
       00040894   00040917   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   05/24/2011
       00040918   00040936   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Information IEP    11/02/2008
       00040937   00040942   Special Education             Meeting Participants
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            10/01/2009
       00040943   00040943   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            02/25/2010
       00040944   00040944   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet SLP        11/30/2015
       00040945   00040945   Special Education             Therapy
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            11/30/2015
       00040946   00040946   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet SLP        11/30/2015
       00040947   00040947   Special Education             Therapy
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            03/03/2016
       00040948   00040948   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            02/04/2015
       00040949   00040949   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            08/25/2011
       00040950   00040950   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            02/19/2013
       00040951   00040951   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            07/31/2013
       00040952   00040952   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/03/2014
       00040953   00040953   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/04/2016
       00040954   00040954   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    05/17/2016
       00040955   00040955   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   09/30/2015
       00040956   00040956   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/30/2016
       00040957   00040957   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   05/30/2016
       00040958   00040958   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   07/11/2013
       00040959   00040959   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   07/18/2013
       00040960   00040960   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/14/2013
       00040961   00040961   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/17/2014
       00040962   00040962   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   06/17/2014
       00040963   00040963   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    06/17/2014
       00040964   00040964   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/04/2010
       00040965   00040965   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   02/04/2010
       00040966   00040966   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/05/2019
       00040967   00040967   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   12/01/2014
       00040968   00040968   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    11/17/2014
       00040969   00040969   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/17/2014
       00040970   00040970   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    01/29/2015
       00040971   00040971   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   01/29/2015
       00040972   00040972   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/12/2013
       00040973   00040973   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   11/12/2013
       00040974   00040974   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   04/07/2014
       00040975   00040975   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    04/07/2014
       00040976   00040976   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/09/2015
       00040977   00040977   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker   03/09/2015
       00040978   00040978   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes    03/09/2015
       00040979   00040979   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              11/03/2009
       00040980   00040980   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              10/05/2009
       00040981   00040981   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              10/05/2009
       00040982   00040982   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              10/05/2009
       00040983   00040983   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes               06/21/2013
       00040984   00040984   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes               06/21/2013
       00040985   00040985   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              06/21/2013
       00040986   00040986   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Progress Notes               06/21/2013
       00040987   00040987   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              09/30/2014
       00040988   00040988   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              09/30/2014
       00040989   00040989   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker              07/29/2013
       00040990   00040990   Special Education
M.B.   MJ-PL-     MJ-PL-     The Pathways School           First Quarter Report Card    11/05/2015
       00040991   00040992
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -        11/04/2015
       00040993   00041000   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Impacts           04/08/2014
       00041001   00041007   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Final Eligibility            04/08/2014
       00041008   00041008   Special Education             Determination Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Final Eligibility            05/24/2011
       00041009   00041017   Special Education             Determination Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized       01/08/2020
       00041018   00041018   Special Education             Education Program
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Eligibility Meeting Report   01/13/2009
       00041019   00041025   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              11/15/2011
       00041026   00041028   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              11/09/2009
       00041029   00041030   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet - BIP        11/08/2012
       00041031   00041033   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              05/24/2011
       00041034   00041035   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              10/05/2010
       00041036   00041037   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              11/15/2011
       00041038   00041043   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              07/23/2010
       00041044   00041048   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              05/27/2011
       00041049   00041053   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet              10/05/2010
       00041054   00041058   Special Education


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Signatory Sheet - FBA       11/08/2012
       00041059   00041064   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker             06/18/2010
       00041065   00041075   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker             06/19/2012
       00041076   00041128   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year        07/31/2013
       00041129   00041171   Special Education             IEP Progress Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   02/28/2013
       00041172   00041185   Special Education             (6)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker             01/14/2009
       00041186   00041188   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2010
       00041189   00041193   Special Education             (4)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (30      06/2012
       00041194   00041223   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   06/2012
       00041224   00041240   Special Education             (17 pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Trackers (3)        10/11/2011
       00041241   00041246   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   ESY IEP Progress Report     07/31/2013
       00041247   00041269   Special Education             + Services Trackers (23
                                                           pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Mulitple Service Trackers   2013
       00041270   00041278   Special Education             (5)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2013
       00041279   00041281   Special Education             (3)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Mulitple Service Trackers   2013
       00041282   00041291   Special Education             (5)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2014
       00041292   00041299   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker             06/19/2014
       00041300   00041301   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker             05/20/2014
       00041302   00041304   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2014
       00041305   00041311   Special Education             (3)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2013-14
       00041312   00041323   Special Education             (6)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2013
       00041324   00041328   Special Education             (3)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       06/19/2014
       00041329   00041357   Special Education             Annual Goals
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Service Trackers   2015-16
       00041358   00041416   Special Education             (59 pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (52      2016-17
       00041417   00041468   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (47      2017-18
       00041469   00041515   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Meeting Agenda and      Undated
       00041516   00041521   Special Education             Notes
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Meeting Agenda and      Undated
       00041522   00041527   Special Education             Notes
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Transcript                  06/21/2016
       00041528   00041528

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M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report            2017-18
       00041529   00041529
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report            2017-18
       00041530   00041530
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Restraint & Seclusion     01/26/2018
       00041531   00041535                                 Incident Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/21/2016
       00041536   00041539   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/31/2016
       00041540   00041543   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/31/2016
       00041544   00041547   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 2     2016-17
       00041548   00041548
M.B.   MJ-PL-     MJ-PL-     The Foundation School         10 Unexcused Absences     01/24/2018
       00041549   00041550
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Eligibility Category      03/12/2018
       00041551   00041552                                 Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Consent for Initial       03/27/2017
       00041553   00041554   Special Education             Evaluation/Reevaluation
M.B.   MJ-PL-     MJ-PL-     M.B.'s Mother                 Note of Excused Absence   01/03.2019
       00041555   00041555
M.B.   MJ-PL-     MJ-PL-     Community Connections         Confirmation of           01/09/2019
       00041556   00041556                                 Attendance of Service
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:     06/01/2017
       00041557   00041558   Special Education             Emotional Disturbance
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Restraint & Seclusion     04/06/2017
       00041559   00041564                                 Incident Report
M.B.   MJ-PL-     MJ-PL-     New Beginnings                MDT/IEP Meeting sign in   02/14/2020
       00041565   00041565                                 sheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Team Meeting          Undated
       00041566   00041569   Special Education             Agenda/Notes
M.B.   MJ-PL-     MJ-PL-     New Beginnings                4th Quarter Report Card   10/28/2020
       00041570   00041571
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Extended School Year      02/25/2019
       00041572   00041572                                 Services Eligibility WS
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Graduation with Diploma   10/26/2020
       00041573   00041573   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of Out of School   05/15/2018
       00041574   00041578                                 Suspension
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/01/2016
       00041579   00041582   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/10/2016
       00041583   00041586   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker           01/10/2016
       00041587   00041590   Special Education
M.B.   MJ-PL-     MJ-PL-     The Children's Guild          Student Intervention      03/19/2014
       00041591   00041593                                 Report
M.B.   MJ-PL-     MJ-PL-     The Children's Guild          Student Intervention      11/28/2013
       00041594   00041600                                 Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of Out of School   12/19/2018
       00041601   00041605                                 Suspension
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of Out of School   12/19/2018
       00041606   00041610                                 Suspension


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M.B.   MJ-PL-     MJ-PL-     DC Public Schools                    Eligibility Category        02/25/2019
       00041611   00041612                                        Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Signatory Sheet             02/19/2019
       00041613   00041613   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Student Letter of           09/15/2015
       00041614   00041615   Special Education                    Invitation - IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Student Participant         01/15/2019
       00041616   00041620   Special Education                    Written Input Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Standard IEP Amendment      03/25/2016
       00041621   00041622   Special Education                    Form LEA
M.B.   MJ-PL-     MJ-PL-     DC Public Schools                    Extended School Year        03/12/2018
       00041623   00041623                                        Services Eligibility
                                                                  Worksheet
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Interim Report              2018-19
       00041624   00041624
M.B.   MJ-PL-     MJ-PL-     The Foundation School                10 Unexcused Absences       06/18/2016
       00041625   00041626                                        Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School                15 Unexcused Absences       06/18/2018
       00041627   00041628                                        Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Student Participant         10/03/2019
       00041629   00041629   Special Education                    Written Input Form
M.B.   MJ-PL-     MJ-PL-     The Children's Guild                 Student Intervention        05/12/2014
       00041630   00041632                                        Report
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Disability Worksheet:       03/12/2020
       00041633   00041634   Special Education                    Emotional Disturbance
M.B.   MJ-PL-     MJ-PL-     The Pathways School                  3rd Quarter Report Card     2015-16
       00041635   00041635
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   04/07/2017
       00041636   00041641                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   Notice of Procedural        03/12/2018
       00041642   00041642   of Education                         Safeguards
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       Email re: M.B. Absent       02/28/2020
       00041643   00041643
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Interim Report              2018-19
       00041644   00041644
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   OSSE Incident Report        02/11/2020
       00041645   00041650   of Education                         Form
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       Suspension Notice           02/10/2020
       00041651   00041651
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             02/26/2016
       00041652   00041652   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          IEP Team Meeting            Undated
       00041653   00041656   Special Education                    Agenda/Notes
M.B.   MJ-PL-     MJ-PL-     The Children's Guild                 Student Intervention        04/22/2014
       00041657   00041662                                        Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Notice failure to meet      04/10/2019
       00041663   00041664                                        academic requirements
                                                                  for graduation
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   10/13/2017
       00041665   00041669                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Service Tracker             11/20/2015
       00041670   00041670   Special Education
M.B.   MJ-PL-     MJ-PL-     Unspecified                          Activity Report             02/19/2016
       00041671   00041671


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M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report              2016-17
       00041672   00041672
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 1       2016-17
       00041673   00041673
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Multiple IEP Documents      2019
       00041674   00041682
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   03/12/2018
       00041683   00041687                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     Unspecified                   Speech Therapy Absences     2015
       00041688   00041691
M.B.   MJ-PL-     MJ-PL-     Unspecified                   Speech Therapy Absences     2015
       00041692   00041695
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Team Meeting            09/02/2016
       00041696   00041701   Special Education             Agenda/Notes
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Amendment               05/04/2016
       00041702   00041702   Special Education             Proposed Services
                                                           Change Form
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized      05/04/2016
       00041703   00041722   Special Education             Education Program
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 4       2017-18
       00041723   00041724
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Cumulative Transcript       Unspecifie
       00041725   00041726                                 Summary                     d
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transportation Criteria     09/14/2015
       00041727   00041729   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   BIP                         09/17/2015
       00041730   00041732   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report              2017-18
       00041733   00041733
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP                         09/17/2015
       00041734   00041747   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year        09/17/2015
       00041748   00041749   Special Education             Services Eligibility
                                                           Worksheet
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   09/15/2015
       00041750   00041750   Special Education             Invitation
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           09/15/2015
       00041751   00041752   Special Education             Invitation - IEP Meeting
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Plan to Make-up Missed      03/22/2019
       00041753   00041753   Special Education             Services
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 3       2018-19
       00041754   00041754
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Observation Form            01/15/2015
       00041755   00041756   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education    02/22/2019
       00041757   00041759   Special Education             Program
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Transition Readiness        02/16/2019
       00041760   00041763                                 Survey
M.B.   MJ-PL-     MJ-PL-     M.B.'s Mother                 Note of Excused Absence     12/2018
       00041764   00041764
M.B.   MJ-PL-     MJ-PL-     Rolin S. Henry, DDS           Note of Excused Absence     11/13/2018
       00041765   00041765
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   03/24/2017
       00041766   00041770                                 & Seclusion


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M.B.   MJ-PL-     MJ-PL-     The Pathways School                  Suspension Notice           04/27/2016
       00041771   00041771
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          Consent for Initial         02/25/2019
       00041772   00041772   Special Education                    Evaluation/Reevaluation
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   09/22/2017
       00041773   00041777                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   Notice of IDEA Part B       03/06/2019
       00041778   00041778   of Education                         Procedural Safeguards
M.B.   MJ-PL-     MJ-PL-     Office of the State Superintendent   Notification Regarding      03/06/2019
       00041779   00041779   of Education                         Access to Public Benefits
M.B.   MJ-PL-     MJ-PL-     The Foundation School                MB Reduced Services         02/25/2019
       00041780   00041780                                        Justification
M.B.   MJ-PL-     MJ-PL-     Community Connections                Appointment Attendance      01/16/2019
       00041781   00041781                                        Confirmation
M.B.   MJ-PL-     MJ-PL-     The Pathways School                  Report Card Quarter 2       2015-16
       00041782   00041782
M.B.   MJ-PL-     MJ-PL-     The Foundation School                5 Unexcused Absences        05/24/2018
       00041783   00041784                                        Q4
M.B.   MJ-PL-     MJ-PL-     The Pathways School                  Progress Report 4th         05/20/2016
       00041785   00041785                                        Quarter
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Report Card Quarter 3       2017-18
       00041786   00041786
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          IEP Progress Report -       05/04/2016
       00041787   00041794   Special Education                    Annual Goals
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Report Card Quarter 1       2017-18
       00041795   00041795
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   02/22/2017
       00041796   00041800                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       Casey Life Skills           10/07/2019
       00041801   00041806                                        Assessment
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   11/01/2017
       00041807   00041812                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       Casey Life Skills           10/07/2019
       00041813   00041818                                        Assessment
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          IEP Team Meeting            Undated
       00041819   00041822   Special Education                    Agenda/Notes
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Notice of                   03/15/2019
       00041823   00041828                                        Suspension/Incident
                                                                  Report
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       5 Unexcused Absences        01/06/2020
       00041829   00041829                                        Notice
M.B.   MJ-PL-     MJ-PL-     New Beginnings                       Attendance Checklist 5      Undated
       00041830   00041832                                        Absences
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Interim Report Quarter 3    2017-18
       00041833   00041833
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Incident Report Restraint   05/24/2017
       00041834   00041838                                        & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Interim Report Quarter 1    2017-18
       00041839   00041839
M.B.   MJ-PL-     MJ-PL-     The Foundation School                Interim Report Quarter 4    2018-19
       00041840   00041840
M.B.   MJ-PL-     MJ-PL-     Oswald N Thompson DDS                Excuse Slip                 09/24/2018
       00041841   00041842
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of          IEP Progress Report -       02/09/2016
       00041843   00041850   Special Education                    Annual Goals

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M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 2       2017-18
       00041851   00041851
M.B.   MJ-PL-     MJ-PL-     DC Public Schools             Final Graduation            11/30/2020
       00041852   00041852                                 Documents
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Summary of Performance
       00041853   00041871   Special Education             Documents.pdf
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Final IEP
       00041872   00041893   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   04/28/2017
       00041894   00041898                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   04/28/2017
       00041899   00041904                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   04/28/2017
       00041905   00041910                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           04/27/2016
       00041911   00041911
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           04/07/2016
       00041912   00041912
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/22/2016
       00041913   00041913
M.B.   MJ-PL-     MJ-PL-     New Beginnings                Official High School        05/27/2020
       00041914   00041916                                 Transcript
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/15/2016
       00041917   00041917
M.B.   MJ-PL-     MJ-PL-     Unspecified                   Attendance and Absences     04/05/2016
       00041918   00041918
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/03/2016
       00041919   00041919
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           02/29/2016
       00041920   00041920
M.B.   MJ-PL-     MJ-PL-     The Foundation School         IEP Meeting Sign In and     03/22/2019
       00041921   00041923                                 Manifestation
                                                           Determination
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   07/18/2017
       00041924   00041928                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Make-up Missed Services     02/19/2020
       00041929   00041930   Special Education             Plan
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           04/07/2016
       00041931   00041931
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   02/08/2019
       00041932   00041936                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Critical Emergency          06/07/2017
       00041937   00041940                                 Incident Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Suspension Notice           02/28/2019
       00041941   00041945
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   03/15/2019
       00041946   00041951                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         5 or More Truant            03/20/2018
       00041952   00041953                                 Absences in Quarter 3
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Observation Form            Undated
       00041954   00041955   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Critical Emergency          09/18/2017
       00041956   00041959                                 Incident Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   01/24/2017
       00041960   00041964                                 & Seclusion

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M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of                   10/26/2018
       00041965   00041970                                 Suspension/Incident
                                                           Report
M.B.   MJ-PL-     MJ-PL-     The Pathways School           5 Unexcused Absences        10/07/2015
       00041971   00041971                                 Notice
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of                   11/20/2018
       00041972   00041977                                 Suspension/Incident
                                                           Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   02/08/2019
       00041978   00041982                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/03/2016
       00041983   00041983
M.B.   MJ-PL-     MJ-PL-     The Pathways School           10 Unexcused Absences       03/28/2016
       00041984   00041984                                 Notice
M.B.   MJ-PL-     MJ-PL-     The Pathways School           5 Unexcused Absences        03/07/2015
       00041985   00041985                                 Notice
M.B.   MJ-PL-     MJ-PL-     The Foundation School         20 Unexcused Absences       06/25/2018
       00041986   00041987                                 Notice
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report Quarter 4    2017-18
       00041988   00041988
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   01/27/2017
       00041989   00041993                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 2       2018-19
       00041994   00041994
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Notice of Not on Pace to    02/01/2019
       00041995   00041995                                 Pass
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Course Plan                 08/28/2018
       00041996   00041996
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   03/19/2018
       00041997   00042001                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 3       2016-17
       00042002   00042002
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/22/2016
       00042003   00042003
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Incident Report Restraint   05/01/2017
       00042004   00042008                                 & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Interim Report Quarter 3    2018-19
       00042009   00042009
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Areas of Concern Report     Undated
       00042010   00042013   Special Education
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Annual Review of MB         09/26/2014
       00042014   00042018   Special Education
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Report Card Quarter 4       2018-19
       00042019   00042019
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Cumulative Transcript       Undated
       00042020   00042022                                 Summary
M.B.   MJ-PL-     MJ-PL-     Unspecified                   Attendance Report           2018-19
       00042023   00042027
M.B.   MJ-PL-     MJ-PL-     The Foundation School         Transcript                  06/26/2019
       00042028   00042028
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           02/29/2016
       00042029   00042029
M.B.   MJ-PL-     MJ-PL-     The Pathways School           Suspension Notice           03/15/2016
       00042030   00042030


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M.B.   MJ-PL-     MJ-PL-     The Foundation School            Interim Report Quarter 3    2016-17
       00042031   00042031
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Incident Report Restraint   10/17/2016
       00042032   00042036                                    & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Incident Report Restraint   09/20/2016
       00042037   00042041                                    & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Incident Report Restraint   05/18/2018
       00042042   00042046                                    & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Report Card Quarter 4       2016-17
       00042047   00042047
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Interim Report Quarter 1    2016-17
       00042048   00042048
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Interim Report Quarter 2    2016-17
       00042049   00042049
M.B.   MJ-PL-     MJ-PL-     WRAT 5                           Blue Record Form            08/29/2019
       00042050   00042050                                    Evaluation
M.B.   MJ-PL-     MJ-PL-     OSSE                             Independent Student Drop    03/21/2016
       00042051   00042051                                    Off Consent
M.B.   MJ-PL-     MJ-PL-     New Beginnings                   Suspension Notice           11/12/2019
       00042052   00042052
M.B.   MJ-PL-     MJ-PL-     OSSE                             Suspension Notice           04/11/2016
       00042053   00042053
M.B.   MJ-PL-     MJ-PL-     The Children's Guild             Student Intervention        04/03/2014
       00042054   00042056                                    Report
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Incident Report Restraint   02/22/2017
       00042057   00042061                                    & Seclusion
M.B.   MJ-PL-     MJ-PL-     The Foundation School            5 or More Unexcused         11/05/2018
       00042062   00042062                                    Absences
M.B.   MJ-PL-     MJ-PL-     The Foundation School            Truancy Notification for    11/05/2018
       00042063   00042063                                    MB
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Make-up Missed Services     02/19/2020
       00042064   00042065   Special Education                Plan
M.B.   MJ-PL-     MJ-PL-     OSSE
       00042066   00042066
M.B.   MJ-PL-     MJ-PL-     Special Education-3_11_2021
       00042067   00042067
M.B.   MJ-PL-     MJ-PL-     DYRS                             Notice of Zero Tolerance    05/29/2019
       00055454   00055454                                    for Harassment
M.B.   MJ-PL-     MJ-PL-     DYRS                             YSC Housing Assignment      05/29/2019
       00055455   00055455                                    Form
M.B.   MJ-PL-     MJ-PL-     Unspecified                      Pixelated Photo of Young    Undated
       00055456   00055456                                    Black Male
M.B.   MJ-PL-     MJ-PL-     Unspecified                      Face Sheet                  Undated
       00055457   00055458
M.B.   MJ-PL-     MJ-PL-     DC Metropolitan Police           Juvenile Arrest             05/28/2019
       00055459   00055460   Department                       #JU1917474 - R1
M.B.   MJ-PL-     MJ-PL-     Court Social Services Division   Intake Services, Pre-       05/28/2019
       00055461   00055461                                    Disposition &
                                                              Supervision
M.B.   MJ-PL-     MJ-PL-     The Children's Guild             Multiple Documents (62      08/04/2009
       00057047   00057108                                    pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Multiple Documents (32      2010
       00057109   00057140   Special Education                pages)
M.B.   MJ-PL-     MJ-PL-     The Children's Guild             Multiple Documents (96      Multiple
       00057141   00057236                                    pages)

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M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (89     Multiple
       00057237   00057325   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (100    Multiple
       00057326   00057425   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (159    Multiple
       00057426   00057584   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (166    Multiple
       00057585   00057750   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (363    Multiple
       00057751   00058113   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (252    Multiple
       00058114   00058365   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (182    Multiple
       00058366   00058547   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (196    Multiple
       00058548   00058743   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Multiple Documents (181    Multiple
       00058744   00058924   Special Education             pages)
M.B.   MJ-PL-     MJ-PL-     New Beginnings                Final Graduation           11/30/2020
       00058925   00058931                                 Documents
M.B.   MJ-PL-     MJ-PL-     Summary of Performance        Prior Written Notice -     10/28/2020
       00058932   00058950   Documents.pdf                 FAPE
M.B.   MJ-PL-     MJ-PL-     Final IEP                     IEP 2019                   2019
       00058951   00058972

M.T.   MJ-PL-     MJ-PL-
       00043533   00043533
M.T.   MJ-PL-     MJ-PL-     Client Portal                 YTD Billing to M.T.'s      02/2021
       00043534   00043534                                 mother
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized     02/19/2020
       00043535   00043556   Special Education             Education Program
M.T.   MJ-PL-     MJ-PL-     Unspecified                   Woodcock Johnson - III     12/05/2019
       00043557   00043561                                 Educational Assessment
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Final Eligibility          01/27/2020
       00043562   00043568   Special Education             Determination Report
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Functional Behavior        01/27/2020
       00043569   00043577   Special Education             Assessment - II
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education   02/09/2021
       00043578   00043601   Special Education             Program
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -      04/23/2021
       00043602   00043606   Special Education             Annual Goals
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Meeting Notes              05/21/2019
       00043607   00043620   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Review of Independent      06/05/2019
       00043621   00043627   Special Education             Educational Evaluation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            01/01/2021
       00043628   00043628   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            03/01/2021
       00043629   00043629   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            02/01/2021
       00043630   00043630   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            04/01/2021
       00043631   00043631   Special Education



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M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Settlement Letter            01/31/2020
       00043632   00043634   Special Education
M.T.   MJ-PL-     MJ-PL-     Umbrella Therapeutic Services    Independent Clinical         10/29/2019
       00061430   00061436                                    Diagnosis
M.T.   MJ-PL-     MJ-PL-     Excel Spreadsheet
       00062604   00062645
M.T.   MJ-PL-     MJ-PL-     Client Portal                    YTD Billing to M.T.'s        2021
       00062646   00062646                                    mother
M.T.   MJ-PL-     MJ-PL-     Umbrella Therapeutic Services    Independent Clinical         10/29/2019
       00062647   00062653                                    Diagnosis
M.T.   MJ-PL-     MJ-PL-     OSSE - Annual Enrollment Audit   School Enrollment            Multiple
       00067109   00067109   History
M.T.   MJ-PL-     MJ-PL-     OSSE - Attendance_2020           School Record                2020
       00067110   00067110
M.T.   MJ-PL-     MJ-PL-     OSSE - Attendance_2021           School Record                2021
       00067111   00067111
M.T.   MJ-PL-     MJ-PL-     OSSE - Attendance_SY16-17        Instructional Days Present   Undated
       00067112   00067112
M.T.   MJ-PL-     MJ-PL-     OSSE - Attendance_SY18-19        Instructional Days Present   Undated
       00067113   00067113
M.T.   MJ-PL-     MJ-PL-     OSSE - Attendance_SY19-20        Instructional Days Present   Undated
       00067114   00067114
M.T.   MJ-PL-     MJ-PL-     OSSE - Current Enrollment-       Enrollment Stage             08/31/2020
       00067115   00067115   4_27_2021
M.T.   MJ-PL-     MJ-PL-     OSSE - Monthly Enrollment        Snapshot Dates               Multiple
       00067116   00067116   Snapshot-4_27_2021
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Individualized Education     02/09/2021
       00067117   00067140   Special Education                Program
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Service Tracker              06/26/2020
       00067141   00067141   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Service Tracker              11/03/2020
       00067142   00067142   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Service Tracker              06/25/2020
       00067143   00067143   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Service Tracker              07/02/2020
       00067144   00067144   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Service Tracker              07/02/2020
       00067145   00067145   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Special Education            01/27/2020
       00067146   00067147   Special Education                Meeting Notes
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Special Education            01/27/2020
       00067148   00067150   Special Education                Meeting Notes
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Behavior Intervention        01/27/2020
       00067151   00067152   Special Education                Plan Level II
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Meeting Notes                05/21/2019
       00067153   00067166   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Letter of Invitation         01/23/2020
       00067167   00067168   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Letter of Invitation         09/11/2019
       00067169   00067170   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Letter of Invitation         09/11/2019
       00067171   00067172   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of      Letter of Invitation         11/11/2019
       00067173   00067174   Special Education


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M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Letter of Invitation        11/11/2019
       00067175   00067176   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Evaluation Summary          01/27/2020
       00067177   00067180   Special Education             Report
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Acknowledgement of          04/01/2019
       00067181   00067181   Special Education             Referral to Special
                                                           Education Letter
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Final Eligibility           01/27/2020
       00067182   00067188   Special Education             Determination Report
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Analysis of Existing Data   09/25/2019
       00067189   00067192   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Information Reviewed        09/24/2019
       00067193   00067193   Special Education             Cover Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   OSSE Medicaid Parental      02/24/2020
       00067194   00067195   Special Education             Consent Form Cover
                                                           Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Participant         02/07/2020
       00067196   00067196   Special Education             Written Input Form
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Participant         01/12/2021
       00067197   00067197   Special Education             Written Input Form
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Independent Living          02/07/2020
       00067198   00067198   Special Education             Assessment Cover Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Employment Assessment       02/07/2020
       00067199   00067199   Special Education             Cover Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Education Assessment        02/07/2020
       00067200   00067200   Special Education             Cover Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year        07/08/2020
       00067201   00067201   Special Education             Services Eligibility WS
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year        07/08/20
       00067202   00067202   Special Education             Services Eligibility WS
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Standard IEP Amendment      02/12/2020
       00067203   00067203   Special Education             Form LEA Initiated
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Standard IEP Amendment      02/12/2020
       00067204   00067204   Special Education             Form LEA Initiated
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Eligibility Category        02/10/2020
       00067205   00067205   Special Education             Worksheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Eligibility Category        02/10/2020
       00067206   00067206   Special Education             Worksheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Amended Individualized      02/19/2020
       00067207   00067228   Special Education             Education Program
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Team Mandatory          02/10/2020
       00067229   00067229   Special Education             Participant Excusal Form
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   02/06/2020
       00067230   00067230   Special Education             Invitation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   02/06/2020
       00067231   00067231   Special Education             Invitation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   01/27/2020
       00067232   00067232   Special Education             Invitation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   01/05/2021
       00067233   00067233   Special Education             Invitation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Parent/Guardian Letter of   01/05/2021
       00067234   00067234   Special Education             Invitation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           02/06/2020
       00067235   00067235   Special Education             Invitation - IEP Meeting


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M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           01/27/2020
       00067236   00067237   Special Education             Invitation - IEP Meeting
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Student Letter of           01/05/2021
       00067238   00067239   Special Education             Invitation - IEP Meeting
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:       01/27/2020
       00067240   00067241   Special Education             Emotional Disturbance
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:       01/27/2020
       00067242   00067243   Special Education             Multiple Disabilities
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:       01/27/2020
       00067244   00067245   Special Education             Other Health Impairment
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   01/27/2020
       00067246   00067247   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Transfer of Rights Notice   01/27/2020
       00067248   00067249   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools             Meeting Notes               04/01/2019
       00067250   00067254
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Letter of Dissent of        01/27/2020
       00067255   00067255   Special Education             Eligibility for Services
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Letter of Disagreement      01/27/2020
       00067256   00067256   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      09/23/2019
       00067257   00067257   Special Education             Proceed with Evaluation
                                                           Process
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      01/27/2020
       00067258   00067258   Special Education             Determination of SpEd
                                                           Eligibility or Non-
                                                           Eligibility
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      02/14/2020
       00067259   00067259   Special Education             Notice of Change in
                                                           Placement
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      02/11/2020
       00067260   00067260   Special Education             Development of IEP
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Prior Written Notice -      02/19/2020
       00067261   00067261   Special Education             Amendment of IEP
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education    02/12/2020
       00067262   00067262   Special Education             Program
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Procedural Safeguards       02/24/2020
       00067263   00067264   Special Education             Documentation Cover
                                                           Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Procedural Safeguards       02/09/2021
       00067265   00067265   Special Education             Documentation Cover
                                                           Sheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       07/06/2020
       00067266   00067270   Special Education             Annual Goals
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       04/23/2021
       00067271   00067275   Special Education             Annual Goals
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       05/05/2020
       00067276   00067280   Special Education             Annual Goals
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   IEP Progress Report -       11/18/2020
       00067281   00067285   Special Education             Annual Goals
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Disability Worksheet:       07/05/2019
       00067286   00067303   Special Education             Orthopedic Impairment
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Individualized Education    02/10/2020
       00067304   00067304   Special Education             Program


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M.T.   MJ-PL-     MJ-PL-     DC Public Schools             Enrollment Stage           2014-2017
       00067305   00067305
M.T.   MJ-PL-     MJ-PL-     DC Public Schools             Enrollment Stage           2011-2020
       00067306   00067306
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Woodcock Johnson IV        01/31/2020
       00067307   00067308   Special Education             Score Report
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Service Tracker            09/25/2020
       00067309   00067310
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Service Tracker            10/27/2020
       00067311   00067312
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Consent for Initial        04/29/2019
       00067313   00067313   Special Education             Evaluation/Reevaluation
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Report Card                02/12/2021
       00067314   00067314
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Extended School Year       03/09/2021
       00067315   00067315   Special Education             Services Eligibility WS
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Eligibility Category       03/09/2021
       00067316   00067317   Special Education             Worksheet
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            04/01/2021
       00067318   00067318   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            01/01/2021
       00067319   00067319   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Functional Behavior        01/27/2020
       00067320   00067328   Special Education             Assessment - II
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Report Card                06/22/2020
       00067329   00067329   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Settlement Letter          01/31/2020
       00067330   00067332   Special Education
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Consent for Initial        05/02/2019
       00067333   00067333   Special Education             Evaluation/Reevaluation
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Parental Consent           04/11/2021
       00067334   00067334
M.T.   MJ-PL-     MJ-PL-     Unspecified                   Casey Life Skills          01/30/2020
       00067335   00067340                                 Assessment
M.T.   MJ-PL-     MJ-PL-     Unspecified                   Woodcock Johnson - III     12/12/2019
       00067341   00067345                                 Educational Assessment
M.T.   MJ-PL-     MJ-PL-     O*Net Interest Profiler       Job Zone at My Next        01/29/2020
       00067346   00067348                                 Move
M.T.   MJ-PL-     MJ-PL-     O*Net Interest Profiler       Interest Profiler: Score   01/29/0202
       00067349   00067350                                 Report
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Review of Independent      09/2019
       00067351   00067357   Special Education             Educational Evaluation
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Independent Educational    06/05/2019
       00067358   00067359   Special Education             Review Checklist
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            03/01/2021
       00067360   00067360   Special Education
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Service Tracker            09/30/2020
       00067361   00067361
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Service Tracker            02/01/2021
       00067362   00067362   Special Education
M.T.   MJ-PL-     MJ-PL-     New Beginnings                Class Schedule             2020/21
       00067363   00067363
M.T.   MJ-PL-     MJ-PL-     DC Public Schools Office of   Independent Educational    01/21/20
       00067364   00067366   Special Education             Review Checklist


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M.T.     MJ-PL-         MJ-PL-        New Beginnings                        Service Tracker             01/28/2021
         00067367       00067368
M.T.     MJ-PL-         MJ-PL-        DC Public Schools Office of           IEP Progress Report -       02/12/2021
         00067369       00067373      Special Education                     Annual Goals

W.H.      #s not yet     #s not yet   Community Connections, Inc.           Child & Youth               06/10/2019
         available      available                                           Assessment
W.H.       #s not yet    #s not yet   DHCF                                  Recovery Case               04/13/2021
         available      available                                           Itemization of Payment
W.H.       #s not yet    #s not yet   DHCF                                  Recovery Case               04/13/2021
         available      available                                           Itemization of Payment
W.H.       #s not yet    #s not yet   Psychiatric Institute of Washington   Records Request for W.H.    Multiple
         available      available                                           (55 Pages)
W.H.       #s not yet    #s not yet   DC Metro Police Department            FACE Sheet, Multiple        Multiple
         available      available                                           Documents (86 pages)
W.H.       #s not yet    #s not yet   Government of the District of         Multiple Documents (210     Multiple
         available      available     Columbia                              pages)
W.H.       #s not yet    #s not yet   DYRS                                  Classification Assessment   04/23/2018
         available      available

D.G.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Treatment Records (272      02/19/2021
         00056591       00056862                                            Pages)

D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Transfer/Discharge/Death    12/05/2019
         00048518       00048520                                            Summary
D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Child and Youth             04/09/2018
         00048521       00048530                                            Assessment
D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Treatment Plan              04/19/2019
         00048531       00048540
D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Treatment Plan              10/21/2018
         00048541       00048571
D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Treatment Plan              04/24/2018
         00048572       00048675
D.C.     MJ-PL-         MJ-PL-        Community Connections, Inc.           Informational Note          03/28/2018
         00048780       00048784
D.C.     MJ-PL-         MJ-PL-        Department of Behavioral Health       Request for Records, D.C.   12/01/2020
         00048785       00048814                                            (30 pages)
D.C.     MJ-PL-         MJ-PL-        Hillcrest Children & Family Center    Request for Records, D.C.   12/07/20
         00048837       00048844
D.C.     MJ-PL-         MJ-PL-        MBI Health Services LLC.              Request for Records, D.C.   10/16/2020
         00048845       00049010                                            (166 pages)
D.C.     MJ-PL-         MJ-PL-        ELLIS                                 Comp. Psychoeducational     12/19/2019
         00056901       00056913                                            Evaluation
D.C.     MJ-PL-         MJ-PL-        Ingenuity Prep PCS                    Individualized Education    12/10/2020
         00056914       00056923                                            Program
D.C.     MJ-PL-         MJ-PL-        Ingenuity Prep PCS                    Amended IEP                 08/15/2019
         00058973       00058982
D.C.     MJ-PL-         MJ-PL-        Ingenuity Prep PCS                    Individualized Education    02/06/2019
         00058983       00058992                                            Program
D.C.     MJ-PL-         MJ-PL-        Ingenuity Prep PCS                    Individualized Education    01/09/2020
         00058993       00059002                                            Program

X.L.     N/A


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